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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

NIC SALOMON,                                               §
                                                           §
       Plaintiff,                                          §
                                                           §
v.                                                         §      CIVIL ACTION NO.
                                                           §      3:15-CV-666-M
KROENKE SPORTS & ENTERTAINMENT,                            §
LLC, OUTDOOR CHANNEL HOLDINGS,                             §
INC., and PACIFIC NORTHERN CAPITAL LLC,                    §
                                                           §
       Defendants.                                         §

              APPENDIX IN SUPPORT OF DEFENDANTS KROENKE
          SPORTS & ENTERTAINMENT, LLC AND OUTDOOR CHANNEL
         HOLDINGS, INC’S MOTION PURSUANT TO FED. R. EVID. 702 TO
    EXCLUDE TESTIMONY OF KEVIN KREITZMAN AND REQUEST FOR HEARING


Exhibit No.         App. No.                       Document Description

1              App.001 –       Affidavit Of Kevin D. Evans In Support Of Defendants Kroenke
               App. 003        Sports & Entertainment, LLC and Outdoor Channel Holdings,
                               Inc.’s Motion Pursuant to Fed. R. Evid. 702 to Exclude Testimony
                               of Kevin Kreitzman

1-A            App. 004–       Copy of September 14, 2018 Expert Report of Kevin Kreitzman
               App. 061

1-B            App. 062–       Excerpted Transcript of the October 24, 2018 Deposition of Kevin
               App. 100        Kreitzman

1-C            App. 101–       Copy of October 12, 2018 Rebuttal Expert Report of Karyl Van
               App. 140        Tassel

1-D            App. 141–       Excerpted Transcript of the July 17, 2018 Deposition of Jeff
               App. 146        Holowaty

1-E            App. 147–       Excerpted Transcript of the May 16, 2018 Deposition of Nicolas
               App. 149        Salomon

1-F            App. 150–       Excerpted Transcript of the May 17, 2018 Deposition of Nicolas
               App. 153        Salomon

Appendix In Support Of Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Motion Pursuant To FED. R. EVID. 702 To Exclude Testimony Of
Kevin Kreitzman And Request For Hearing
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Exhibit No.    App. No.                       Document Description

1-G           App. 154–   Excerpted Transcript of the June 20, 2018 Deposition of Thomas
              App. 158    Allen

1-H           App. 159–   Excerpted Transcript of the August 30, 2018 Deposition of James
              App. 162    Martin

1-I           App. 163–   Excerpted Transcript of the June 7, 2018 Deposition of Roger
              App. 166    Werner

1-J           App. 167–   Excerpted Transcript of the September 5, 2018 30(b)(6)
              App. 170    Deposition of Scott Long




Appendix In Support Of Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Motion Pursuant To FED. R. EVID. 702 To Exclude Testimony Of
Kevin Kreitzman And Request For Hearing                                               2
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Respectfully submitted,

Date: November 13, 2018                 By:   s/Kevin D. Evans
                                              Kevin D. Evans
                                              Admitted pro hac vice
                                              Nicholas W. Dowd
                                              Admitted pro hac vice
                                              ARMSTRONG TEASDALE LLP
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                                              Attorneys for Defendants KROENKE SPORTS
                                              & ENTERTAINMENT, LLC and
                                              OUTDOOR CHANNEL HOLDINGS, INC.




Appendix In Support Of Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Motion Pursuant To FED. R. EVID. 702 To Exclude Testimony Of
Kevin Kreitzman And Request For Hearing                                               3
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                                  CERTIFICATE OF SERVICE

       This is to certify that on this 13th day of November, 2018, I caused the foregoing
APPENDIX IN SUPPORT OF DEFENDANTS KROENKE SPORTS &
ENTERTAINMENT, LLC AND OUTDOOR CHANNEL HOLDINGS, INC.’S MOTION
FOR SUMMARY JUDGMENT to be electronically submitted with the Clerk of Court for the
U.S. District Court, Northern District of Texas, using the electronic case filing system of the
Court.


                                                          /s/Kevin D. Evans
                                                          Kevin D. Evans




Appendix In Support Of Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Motion Pursuant To FED. R. EVID. 702 To Exclude Testimony Of
Kevin Kreitzman And Request For Hearing                                               4
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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

NIC SALOMON                           §
                                      §
      Plaintiff,                      §
                                      §
v.                                    §                                       CIVIL ACTION NO.
                                      §                                       3:15-CV-666-M
KROENKE SPORTS & ENTERTAINMENT,       §
LLC, OUTDOOR CHANNEL HOLDINGS,        §
INC., and PACIFIC NORTHERN CAPITAL LLC§
                                      §
       Defendants.                    §

      AFFIDAVIT OF KEVIN D. EVANS IN SUPPORT OF DEFENDANTS
       KROENKE SPORTS & ENTERTAINMENT, LLC   AND OUTDOOR
  CHANNEL HOLDINGS, INC'S MOTION PURSUANT TO      FED. R. EVID. 702
 EXCLUDE TESTIMONY OF KEVIN KREITZMAN AND REQUEST      FOR HEARING


STATEOFCOLORADO                         §
                                        §
CITY ANDCOUNTY
             OF          DENVER         §

      I, Kevin D. Evans,          declare      under        penalty    of       perjury       as          follows:

      1.      I am lead counsel ofrecord for DefendantsKROENKESPORTS
                                                                   &                      ENTERTAINMENT,

LLC   ("KSE")      and     OUTDOOR     CHANNEL         HOLDINGS,       INC.    ("Outdoor")    (collectively,

"Defendants").     The purpose of my Affidavit is to provide support for Defendants' Motion

Pursuant To FED. R. EVID. 702 To Exclude Testimony Of Kevin Kreitzman And Request For

Hearing.

       2.        On September 14, 2018, Plaintiff served on Defendants the Expert Report of

Kevin Kreitzman, MBA. A copy of this report, as                subsequently corrected
                                                                                   by Plaintiff to address

pagination issues,    is    attached        hereto     as         Exhibit       A.



Defendants KROENKESPORTS
                      &   ENTERTAINMENT,
                                      LLC                    And      OUTDOOR
                                                                        CHANNEL
HOLDINGS,INC.'SMotion Pursuant to     FED.
                                       R.                    EVID.
                                                               702       to     Exclude             Testimony        of
Kreitzman and Request for     Hearing
                                                                                                   App. 001
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      3.     Mr. Kreitzman's deposition was taken in this action on October 25, 2018.

Excerpts of the transcript      of      Mr.     Kreitzman's           deposition           are            attached

      4.     On October 12, 2018, Defendants               served     with
                                                                       Plaintiff
                                                                           the Rebuttal Expert
                                                                                            Report

of Karyl M. Van Tassel.
                    A copy of Ms. Tassel's                 report     is    attached         hereto           as             E

      5.      On July 17, 2017, the deposition ofJeff Dean Holowaty was taken in this action.

Excerpts of the transcript      of       Mr.   deposition
                                                Holowaty'sare attached       hereto        as         Exhibit       D.

      6.      The deposition ofPlaintiff Nicolas Salomon wastaken in this action on May 16,

2018, and continuing through May 17, 2018.           Excerpts of the transcript of Mr. Salmon's

deposition onMay 16 are attached hereto as Exhibit E. Excerpts of the
                                                                    transcript from May 17

are attached hereto   as     Exhibit     F.

       7.     On June 20, 2018, the deposition of Thomas D. Allen was taken in this action.

Excerpts of the transcript     of      Mr.     Allen's        deposition            are           attached               hereto

       8.     On August 30, 2018, the deposition of James A. Martin was taken in this action.

Excerpts of the transcript     of      Mr.     Martin's are attached
                                                                 deposition
                                                                      hereto       as      Exhibit       H.

       9.     On June 7, 2017, the deposition of Roger Werner was taken in this action.

Excerpts of the   transcript    of      Mr.     Werner's            deposition     Exhibit
                                                                                       are I.          attached             her

       10.    On September 5, 2018, the 30(b)(6) deposition of Scott M. Long, representative

of Defendant KSE, was taken this
                            in action. Excerpts of the transcript of Mr.Long's deposition

are attached hereto   as     Exhibit     J.

       11.    I declare under penalty perjury
                                       of     that the foregoing            is      true        and      correct.




Defendants KROENKESPORTS
                      &   ENTERTAINMENT,
                                    LLC                  And    OUTDOOR
                                                                  CHANNEL
HOLDINGS,INC.'SMotion Pursuant to    FED.
                                       R.                 EVID.
                                                           702     to     Exclude                     Testimony              of
Kreitzman and Request for Hearing                                                                 2
                                                                                                  App. 002
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Dated: November 13, 2018




Subscribed and Sworn
Before me this1*3? day of
November, 2018
                                             ALYSSAR GILLIAM
                                              NOTARY PUBLIC
                              j            STATE OF COLORADO
                                          NOTARYID20184004126
Notary Public                     MY COMMISSION EXPIRES JANUARY24,2022




Defendants KROENKE SPORTS
                       & ENTERTAINMENT,
                                  LLC    And     OUTDOOR
                                                   CHANNEL
HOLDINGS,INC.'SMotion Pursuant to   FED.
                                     R.   702
                                           EVID.
                                              to Exclude Testimony            of       Kevin
Kreitzman and Request Hearing
                         for                                                       3
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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

NIC SALOMON,                                  §
                                              §
     Plaintiff,                               §
                                              §
v.                                            §     CIVIL ACTION NO.
                                              §     3:15-CV-666-M
KROENKE SPORTS & ENTERTAINMENT,               §
LLC, OUTDOOR CHANNEL HOLDINGS,                §
INC., and PACIFIC NORTHERN CAPITAL LLC,       §
                                              §
     Defendants.                              §



                               EXHIBIT A

            AFFIDAVIT OF KEVIN D. EVANS IN SUPPORT OF
       KROENKE SPORTS & ENTERTAINMENT, LLC AND OUTDOOR
  CHANNEL HOLDINGS, INC.’S MOTION PURSUANT TO FED. R. EVID. 702 TO
 EXCLUDE TESTIMONY OF KEVIN KREITZMAN AND REQUEST FOR HEARING




                                                                     App. 004
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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

  NIC SALOMON,

             Plaintiff,

             vs.                        Civil Action No. 3:15-CV-00666-M

  KROENKE SPORTS & ENTERTAINMENT,
  LLC, OUTDOOR CHANNEL HOLDINGS,
  INC. AND PACIFIC NORTHERN CAPITAL
  LLC,

             Defendants.




                   EXPERT REPORT OF KEVIN KREITZMAN, :MBA




                                                          ~      EXHIBIT

                                                          ! '(p5
                                                          I 1~-/2ct!;\'.>
                                                                            App. 005
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  I.     lN1RODUCTION AND OVERVIEW .

         A.      Qualifications

          I.     My name is Kevin Kreitzman. I currently hold the position of Director at

  Berkeley Research Group ("BRG"). Over the past thirty years, my academic and professional

  research has focused largely on valuation, financial modeling, and the assessment of commercial

  damages. Prior to joining BRG, I served as a Principal at the ERS Group, Director in the

  Forensics and Litigation practice at KPMG LLP and as a Senior Economist at LECG.

  Throughout the 1980s and 1990s, I held a number of senior officer and other management

  positions at various firms participating in the industries for telecommunications, investment

  banking and investment management, and insurance. I have also been a lecturer at several

  universities in the San Francisco Bay Area, most recently at the University of California at

  Berkeley, where I developed and taught courses in Corporate Finance, Business Valuation, and

  Estimating Damages in Litigation for the University of California at Berkeley Extension. I hold

  an MBA degree in Finance from the University of Wisconsin at Milwaukee.

         2.     I have previously testified as an expert witness and have conducted complex

  damages studies in cases involving such issues as bankruptcy, intellectual property and patent

  infringement, fraud and fraudulent conveyance, distributor termination, breach of contract,

  breach of fiduciary responsibility, tax liability, employee stock ownership plans, mergers and·

  acquisitions, and antitrust. In the current matter, BRG is being compensated for my services at

  my standard billing rate of $400 per hour, and that compensation is not dependent on the

  outcome of this matter. A recent copy of my curriculum vitae is attached to this report as

  Appendix I.




                                                                                                I

                                                                                        App. 007
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           B.      Purpose and Scope of Work

           3.      I have been asked to provide a reasonable estimate and calculation of economic

    losses incurred by Plaintiff Nie Salomon ("Plaintiff' or "Mr. Salomon") as a result of the

    wrongdoing he alleges was committed by defendants Outdoor Channel Holdings, Inc. ("Outdoor

    Channel") and Kroenke Sports and Entertainment, LLC ("KSE"). As set forth in this opinion,

    these losses include (a) lost compensation, (b) benefit of the bargain losses, (c) legal expenses

    incurred in connection with attempting to purchase SkyCam and CableCam (together referred to

    as the "Aerial Camera Business"), and (d) disgorgement of profits. For benefit of the bargain

    damages, I present .three alternate scenarios. Scenario I involves a valuation which is based on

    the projected cash flows of the Aerial Camera Business. Alternatively, I present Scenario 2

    which is based on the Lazard Freres valuation of the Aerial Camera Business of between $7 and

    $9 million. Scenario 3 assumes that the price of the proposed acquisition by Mr. Salomon and

    PNC is the value of the Aerial Camera Business. My primary conclusions are summarized as

    follows. In addition, I provide a preliminary opinion regarding punitive damages, which will be

    supplemented if the jury determines punitive damages are warranted.

           C.      Summary of Conclusions

           4.      This section summarizes my findings and conclusions to date. Because the report

    contains a detailed analysis, the following summary does not reflect all of my findings and

    conclusions or all of the bases for those findings and conclusions. I may revise my analyses in

    light of any additional facts or evidence that comes to light later in these proceedings. The facts

    or data upon which I am basing the opinions and inferences discussed in this report are of a type

    reasonably relied upon by damages experts.




                                                                                                     2


                                                                                                 App. 008
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                                                                                         -------.----·-------·---~




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              5.       Plaintiff claims lost compensation totaling $1,362,755 through February 4, 2019,

  the date of the start of the trial. The prejudgment interest on these wages is $157,679 and the

  total lost wages damages are $1,520,434. 1

              6.      Plaintiff incurred legal expenses and other costs paid in connection with the

  transaction of $12,622. The prejudgment interest (5% for 3.94 years) on these costs is $2,486 and

  the total legal expenses and costs are $15,108. 2

              7.      The Benefit of the bargain damages Scenario 1, based on the value of the Aerial

  Camera business using management projections are $1,023,809. Prejudgment interest from the

  time of the filing of the lawsuit (February 27, 2015) to the time of the trial (5%.for 3.94 years) is

  $201,588 and total damages plus prejudgment interest is $1,225,397.

             8.       Total Damages under Scenario 1 are: $2,760,939, which includes benefit of the

  bargain damages (plus prejudgment interest) of$1,225,397, lost compensation (plus prejudgment

  interest) of $1,520,434 and legal expenses and costs (plus prejudgment interest) of $15,108.

             9.       The range of benefit of the bargain damages for Scenario 2, based on the values of

  the Aerial Camera business using the valuation range provided by Lazard Freres is between

  $705,753 and $935,683. Prejudgment interest from the time of the filing of the lawsuit to the

  time of the trial (5% for 3.94 years) is between $138,963 and $184,236. Total damages plus

  prejudgment interest is between $844,716 and $1,119,919.

             10.      Total Damages under Scenario 2 range from $2,380,258 to $2,655,461, which

  includes benefit of the bargain damages (plus prejudgment interest) between $844,716 and


  1   Plaintiff's Third Supplemental' Answers and Objections to First set of Interrogatories of Defendants Kroenke
  Sports & Entertainment, UC and Outdoor Channel Holdings, Inc., p. 2.
  2
      Plaintiff's Third Supplemental Answers and Objections to First set oflnterrogatories of Defendants Kroenke
  Sports & Entertainment, UC and Outdoor Channel Holdings, Inc., p. 3.



                                                                                                                     3

                                                                                                             App. 009
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$1,119,919, lost compensation (plus prejudgment interest) of $1,520,434 and legal expenses

(plus prejudgment interest) of $15, 108. I have described the lower and upper range of these

damages as Scenario 2A and 2B, respectively.

       11.     Scenario 3 benefit of the   bargai~   losses are $397,277. This assumes that the price

of the proposed terms of the sale set forth in the term sheet of the Aerial Camera assets is the

value. Prejudgment interest from the time of the filing of the lawsuit to the time of the trial (5%

for 3.94 years) is $78,224 and total damages plus prejudgment interest is $475,501. My opinion

that the $475,501 be construed as a floor on the value of the Aerial Camera Business is also

supported by the fact that Mr. Stan Kroenke elected not to sell the Aerial Camera Business even

though he was being advised that it was a weak business and should be sold.

       12.     Total Damages under Scenario 3 are: $2,011,043, which includes benefit of the

bargain damages (plus prejudgment interest) of $475,501, lost compensation (plus prejudgment

interest) of $1,520,434 and expenses (plus prejudgment interest) of $15, 108.




                                                                                                    4


                                                                                               App. 010
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                                             TABLE 1
                                    SALOMON SCENARIO 1

  Total Benefit of the Bargain Damages ($)                               1,023,808.88
  Preiudmnent faJ. 5% ($)                                                  201,587.97
  Total($)                                                               1,225,386.85
  Lost Wages Plus Interest ($)                                           1,520,433.71
  Expenses Plus PJ interest($)                                              15,108.36
  Total($)                                                               2,760,928.92

                                             TABLE2
                                   SALOMON SCENARIO 2A

  Total Benefit of the Bamain Damages ($)                            705.753.12
  Preiud<mlent (iJ) 5% ($)                                           138,962.72
  Total($)                                                           844,715.91
  Lost Wae:es Plus Interest ($)                                     1,520,433.71
  Expenses Plus PJ interest($)                                        15,108.36
  Total($)                                                          2,380,257.98

                                             TABLE3
                                   SALOMON SCENARIO 2B

  Total Benefit of the Bamain Damages ($)                            935,683.02
  Preiude:ment faJ. 5% ($)                                           184,235.99
  Total($)                                                          1.119.917.01
  Lost Wae:es Plus Interest ($)                                     1,520,433.71.
  Exoenses Plus PJ interest($)                                        15,108.36
  Total($)                                                          2,655,459.08

                                             TABLE4
                                    SALOMON SCENARIO 3

  Total Benefit of the Bamain Damal!es ($)                           397,277.00
  Preiud<mlent (iJ) 5% ($)                                            78,224.00
  Total($)                                                             475.501
  Lost Wae:es PIUs Interest ($)                                     1,520,433.71
  Expenses Plus PJ interest($)                                        15.108.36
  Total($)                                                          2,011,043.00




                                                                                    5

                                                                            App. 011
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        13.    Disgorgement of profits of Outdoor Channel Holdings LLC. Outdoor benefitted

from the competitive bidding when Outdoor accepted KSE bids that included the sale of the

Aerial Camera Business. Absent the acceptance of the KSE bids, Outdoor' s shareholders would

have likely approved the sale to InterMedia for $8.00 a share. Instead, the price was bid up to

$10.25 per share. The $2.25 per share gain in price times 25.84 million, the number of

outstanding shares of Outdoor stock resulted in a gain of $58.14 million. With prejudgment

interest of $11.45 million, the total gain is $69.59 million.

       14.     Disgorgement of KSE profits. I would measure the gain to KSE as the difference

between the value of Outdoor to KSE and the price paid by KSE for Outdoor. However, I have

not found information regarding KSE' s assessment of Outdoor' s value or the value of synergies

expected by Outdoor.

       D.      Material Relied Upon

       15.     In the course of my work, I was provided with access to and have incorporated

into my analyses contemporaneous business records, communications, and studies generated by

the Defendants that were useful in my understanding of the facts of the case and in forming my

opinions. I also have researched publicly available information. I also was provided with, and

have reviewed and considered, transcripts of depositions and exhibits to those depositions.

Counsel for Plaintiffs have provided me with access to records of documents produced by

Defendants in this case. A detailed list of the materials and resources I reviewed or considered in

the preparation of this report is contained in Appendix II.

II.    BACKGROUND

       A.      Background

       16.     In this lawsuit, Plaintiff asserts that he, along with his partner PNC, negotiated a

term sheet with defendant Outdoor Channel for the purchase of CableCam and SkyCam

                                                                                                 6


                                                                                            App. 012
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  (together referred to as the "Aerial Camera Business"). The term sheet contained a binding

  exclusivity clause precluding Outdoor Channel from taking a number of actions relating to the

  Aerial Camera Business, including negotiating with others concerning the business and selling

  the business, directly or indirectly, to anyone else. As a result, Plaintiff was deprived of the

  opportunity to purchase the Aerial Camera Business. Plaintiff contends that Outdoor Channel

  breached the term sheet in its handling of the negotiations for the sale of the Aerial Camera

  Business, its purported amendment of the term sheet with PNC behind Mr. Salomon's back, and

  its ultimate decision to permit the sale of the Aerial Camera Business, to Defendant KSE

  following KSE's offer to purchase all of Outdoor Channel, including the Aerial Camera

  Business. Plaintiff asserts causes of action for (1) breach of contract against Outdoor Channel,

  (2) tortious interference with existing contract and (3) tortious interference with prospective

  economic relations against KSE, (4) aiding and abetting breach of fiduciary duties against

  Outdoor Channel and KSE, (5) breach of fiduciary duty against PNC, and (6) unjust enrichment

  and (7) civil conspiracy against all defendants.

          B.      Chronology ofEvents

          17.     The Aerial Camera business was acquired by Outdoor on January 12, 2009 when

  Outdoor acquired the assets of Winnercomm, a production, development, and marketing of

  outdoor related. programming company that own CableCam and SkyCam. 3

          18.     In 2011 the Aerial Camera business was segregated from Winnercomm and was

  treated as a separate segment ofOutdoor's business. 4


  3Outdoor Channel Holdings, Inc. I 0-K (FYE March, 9, 2012), p. 4, available at
  https://www .sec.gov/Archives/edgar/data/760326/000119312512107271/d294572d I Ok.him
  4Outdoor Channel Holdings, Inc. 10-Q (FYE November 9, 2012), p. 16, available at
  https://www.sec.gov/Archives/edgar/data/760326/000 I 19312512463463/d398759dl Oq .htm.



                                                                                                 7

                                                                                           App. 013
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        19.      In April 2012, Mr. Salomon and PNC executed a Non-Disclosure Agreement to

permit PNC to evaluate the purchase of the Aerial Camera Business. 5

        20.      In June 2012, Outdoor retained Noble Financial Capital Markets to explore

strategic alternatives for the Aerial Camera Business.

        21.      In November 15, 2012, Outdoor Channel Holdings entered into a merger

agreement with InterMedia Outdoor Holdings ("InterMedia"). According to the agreement, each

share of Outdoor Channel issued and outstanding prior to the effective date will be converted

into the right to receive either (1) $8.00 in cash (2) one share of InterMedia common stock or (3)

a combination of $4.46 and 0.443 shares of InterMedia common stock. The InterMedia

agreement contains a "fiduciary-out" provision that would allow Outdoor Channel to participate

in unsolicited discussions related to a "Superior Proposal" by a third party as well as a breakup

fee of $6.5 million payable to InterMedia.

        22.      Concurrently _with the execution of the Merger Agreement, Thomas H. Massie,

Perry T. Massie and certain of their affiliated entities, the members of the Outdoor Channel

board and the executive officers of Outdoor Channel representing approximately 41 % of the

voting outstanding stock, entered into a Support Agreements with Parent. Pursuant to this

agreement the parties agreed, among other things, to vote their shares of Outdoor Channel

common stock in favor of the adoption of the Merger Agreement and the approval of the

Outdoor Channel Merger. 6



5 Nie Salomon v. Kroenke Sports & Entertainment, LLC, Outdoor Channel Holdings, Inc., and Pacific Northern

Capital LLC, Plaintiff's Second Amended Complaint (August 31, 2017) (hereinafter "Plaintiff's Second Amended
Complaint"), p.7.
6 Outdoor Channel Holdings, Inc. 8-K (FYE November 16, 2012), Item 1.01 Entry into a Material Definitive

Agreement, available at https://www .sec.gov/Archives/edgar/data/760326/0001193125124 74248/d440083d8k.htm.



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             23.        My understanding is that the InterMedia Outdoor merger agreement excludes _the

  Aerial Camera Business in its financial projections, and that this exclusion of Aerial Camera

   from the Outdoor projections is consistent with an expectation that InterMedia was not intending

  to interfere with the negotiations and contemplated sale of the Aerial Camera Business. 7

            24.         On November 21, 2012, InterMedia filed a registration statement with the SEC

  related to the proposed merger with Outdoor Channel. 8

            25.         On, November 27, 2012, InterMedia disclosed details of the terms of the. Support

  Agreement. 9

            26.         On January 2013, Mr. Salomon notified Outdoor of his intent to present an offer

  with PNC to buy the Aerial Cam~ra Business. 10

            27.        On February 26, 2013, Outdoor announced that Institutional Shareholder Services

  Inc. an independent U.S. proxy advisory firm, recommended that Outdoor Channel stockholders

  vote in favor of the proposed merger with InterMedia. 11

            28.        On February 27, 2013, Mr. Salomon, PNC and Outdoor executed a term sheet for

  the purchase of the assets of the Aerial Camera Business from Outdoor for a price of up to $4.0S

  million, which included $3.65 million in cash at closing and additional payments for ongoing

  royalties. The term shl)et contains an exclusivity provision which precluded Outdoor, SkyCam
                                                               I



  7
    Outdoor Channel Holdings, Inc. 8-K (FYE November 16, 2012), available at
  https://www.sec.gov/Archives/edgar/data/760326/000119312512474248/d440083d8k.htm.
  8InterMedia Outdoor Holdings, Inc. S-4 (FYE November 21, 2012), available at
  https://www.sec.gov/Archives/edgar/data/1562300/0001193125124 7881 O/d440728ds4.htm.
  9Outdoor Channel Holdings, Inc. SC 13D/A EX-99.l Form of Support Agreement (FYE November 27, 2012),
  available at https://www.sec.gov/Archives/edgar/data/760326/000 l l 9312512482263/d445324dex99 l .htm.
  10 Plaintiff's   Second Amended Complaint, p. 6.
  11
     Outdoor Channel Holdings, Inc. 425 (FYE February 27, 2013), available at
  https://www.sec.gov/Archives/edgar/data/760326/000 l l 93125 I 3078245/d493273d425 .him.



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and CableCam from negotiating or agreeing to sell any equity interest in the Aerial Camera

Business or any material part of the Aerial Camera B~siness to ant party other than Mr. Salomon

and PNC, or their designated purchaser. Within the binding exclusivity provision, the term sheet

also provides for "monetary damages, both actual and consequential" in the event of a breach. 12

           29.      On March 4, 2013, Outdoor Channel announces that it has received an

unsolicited, unbinding proposal from Kroenke Sports & Entertainment, LLC to acquire all of

Outdoor Channel's outstanding shares in an all-cash price of$8.75 per share. 13 InterMedia sent a

letter to the Board stating its belief its offer was more valuable than the KSE proposal because of

an increase in the value of the equity portion of its offer. InterMedia cites an increase in value of

the comparable companies in the Lazard Freres fairness opinion. 14 It is my understanding that

Mr. Salomon asserts that Outdoor's General Counsel informed Mr. Salomon that it was in

Outdoor's position to disregard the term sheet because it was Outdoor's interest to accept KSE's

offer to purchase the entire company. 15
                               ',


           30.      On March 7, 2013, Outdoor announces that the board has unanimously

determined that the KSE proposal was a Superior Proposal. 16

           31.      On March 10, 2013, Mr. Salomon provided PNC with a proposed equity structure

for the purchaser.


12   Plaintiffs Second Amended Complaint, pp. 7-8.
13 Outdoor Channel Holdings, Inc. 8-K EX 99.2 (FYE March 4, 2013), available at
https://www.sec.gov/Archives/edgar/data/760326/0001 !93125!3089245/d495755dex992.htm.
14Outdoor Channel Holdings, Inc. 425, (FYE March 4, 2013), available at
https://www.sec.gov/Archives/edgar/data/760326/000 l l 9312513089246/d495755d8k.htm.

15   Plaintiff's Second Amended Complaint, p. I 0.
16Outdoor Channel Holdings, Inc. 425 (FYE March 7, 2013), p. I, available al
https://www .sec.gov/Archives/edgar/data/760326/000119312513095853/d49,8630d425 .htm.



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                       32.      On March 13, 2013, Outdoor disclosed that it and KSE had entered into a

            definitive Agreement and Plan Merger pursuant to which KSE would acquire all the shares of

            Outdoor Channel for $8.75 in cash. Prior to entering into the KSE Merger Agreement, Outdoor

            terminated the InterMedia Merger Agreement and paid a termination fee of $6.5 million to

            InterMedia. 17

                       33.      It is my understanding that on March 21, 2013, PNC and Outdoor purported to

            amend the Term Sheet, without Mr. Salomon's knowledge or consent, to give effective control

            of the term sheet to KSE by means of a provision releasing Outdoor Channel from exclusivity

            obligations if KSE did not consent to a proposed transaction regarding the Aerial Camera

            Business. 18

                       34.      On March 28, 2013, Mr. Salomon emailed PNC to request PNC provide a

            proposed capitalization table. 19

                       35.      On March 28, 2013, Mr. Salomon learned of, and objected to the purported

            amendment to, the term sheet giving KSE de facto control over the sale of the Aerial Camera

            Business. 20 Outdoor CEO Hornish requested a "side letter Agreement and Amendment," which

            Mr. Salomon refused.




            17 Outdoor Channel Holdings, Inc. 8-K (FYE March 13, 2013), p. 2, available at

            https://www.sec.gov/Archives/edgar/data/760326/000119312513105366/d501922d8k.htm.
            18   Plaintiff's Second Amended Complaint Exhibit L
            19   Plaintiff's Second Amended Complaint Exhibit M.
            20   Plaintiff's Second Amended Complaint, p. 13.



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          36.     On April 11, 2013, Outdoor filed a definitive proxy statement, announcing that a

 special meeting of the stockholders would be held on May 8, 2013, where stockholders would

 vote upon a proposal to adopt the Kroenke Merger Agreement. 21

          37.     On May 2, 2013, Outdoor and KSE entered into AmendmentNo.l to the Kroenke

 Merger Agreement, pursuant to which KSE would acquire the shares for $9.35 per share in cash.

 Outdoor disclosed that on April 30, 2013, InterMedia delivered a written proposal to Outdoor to

 acquire all shares of Outdoor Channel for $9.15 per share. 22

          38.     On May 3, 2013, InterMedia delivered a written proposal to Outdoor Channel to

 acquire the shares of Outdoor for $9.75 in cash. 23

          39.     On May 8, 2013, Outdoor and KSE entered into Amendment No. 2 to the

 Kroenke Merger Agreement, pursuant to which KSE would purchase all shares of Outdoor for

 $10.25. 24

          40.     On May 17, 2013, Outdoor disclosed that it completed the merger with KSE. 25

 Ill.     BUSINESS ANALYSIS

          A.      The Aerial Camera Business

          41.     The Aerial Camera Business, which consists ofCableCam and SkyCam were part

 of the 2009 Winnercom acquisition. 26SkyCam and CableCam are similar companies that provide

 21  Outdoor Channel Holdings, Inc. DEFM14A (FYE April 11, 2013), p. 3, available at
. https://www .sec.gov/Archives/edgar/data/760326/0001 I 9312513 I 50322/d505077ddefinl 4ahtm.
 22Outdoor Channel Holdings, Inc. DEFAl4A (FYE May 2, 2013), p. 3, available at
 https://www .sec.gov/Archives/edgar/data/760326/0001 l 9312513196482/d531626ddefal 4a.htm.
 23 Outdoor Channel Holdings, Inc. DEFAl4A (FYE May 6, 2013), p. 3, available at
 https://www.sec.gov/Archives/edgar/data/760326/00011931251320 I 776/d533 I I 8ddefal 4a.htm.
 24Outdoor Channel Holdings, Inc. 8-K (FYE May 9, 2013), p. 2, available at
 https://www.sec.gov/Archives/edgar/data/760326/000119312513210485/d536065d8k.htm.
 25 Outdoor Channel Holdings, Inc. 8-K (FYE May 17, 2013), p. 2, available at
 https://www.sec.gov/Archives/edgar/data/760326/000 J J9312513226195/d540683d8k.htm.



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  suspended aerial camera systems, primarily for sports and entertainment events. Other potential

  uses for the core technology include border and port security. 27 The SkyCam technology uses a

  proprietary fiber optic support cable and a 4-winch system. CableCam employs a 3-winch system

  that can carry heavier, higher quality cameras. In general, the SkyCam system is less expensive

  and easier to install. 28

            42.    The core Aerial Camera Business is capital intensive. Growth in the ability to

  service additional events requires the purchase of additional expensive equipment and

  development of new technologies. Suspended mobile aerial cameras are still an emerging

  technology, and early mover advantages are possible since barriers to entry may be increasing as

  companies acquire intellectual property, tie-up scarce specialized resources, establish a track

  record and enter into multi-year contracts with limited venues. SKYCAM had multiple patents 29

  at the time of the breach and has successfully defended its intellectual property in court and has

  favorable verdicts in the Actioncam litigation. 30

            43.    In addition. to the core business, SKYCAM was exploring ways to monetize its

  technology. For example, SKYCAM developed a second screen technology that would allow end

  users to view the live content from above a game on a laptop, tablet or handheld device. Such an

  application could generate targeted sponsorship revenue and unlike the core business it would

  not have growth tied to capital expenditures. SKYCAM had a patent pending for SKYCAM



  26   KSE/OC:056591.

  27   KSE/OC:056683.
  28   KSE/OC:056691.

  2• KSE/OC:056707.

  30   KSE/OC:056712.



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acquisition and delivery to second screens. 31 Although it is possible these opportunities could

generate large amounts of revenue, I cannot estimate the value of this lost opportunity without

additional information.

          B.     Industry - Competition

          44.    SKYCAM is the market leader and is dominant in the US market. 32 Its largest

competitor in the US market is Actioncam, which covers approximately one quarter the number

of events as SKYCAM. Actioncam was the subject of the litigation won by SKYCAM for breach

of contract, misappropriation of trade secrets and unfair competition. Other minor competitors

include Spidercam and Flycam. Spidercam covers mostly soccer concerts and rugby and is the

dominant firm in the European market.

IV.       FINANCIAL ANALYSIS

          A.     Historical Performance

          45.    SKYCAM sales had increased from $3.1 million in 2004 to $12 million in 2012.

To fuel this growth, SKYCAM invested $8.6 million in new equipment. SKYCAM has had

negative cash flow during this period, a trend that was expected to continue.

          B.     Historical Financials




" KSE/OC:052707
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     KSE/OC:052706



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                                                                              TABLES
                                                                   SKYCAM !IlSTORICAL FINANCIALS

                                                            2004           2005     2006        2007        2008         2009       2010    2011        2012
        Revenue 1Recurrin9\ ($ MM\                           3.1        4.2         6.0          7.9         7.5          7.4        9.1     8.7        12.0
        % arowth                                                       35.7%       42.2%       31.2%       -4.8%        -0.8%      22.2%   -4.4%       38.7%
        Events                                               62          86         145          183         194          165        188     202        219
        Gross Profit IRecurrin2) ($MM\                      2.0         2.7         3.8          5.2         4.7          4.2        4.9     4.4         4.7
        %marITTn                                           64.9%       63.5%       63.7%       66.1%       62.7%        56.3%      54.0%   50.8%       39.3%
        EBITDA IRecurrin9\ ($MM\                             1.3         1.5         1.3         1.8         1.3          0.7        1.5     1.2         1.4
        %maro-1n                                           40.7%       35.7%       21.3%       23.1%       17.8%         9.9%      16.1%   13.5%       11.6%
        Canital Exoenditures ($ MMI                         0.1         1.2         1.7          0.9         0.6          1.0        0.6     0.6         1.9
        Notes: Excludes corporate overhead; Maintenance capex (included in Capital Expenditures) is estimated at $600K per year.




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          C.     Projections

          46.    There have been several projections reflecting various business plans produced in

this litigation. I have chosen to use the projections prepared by Nie Salomon that was attached to

the May 17, 2013 e-mail sent to David Gluck at KSE.33 I believe these projections best reflect

the business plan that would have been implemented absent the alleged breach of the terms of the

term sheet and other wrongdoing alleged in this litigation.

                                                TABLE6
                                     SKY.CAM FINANCIAL PROJECTIONS

                                              Budget                       5 Year Fore cast
SKY CAM Core Business Lines                   2013E        2014E     2015E       2016E      2017E      2018E
Revenue ($MM)                                    12.7         15.5      22.0        35.0       42.4       52.2
% irrowth                                       5.7%        21.7%    42.1%        59.3%     21.3%      23.0%
Events                                           228          269        331         586        700        844
Gross Profit ($ MM)                               5.2          6.4        8.9       15.8       19.2       24.1
%margin                                        40.8%      . 41.5%    40.3%       45.1%       45.3%     46.2%
EBITDA ($ MMl                                     1.2          1.5        3.4         9.2      12.2       16.5
%margin                                         9.2%         9.4%     15.4%       26.3%      28.6%      31.6%
Caoital Expenditures ($ MM\                       0.7          1.5        8.5         3.5       4.9        7.9
Svstems in Ooeration                               17           20        26          48         59         78

Notes: Excluded corporate overhead; Maintenance Capex (included in Capital Expenditures) is estimated at $600K
per year.

          D.     Lost Compensation

          47.    As noted above, Plaintiff claims lost compensation totaling $1,362,755 through ·

February 4, 2019, the date of the start of the trial. This consists of lost salary and bonuses. I

understand that Plaintiffs claim to this lost compensation is based on his assertion that but for

the conduct of Defendants described in the Second Amended Complaint, Plaintiff would be in at

least the same position as President of the Aerial Camera. Business and would therefore be


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     KSE/OC: 000414



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   earning at least the same base salary he was receiving at the time of his termination (i.e.,

   $252,881) and at least the same bonus he received for the calendar year 2013 (i.e., $34,139). The

  calculation for this lost compensation is set forth in Plaintiff's Third Supplemental Answers and

  Objections to Defendants' First Set of Interrogatories. I have reviewed these calculations and

  they appear to be accurate based on the assumptions made therein. I performed a calculation of

  the prejudgment interest on these wages from the time the lawsuit was filed on February 27,

  2015, and the prejudgment interest is $157,679. Therefore, the total lost compensation damages

  are $1,362,755. 34

              E.      Legal Fees and Costs Incurred in Relation to the Proposed Transaction

              48.     As noted above, I understand that Plaintiff incurred legal expenses and other costs

  paid in connection with the transaction to purchase the Aerial Camera Business through May of

  2013 of $12,622. 35 These damages are set forth in Plaintiff's Third Supplemental Answers and

  Objections to Defendants' First Set of Interrogatories. I have reviewed the underlying legal bills

  associated with this calculation and the number appears to be accurate. I performed a calculation

  of the prejudgment interest on these legal expenses and costs from the time the lawsuit was filed

  on February 27, 2015, and the prejudgment interest is $2,486. Therefore, the total lost

  compensation damages for legal fees and costs incurred in relation to the proposed transaction

  are $15,108.




  34
       Plaintiff'~ Third Supplemental Answers and Objections to First set of Interrogatories of Defendants   Kroenke
  Sports & Entertainment, LLC and Outdoor Channel Holdings. Inc., p. 2.
  35
       Plaintiff's Third Supplemental Answers and Objections to First set of Interrogatories of Defendants Kroenke
  Sports & Entertainment, LLC and Outdoor Channel Holdings, Inc., p. 3.



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                                                                                                               App. 023
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         F.         Benefit of the Bargain Losses

         49.        One method of measuring losses to Mr. Salomon is to determine his benefit of the

bargain damages. This would be an element of Mr. Salomon's economic damages, including the

"monetary damages, both actual and consequential" referenced in the term sheet. The purpose of

this measure of damages is to restore Mr. Salomon as the injured party to the economic position

he would have been in had the contract been performed, or had it not been interfered with. I have

been instructed by counsel that benefit of the bargain damages under Texas law are calculated by

subtracting the value received by the non-breaching party from the value the party expected to

receive when the contract was made. Because the value received by Mr. Salomon is zero in that

he was denied the opportunity to participate in the purchase of the Aerial Camera Business and

thus received no value, Mr. Salomon's benefit of the bargain losses would be measured as the

value he would have received-meaning the value of the Aerial Camera Business-had the

purchase been completed and had he then become a part owner of the business with PNC. In

valuing the Aerial Camera Business, the present value of lost cash flows can be synonymous

with lost value, since the value of a firm is considered to be the present value of expected cash

flows.

               i.          Scenario I: Valuation of Aerial Camera Business Based on Projected
                           Cash Flows

         50.        Scenario 1 is a valuation of the projections made by management in the normal

course of business around the time of the acquisition. Below I explain the various methods that

are typically used for this purpose, why I chose the methods used and how key parameters used

in the valuation ·were derived. In scenario 1, I concluded that the value of the Aerial Camera

Business was $9.75 million.




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          51.    There are various methods. of valuing a business. The business valuation

  discipline recognizes three general methodologies to arrive at an estimate of value of a business

  enterprise - the Capital Market method, the Income Method and the Cost Method. These

  methodologies, although separate and distinct, are commonly used jointly to corroborate findings

  and support conclusions. I have used only the Income Method to determine the value of the

  Aerial Camera Business. I include the results of Capital Market Method for illustration only as I

  am not convinced that the price to EBITDA ratio for the Entertainment Tech companies is

  sufficiently comparable to the unique business model of SKYCAM. I do not believe the Cost

  Method would provide a useful indication of value.

         52.     The Income Method requires that the earning capacity of the subject company be

  investigated and the resultant indicator of expected earning capacity, whether it be derived from

  past, current or projected earnings streams, be discounted at a rate sufficient to satisfy the

  investment and business risk of ownership. The application of this approach is enhanced when

  sufficient earnings history is available and relevant to the entity's future, in order to provide a

  clear indication of expected future performance. The Discounted Cash Flow (DCF) method is a

  direct application of the universal valuation definition; the value of a security is equal to the

  present value of expected cash flows. If the cash flows and discount rate were known then the

  value of the security would be a mathematical identity.

         53.     The Capital Market Method is predicated on the theory that the market value of a

  closely held company can be estimated based on prices investors pay for the stocks of similar

  publicly traded companies. In this method, we compare market value with other measures of

  financial performance or metrics. The investment market's valuation of these similar companies

  provides a guide for determining the range from which the appropriate market multiples should



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be selected, and applies this range to the subject entity's relevant metric (such as different

measures of earnings, cash flow or revenue). The Market Multiple Approach is useful when

prices of similar comparable companies can be observed.

        54.     The Cost Method considers the assets and liabilities of the subject entity where

appraised values are substituted for book values and the estimated liquidation value is the net

value of assets realizable through sales of individual business assets. It does not consider

earnings, goodwill or going concern values because it is presumed that the business enterprise

will no longer be a going concern. Estimated liquidation value is applicable when the underlying

assets are worth more if the business is terminated and the assets are sold individually, rather

than as the underlying parts of a going concern. Because the Aerial Camera Business has

intangible value, I have not used the Cost Method. Instead, I have utilized the Income (DCF) and

Capital Market Methods in my determination of the present value of its equity.

        55.     These approaches can result in values at either the enterprise level or equity level.

Enterprise value is for an entire firm and includes the market value of both its equity and

interest-bearing debt, while equity value is a measure of value for the common shareholders'

claim on the entire firm. In the case of the Aerial Camera. business, there is no distinction

between enterprise value and equity value because the company has no interest-bearing debt.

Using the DCF method and considering the Capital Market Methods I compute enterprise value

to arrive at the equity value.

        56.     The Discounted Cash Flow Method ("DCF") is based upon the premise that the

value of future benefits can be derived from the present worth of these future benefits through

the ownership of the subject property. In this method, the terms "income" or "profits" are used in

a broad sense encompassing all monetary benefits to investors. A rate of return is used to convert



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        a series of future income amounts into present value. The key elements comprising .the ·income

        approach are:

                 •      the stream of benefits the owner cifthe assets expects to receive;

                 •      the timing of the receipt of these benefits; and

                 •      the risk borne by the owner.

                 57.    The Benefit Stream and Timing: The future benefits can be characterized in

        terms of future cash flows. The available cash flow of an entire firm is the operating income that

        can be distributed, once the operational needs of a firm, prior to financing costs, have been met. .

        The present worth of future benefits can be determined on a single-period or multi-period basis.

        A common methodology employed is a two-stage model comprising a series of cash flows

        (typically three to five years or over a forecast period provided by the Company's management)

        and a terminal on-going cash flow.

                 58.    Risk: Risk is generally defined as the uncertainty regarding the expected rate of

        return from an investment. The financial principle that underlies this concept is opportunity cost,

        which is the return that could be obtained by investing in other assets with similar levels of

        uncertainty. In summary, DCF is a ;vell-accepted valuation methodology based on the income

        approach and is widely used and accepted by valuation professionals. The value for an enterprise

        is based on projected cash flows, utilizing a discount factor to adjust all future cash flows to their

        present value which compensates investors for the risk associated with receiving those cash

        flows.




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                        a.      The Benefit Stream: Cash Flows

        59.     To employ the DCF method, we must first calculate the business's free cash flow.

Free cash flow is cash flow generated by the business before debt servicing charges that is in

excess of the amount needed for reinvestment purposes. It is measured as


       Free Cash Flow = Net Operating Profits After Taxes - Change in Capital



        60.     To estimate the free cash flow of Aerial Camera business, I used the forecast of

EBITDA and subtracted cash operating taxes, depreciation to calculate after-tax operating profits

before subtracting the net change in capital. Under this method, the cash flow is available to all

claimants of capital and therefore is a measure of the value of the operations of the enterprise.

        61.     In applying the Discounted Cash Flow methodology, I used management's

forecast that were developed in the normal course of business and were provided to financial

institutions outside of the firm.

                                              TABLE7
                   EXPANDED FORECAST WITH OPERATING TAX RATE11 =         20.67%

                                             2013      2014      2015     2016      2017      2018
Revenue ($ MMP                               12.70     15.50  22.00       35.00     42.40     52.20
EBITDA ($ MM\ 12                             1.20       1.50  3.40        9.2.0     12.20     16.50
Depreciation ($ MMi3                         0.91       1.04  2.77        2.94      3.39       4.44
Pre-tax Ooerating Profit ($ MM)              0.29      0.46   0.63        6.26       8.81     12.06
Taxes !@ 20.67% ($MM)                        0.06      0.09   0.13         1.29      1.82      2.49
NOPAT($MM)                                   0.23      0.36   0.50        4.97       6.99      9.57
Beginning Capital ($ MMI                     5.71      5.65 . 6.69        13.77     17.04     20.09
Beginning WC ($ MM\14                        2.50      2.64   3.23        4.58      7.29     . 8.83
Change in WC($ MM/5                          0.15      0.58    1.35       2.71       1.54      2.04
Ending WC($ MM)'5                            2.64      3.23   4.58        7.29       8.83     10.87
Beg PPB ($ MM)'4                             3.21      3.00   3.46        9.19      9.75      11.26
Capital investment ($ MM116                  0.70      1.50   8.50        3.50      4.90       7.90
Deoreciation ($ MM)                          0.91      1.04   2.77        2.94      3.39       4.44
Ending PPB ($ MM)                            3.00      3.46   9.19        9.75      11.26     14.73
                                                                                                    22


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 ~EndingCapital($MM)                                  5.65        6.69    I   13.77   I   17.04   I 20.09 I   25.60      I
  Note:
  11 Effective tax rate for profitable companies, entertainment services industry January I, 2013, "Damodaran Online,"
  NYU Stern School a/Business, available at http://pages.stem.nyu.edu/-adamodar/. ·
  12 KSE/OC:052707.
  13 Estimated using straight line depreciation using the implied historical average life of 4.32 years.
  14 January 31,2013 Outdoor Holdings and subsidiaries Consolidated Financial Sheets Bates: KSE/OC:052479.
  15 Working capital based on the ratio of sales to working capital KSE/OC:0524 79.




                                                                                                                   23

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                                                TABLES
                          EXPANDED FORECAST WITII OPERATING TAXRATE11 =40.00%

                                                     2013        2014        2015        2016       2017    2018
Revenue ($      MM'\ 12                              12.70       15.50       22.00       35.00      42.40   52.20
EBITDA ($ MM\ 12                                     1.20        1.50        3.40        9.20       12.20   16.50
Deoreciation ($ MMY3                                 0.91         1.04       2.77        2.94        3.39    4.44
Pre-tax Ooerating Profit ($ MMl                      0.29        0.46        0.63         6.26       8.81   12.06
Truces Ca!. 40%% ($ MM)                              0.12        0.18        0.25        2.50        3.52    4.83
NOPAT($MM)                                           0.18        0.27        0.38         3.76       5.28    7.24
Beginning Caoital ($ MM)                             5.71        5.65        6.69        13.77      17.04   20.09
Beginning WC ($ MM\ 14                               2.50        2.64        3.23        4.58        7.29    8.83
Charnze in WC ($ MMY5                                0.15        0.58         1.35       2.71        1.54    2.04
Ending WC($ MMY5                                     2.64        3.23        4.58        7.29        8.83   10.87
Beg PPE ($ MM)'4                                     3.21        3.00        3.46         9.19       9.75   11.26
Caoital investment ($ MM'l 16                        0.70        1.50         8.50        3.50       4.90    7.90
Depreciation ($ MM)                                  0.91        1.04        2.77        2.94        3.39    4.44
Ending PPE ($ MMl                                    3.00        3.46        9.19         9.75      11.26   14.73
Ending Caoital ($ MM)                                5.65        6.69        13.77       17.04      20.09   25.60
Notes:
 Effective tax rate for profitable companies, entertainment services industry January 1, 2013, "Damodaran Online,"
fl
NYU Stern School ofBusiness, available at http://pages.stem.nyu.edu/-adamodar/.
12   KSE/OC:052707
n Estimated using straight line depreciation using the implied historical average life of 4.32 years.
"January 31,2013 Outdoor Holdings and subsidiaries Consolidated Financial Sheets Bates: KSE/OC:052479.
15 Working capital based on the ratio of sales to working capital KSE/OC:052479.




          62.      Weighted Average Cost of Capital in Risk: The appropriate rate to use in

discounting corporate free cash flows is known as the Weighted Average Cost of Capital

("WACC"). As its name implies, the WACC combines the after tax cost of debt and equity into a

weighted average overall cost of capital. The weights are based on the proportion of the firm's

capital structure accounted for by each source of capital in the company's target capital structure.

The WACC is used to discount the corporate free cash flows, ignoring financing charges such as

interest payments. It explicitly takes into account the different financing sources employed by the

firm and their costs. This approach is based on the notion that for an investment to be acceptable

to its investors, it must generate a stream of returns sufficient to compensate the suppliers of



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        capital in proportion to the amount and cost of the capital supplied by each. This minimum return

       is the cost of capital for the business. In general, the WACC is computed as:

                                     WACC = KE(%E)        + Kv(1- t)(%D)

       Where:

                      KE    = Cost of Equity
                      Kv    = Cost of Debt
                      %D    = Target Percent Total Debt
                      %E    = Target Percent Total Equity
                      t     = Tax Rate
       Where:

                                         KE = r1   + Pe(rm - rt)+ SSp
                      Pe    =   the equity beta coefficient, measured as aemfair,_, where aem stands for

                                the covariance between returns on equity and returns on the market, and

                                air,_ is the variance ofreturns on the market portfolio

                      rm    =   required rate of return on the market portfolio, the market is typically

                                defined as the S&P 500

                      r1    =   risk-free interest rate, usually measured as the yield to maturity on a U.S .

                                . Treasury bond in order to match the maturity of the investment with the

                                maturity of the bond

                      SSp   =   "small stock" liquidity premium, and adjustment to reflect the difference

                                in returns observed between companies of different size; presumably a

                                reflection of the relatively higher transaction costs incurred by smaller

                                companies.

                                                                                                          25

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                             b.      The Cost ofEquity

           63.      I applied the Capital Asset Pricing Model (CAPM) to The Aerial camera business,

yielding an estimated cost of equity capital (KE)of 15.01 % as of March 5th 2013.

           64.      Risk-Free Rate: The risk-free rate (rr) is estimated as the yield on a long-term

U.S. Treasury security. As such, I used the yield on ten (10) year Treasury bonds as of March 5,

2013. The observed rate was 2.72%.

           65.      Beta: To estimate SKYCAM's beta, I used the equity beta for the Entertainment

Tech industry found in New York University's Damodaran database. Beta was calculated based

on the weighted comparable companies' weekly covariance with the S&P 500 index over two

and five years through 2012. 36

           66.      Market Risk Premium: The market risk premium is not susceptible to simple

estimation as it is based on unobservable expectations. Often, this risk premium is be estimated

using the historical differential between the actual return on the market portfolio and the risk-free

Treasury bond rate (Treasury bond yields) over a time period from 1928 to present. Although

such a method is commonly used to estimate the expected return on the market portfolio, I do not

employ this approach because it lacks a theoretical basis and is populated with data from capital

markets that do not resemble modem markets. An alternative approach is to estimate the implied

market risk premium by calculating the return on equity that would cause expected cash flows to

the holders of the S&P 500 index in the form of dividends and stock buybacks to equal the value.

I used the 2012 implied market risk premium estimate from Damodaran of 5.78% .37



36totalbetal2xls, "Damodaran Online," NYU Stern School ofBusiness, available at
http://pages.stern.nyu.edu/-adamodar/.
37   NYU Stern School of Business, "Darnodaran Online", available at http://pages.stern.nyu.edu/-adamodar/.



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          67.     Small Stock Premium: The final parameter for estimating cost of equity capital

   is the "small stock premium." Like the market risk premium, this parameter cannot be obtained

  through simple estimation as it is based on unobservable expectations. The small company

  premium is based on the observation that the historical returns of small companies, measured by

  total returns were consistently higher than those of large companies. This terminology persists

  even though Amihud and Mendelson demonstrated that the "small stock effect" was an illusion

  caused by the higher transaction costs incurred by small companies. 38 In order to estimate the

  effect of transaction costs on the cost of capital for Aerial Camera Business, I calculated a small

  stock or transaction cost premium by calculating the transaction costs as a percentage of

  proceeds.




  38
    Yakov Amihud and Hiam Mendelson (1989), 'The Effects of Beta, Bid Ask Spread, Residual Risk and size on
  Stock Returns," The Journal ofFinance.



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                                                                                                App. 033
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                                                 TABLE9
                                                  WACC

Risk Free Rate /1                                                                                   2.72%
Beta 12                                                                                                1.33
Expected Market Return 13                                                                           5.78%
Rf+ <Beta)*Expected Market Return                                                                  10.41%
"Small Stock Premium" Transaction Costs as a % Proceeds 14                                          4.65%
WACC (all equity)                                                                                  15.06%
Notes:
11 20-year T-bill Rate March 5, 2013 (U.S. Department of the Treasury).
12 Unleveraged Beta Entertainment Tech 2012, "Darnodaran Online,"NYU Stern School ofBusiness, available at

http://pages.stem.nyu.edu/-adamodar/.
~Historical Implied Market Risk Premiums 2013, "Damodaran Online," NYU Stern School ofBusiness, available at
http://pages.stem.nyu,edu/-adarnodar/.
14 Plaintiffs Second Amended Complaint Exhibit "H''.

                        c.       Valuation

        68.     In estimating the value of the Aerial Camera business using the income method, I

employed two variations to value the projections. First, I discounted the free cash flow at the cost

of capital. I assumed no additional value creation after that point and used the invested capital as

the terminal value. Also, I employed an economic profit model. Similarly, I assumed no

additional economic profit after the term of the forecast. I ran two scenarios, one with a standard

40% tax rate and one with the industry average effective tax rate of 20.69%. The value assuming

a 40% tax rate was $8.37 million and the value assuming the Entertainment Tech industry

average tax rate 20.69% was $11.13 million. I choose and average of values of$9.75 million for

the va)ue of the core Aerial Camera Business.




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                                      TABLE 10
                        VALUAT!ON20.69%TAXRATE(WACC= 15.1%)

                                       2013    2014    2015       2016    2017       2018
  NOPAT($MM\                            0.23    0.36    0.50       4.97   6.99       9.57
  Beginning Capital ($ MMl              5.71    5.65    6.69      13.77   17.04     20.09
  Return on Caoital ($ MM)              4%      6%      7%         36%    41%       48%
  Normal Profit($ MM)                   0.86    0.85    1.01       2.07   2.57       3.03
  Economic Profit ($ MM\               -0.63   -0.49   -0.51       2.89   4.42       6.54
  PV of Economic Profit ($MM'\         -0.54   -0.37   -0.33       1.65   2.19      2.82
  Sum PV Economic Profit ($ MM)                                5.42
  Beginning Caoital ($ MM)              5.71
  PV Economic Profit ($ MM)             5.42
  Value($ MMl                          11.13
  NOPAT($MM\                            0.23    0.36    0.50     4.97      6.99      9.57
  Ending Capital ($ MMl                 5.65    6.69   13.77     17.04    20.09     25.60
  Change in Caoital ($ MM'l            -0.06    1.04   7.08      3.27      3.05      5.51
  Free Cash Flow ($ MM)                 0.29   -0.68   -6.58      1.70     3.94      4.07
  PVFCF($MM'\                           0.25   -0.51   -4.32     0.97      1.95      1.75
  Sum PV FCF ($MM)                                           0.09
  PV Terminal Value($ MM\              11.03
  Value($                              11.13




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                                             TABLE 11
                            VALUATION 40% TAXRATE(WACC=          15.1%)

                                                2013     2014    2015       2016     2017       2018
  NOPAT($MM)                                    0.18     0.27     0.38        3.76   5.28        7.24
  Beginning Caoital ($ MM)                      5.71     5.65     6.69       13.77   17.04      20.09
  Return on Caoital ($ MM)                      3%       5%       6%         27%     31%        36%
· Normal Profit ($ MM)                          0.86     0.85     1.01       2.08    2.57        3.03
  Economic Profit ($ MM)                       -0.69    -0.58    -0.63        1.68   2.71       4.20
  PV of Economic Profit ($MM)                  -0.60    -0.44    -0.41        0.96    1.34       1.81
  Sum PV Economic Profit ($ MM)                                          2.66
  Beginning Capital ($ MM)                      5.71
  PV Economic Profit ($ MM)                    2.66
  Value($MM\                                    8.37
  NOPAT($MM)                                    0.18     0.27     0.38      3.76     5.28       7.24
  Ending Capital ($ MM)                         5.65     6.69    13.77     17.04     20.09      25.60
  Chane:e in Caoital ($ MMl                    -0.06     1.04     7.08      3.27      3.05       5.51
  Free Cash Flow ($ MM)                         0.24    -0.77    -6.71      0.49      2.24       1.73
  PVFCFC$MM)                                    0.21    -0.58    -4.40      0.28      1.11       0.75
  Sum PV FCF ($ MMI                                                    -2.64
  PV Terminal Value($ MM)                      11.01
  Value($ MMI                                  8.37

        69.     In order to determine the losses incurred by Mr. Salomon used the capitalization

 table exchanged between Mr. Salomon and PNC. The proposed structure provided Mr. Salomon

 with 8% of the initial stock and stock options with strike prices of IX, 2X and 3X times the

 initial stock price. Based on my experience, I consider these terms to be reasonable and typical of

 the types of terms given to key management in private equity transactions. In order to allocate

 the share of the value attributable to Mr. Salomon, I used an iterative Black Scholes model.




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                                                                          TABLE 12
                                                          BLACK SCHOLES CALL PRICE SCENARIO I

     Underlvin~   Price 1$\        Strike Price 1$\11        Risk Free Rate"        MaturiN         Volatilitv"         Black Scholes Call Price'~'
             852.06                     562.50                    0.0077             5.00             0.49                        466.47
             852.06                    I 125.00                   0.0077             5.00              0.49                       295.09
             852.06                    1,687.50                   0.0077             5.00             0.49                        203.61
Notes:
11   Plaintiff's Second Amended Complaint.
12   5 Year treasury March 5, 2013 (U.S. Department of the Treasury).
13   Optionvarl2.xls, "Damodaran Online," NYU Ste'rn School ofBusiness, available at http://pages.stemnyu.edu/-adamodar/.




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         70.    Applying the analysis above, we can come up with a total valuation of the Aerial

 Camera Business, including an allocation of the value of Mr. Salomon's shares of the business,

 along with an allocation of the value of other investors' shares. As shown below in Table 13, the

 valuation of Mr. Salomon's shares would be $1,023,808.88. Under Scenario I, this is the benefit

 of the bargain Mr. Salomon lost as a result of being deprived of the opportunity to participate in

 the purchase of the Aerial Camera Business. The prejudgment interest on this amount, based on

 the rate of 5 percent from the date the lawsuit was filed (February 27, 2015) is $201,588. The

 total benefit of the bargain damages under Scenario I is thus $1,225,397.

                                          TABLE 13
                                ALLOCATION OF VALUE SCENARIO I

 Value Salomon Shares ($)                                  870                    681,648.00
 Salomon Ootions IX ($)                                    639                    238,459.00
 Salomon. Ootions 2X ($)                                   284                     58.663.86
 Salomon Ootions 3X ($)                                    316                     45,038.02
 Total Salomon ($)                                                               1,023,808.88
 Founder Options IX ($)                                  1,279               .    477,291.17
 Founder Ootions 2X ($)                                  1.137                    234,862.00
 Founder Ootions 3X ($)                                  1,263                    180,009.56
 Investor's Shares ($)                                  10,000                   7,838,952.00
 Total($)                                                                        9,754,923.61

         71.    I also applied a market comparable approach using average multiples for the

 entertainment tech sector in 2012. I applied the EBITDA multiple of7.97X to the 2012 EBITDA

 of $1.4 million. This method yielded a value of $11.16 million. I include this for illustration

 only, since the Aerial Camera Business is quite unique.

                                           TABLE 14
                                        EBITDAVALUE


 ~/EBITDA12
~ EBITDA                                                                                                ~
           11
                                                                                            l.4MM
 Value                                                                                   11.16~
                                                                                                   32


                                                                                                App. 038
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        Notes:
        " KSE/OC:052706
        12 V erbitDall2.xls, "Darnodaran Online," NYU Stern School ofBusiness, available at

        http://pages.stem.nyu.edu/-adamodar/.

                        ii.         Scenario 2: Valuation of Aerial Camera Business Based on Valuation
                                    Performed by Financial Advisor of Outdoor Channel

                 72.          Another reasonable basis for measuring what the value of the Aerial Camera

        Business was near the time of the alleged breach of the term sheet and other wrongdoing by

        Defendants is what Lazard Freres, the investment bank financial advisor to Defendant Outdoor in

        connection with the sale of Outdoor, deemed the value to be. This is what I will present as

        Scenario 2 (split as Scenario 2A and Scenario 2B).

                 73.      There has been at least one other valuation around the same time period. A

        valuation done by Lazard Freres, the financial advisor for Outdoor Channel in connection with

        the sale of Outdoor Channel, for the transaction was performed as part of the valuation of

        Outdoor based on a different business plan and set of projections. The value was estimated to be

        between $7 million and $9 million. 39 More specifically, in connection with one of Intermedia' s

        offers to purchase Outdoor and as part of the valuation of Outdoor with regards to that offer,

        Lazard Freres offered a valuation of the Aerial Camera Business that was based on a different

        business plan and set of projections. The value was estimated to be between $7 million and $9

        million, and was apparently derived from a discounted cash flow analysis. The lower and upper

        range of these valuations are utilized for Scenario 2A and Scenario 2B damages, respectively.
                                                                                       '
        According to the filing, "[i]n performing its discounted cash flow analysis of aerial camera,

        Lazard calculated the estimated present value of the standalone unlevered, after-tax free cash

        flows that aerial camera was forecasted to generated during the fourth quarter of the fiscal year


        39 KSE/OC:   028443-028445.



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 ending December 31, 2012 through the full fiscal year December 31, 2017 utilizing financial

. forecasts and other estimates and data of aerial camera prepared by Outdoor Channel's

 management. " 40 Because this assessment was reported in an SEC filing (i.e. a Proxy Statement),

 both Outdoor and Lazard had an incentive to ensure correct reporting and that a reliable analysis

 was performed. Further, the valuation was based on figures provided by Defendant Outdoor's

 own management. I thus have no reason to believe that Lazard's analysis was inaccurate, or

 based on a deficient methodology or set of assumptions. In fact, the upper range of Lazard' s

 assessment is not significantly different from the valuation I came up with in Scenario 1.

          74.     As with Scenario 1, in order to allocate the share of the value attributable to Mr.

 Salomon for Scenarios 2A and 2B, I used an iterative Black Scholes model, as reflected in

Tables 15 and 16.

                                              TABLE 15
                                 BLACK SCHOLES CALL PRICE SCENARIO 2A

     Underlying         Strike Price        Risk Free        Matnri      Volatilit    Black Scholes Call
      Price($)                ($y1           Rate'2             ty          yl3           Price($)
       627.54              562.50            0.0077            5.00        0.49            287.83
       627.54             1,125.00           0.0077            5.00        0.49             165.56.
       627.54             1,687.50           0.0077            5.00        0.49             107.00
Notes:
11 Plaintiffs Second Amended Complaint
12 5 Year treasury March 5, 2013 (U.S. Department of the Treasury)
13 Optionvarl2.xls, "Darnodaran Online," NYU Stern School of Business, available at
http://pages.stem.nyu.edu/-adamodar/.




40   KSE/OC: 028443-028445.



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                                               TABLE I6
                                  BLACK SCHOLES CALL PRICE SCENARIO 2B

       Underlying        Strike Price        Risk Free        Maturi     Volatilit    Black Scholes Call
        Price($)              ($)'1           Rate'2             tv        yf3            Price($)
         791.I6              562.50           0.0077           5.00       0.49              4I6.33
         791.I6             I,125.00          0.0077           5.00       0.49             257.60
         791.I6             I,687.50          0.0077           5.00       0.49              I75.03
  Notes:
  11
     Plaintiff's Second Amended Complaint
  12 5 Year treasury March 5, 2013 (U.S. Department of the Treasury)
  13 Optionvar!2.xls, "Damodaran Online," NYU Stern School ofBusiness, available at

  http://pages.stern.nyu.edu/-adamodar/.

          75.       Continuing with the analysis utilizing the Lazard analysis, I came up with an

  allocation of the value of Mr. Salomon's shares of the business, along with an allocation of the

  value of other investors' shares. As shown below in Tables I 7 and I8 the valuation of Mr.

  Salomon's shares under Scenarios 2A and 2B would be $705,753.12 and $935,683.02,

  respectively. Therefore, under Scenario 2, this is the benefit of the bargain Mr. Salomon lost as a

  result of being deprived of the opportunity to participate in the purchase of the Aerial Camera

  Business. The prejudgment interest on these amounts, based on the rate of 5 percent from the

  date the lawsuit was filed (February 27, 20I5) is $138,963 and $I84,236. The total benefit of the

  bargain damages under Scenario 2A and 2B is thus $844,7I6 and $I,119,9I8.

                                               ' TABLE I7
                                      ALLOCATION OF VALUE SCENARIO 2A

  Value Salomon Shares ($)                                        870                   502,032.32
  Salomon Options IX ($)                                          639                   I47,138.76
  Salomon Ootions 2X ($)                                          284                   32,9I2.54
  Salomon Ootions 3X ($)                                          3I6                   23,669.50
  Total Salomon ($)                                                                     705,753.12
  Founder Options IX($)                                          1.279                  294,507.79
  Founder Ontions 2X ($)                                         1,137                  131,766.03
  Founder Ootions 3X ($)                                         1,263                   94,603.11
  Investor's Shares ($)                                         10.000                 5, 773,371.68
  Total($)                                                                             7 ,000,001. 73


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                                                                                                  App. 041
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                                              TABLE 18
                                   ALLOCATION OF VALUE SCENARIO 2B

Value Salomon Shares ($)                                     870                  632,928.00
Salomon Options lX ($)                                       639                  212,828.29
Salomon Options 2X ($)                                       284                   51,210.96
Salomon Options 3X ($)                                       316                   38,715.77
Total Salomon ($)                                                                 935,683.02
Founder Ootions lX ($)                                      1,279                 425,989.65
Founder Options 2X ($)                                      1,137                 205,024.16
Founder Options 3X ($)                                      1,263                 154,740.57
Investor's Shares ($)                                      10,000                7,278,672.00
                                                     .

Total($)                                                                         9,000,109.40

             iii.          Scenario 3: Valuation Based on Actual Price of Proposed Acquisition of
                           Aerial Camera Business

       76.          A third basis for measuring the value of the Aerial Camera Business at the time of

the alleged breach and other wrongdoing is the most conservative one-namely, to assume that

the value of the business is simply the price that was offered to purchase the'business. This will

be Scenario 3. This measure does not take into account the variables discussed above in

connection with Scenarios 1 and 2 and, therefore, does not account for a participant in a

transaction obtaining a discount on an asset that deviates from its actual intrinsic market value as

possibly could have occurred here had Mr. Salomon and PNC been able to complete the

transaction. However, the actual transaction price is defensible as a measure of valuation under

the fundamental economic principle that an asset's value is based on the intersection of what a

willing buyer is willing to pay for an asset and what a willing seller is willing to sell that asset

for.

       77.          Here, we have the actual proposed transaction price for the purchase of the Aerial

Camera Business by Mr. Salomon and PNC. According to the term sheet, the price for the Aerial




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   Camera Business was $4.05 million. $4.05 million would thus be the value of the Aerial Camera

   Business under Scenario 3.

          78.    Assuming this to be the case, in order to allocate the share of the value

   attributable to Mr. Salomon for Scenario 3, I used an iterative Black Scholes model.




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                                                                                          App. 043
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       79.    As with Scenarios I and 2, I came up with an allocation of the value of Mr. Salomon's shares of the business, along

with an allocation of the value of other investors' shares. As shown below in Table 19, the valuation of Mr. Salomon's shares under

Scenario 3 would be $397,277. Therefore, under Scenario 3, this is the benefit of the bargain Mr. Salomon lost as a result of being

deprived of the opportunity to participate in the purchase of the Aerial Camera Business. The prejudgment interest on this amount,

based on the rate of 5 percent from the date the lawsuit was filed (February 27, 2015) is $78,224. The total benefit of the bargain

damages under Scenario 3 is thus $475,501.

                                                            TABLE 19
                                                ALLOCATION OF VALUE SCENARIO 3

Value Salomon Shares 1$)                                                    870                             295 320
Salomon Ootions IX 1$)                                                      639                              75 384
Salomon Options 2X ($)                                                      284                              15.752
Salomon Ontions 3X 1$)                                                      316                              10.821
Total Salomon 1$l                                                                                          $397,277
Founder Options IX($)                                                      1.279                            150 885
Founder Ontions 2X 1$)                                                     1137                              63.062
Founder Options 3X 1$)                                                     1,263 .                           43.251
Investor's Shares ($)                                                      10.000                          3.396.180
Total($)                                                                                                   4,050.654




                                                                                                                                38




                                                                                                                       App. 044
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          80.    My opinion that the $475,501 be construed as a floor on the value of the Aerial

  Camera Business is also supported by the fact that Mr. Stan Kroenke, the chairman and ultimate

  owner of KSE and Outdoor Channel, elected not to sell the Aerial Camera Business even though

  he was apparently being advised that it was a weak business and should be sold. My opinion

  concerning the value of the Aerial Camera Business would benefit from additional information

  on this point from Mr. Kroenke concerning the reasons why he elected not to sell the business. I

  understand there is presently an attempt to depose Mr. Kroenke and that Defendants have filed a

  motion to prevent the deposition. If the deposition occurs, I will supplement my opinion if

  necessary to incorporate Mr. Kroenke's testimony.

          G.     Disgorgement of Outdoor Channel Profits

          81.    Outdoor had agreed to sell its stock to InterMedia for $8 per share. This

  transaction was approved by the board, recommended by its financial advisor and a vote to

  approve the transaction by stockholders was scheduled. The Intermedia transaction would have

  respected the sale of the Aerial Camera Business. The contract is alleged to have been breached

  when Outdoor considered and accepted a competing offer by KSE that included an offer to buy

  the Aerial Camera Business despite the agreement by Outdoor in the term sheet not to consider

  such offers. Outdoor received considerable benefit by entertaining and accepting the competitive

  bidding that resulted from the KSE offers, the transaction price of the Outdoor stock increased

  from $8.00 per share to $10.25 per share. Outdoors gain from its actions was $2.25 per share, a

  benefit of $58.14 million (25.84 million shares times $2.25 gain per share). This analysis is

  reflected in Table 20.




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                                           TABLE20
                                 GAIN FROM COMPETITIVE BIDS

                                                   Price($)          Shares          Total($)
Price Prior to Competitive Bid                      8.00             25.84            206.71
Competitive Bid Price                               10.25            25.84            264.85
Gain from Competitive Bid                                                              58.14

       H.     Punitive Damages

       82.    In the event the jury determines that punitive damages are appropriate, I anticipate

supplementing this opinion with additional opinions regarding Defendants' ability to pay and

Defendants' financial conditions, assets, liabilities, available credit and indebtedness. I also

anticipate offering an opinion concerning whether Outdoor Channel and KSE's respective

financial condition enables each of them to pay and withstand a substantial punitive damage

award. Because they are private companies, I will need to rely on discovery from Defendants. I

understand that Plaintiff has requested documents relevant to this analysis from Defendants, but

that Defendants objected to Plaintiff's request as overbroad and premature. I imagine that

Defendants will be required to tum over these materials in the event the jury determines that

punitive damages are appropriate. I would thus anticipate at that time supplementing this opinion

with additional opinions regarding Defendants' ability to pay and Defendants' financial

conditions, assets, liabilities, available credit, and indebtedness. However, my preliminary

opinion is that Defendants KSE would, in fact, be able to pay and withstand a substantial

punitive damage award in excess of $100 million. I base this on the following description of

KSE from its own website: "Denver-based Kroenke Sports & Entertainment (KSE) is one of the

world's leading ownership, entertainment and management groups. As owners and operators of

Pepsi Center, the Paramount Theatre, Dick's Sporting Goods Park, the Colorado Avalanche

(NHL), Denver Nuggets (NBA), Colorado Mammoth (NLL) and Colorado Rapids (MLS), KSE's


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   sports and entertainment assets are second to none. Additional properties under KSE's umbrella

   include Altitude Sports & Entertainment, a 24-hour regional television network; Altitude

   Authentics, the company's official retail provider; and Altitude Tickets, the official ticketing

   provider for KSE teams and venues." 41 Forbes places a value on the Denver Nuggets alone at

   $1.125 Billion based onrevenu.es of$202 Million and operating income of$49 Million. 42

              83.      I also may have rebuttal opinions of experts retained by defendants and I reserve

  the right to supplement this expert report and/or the opinions stated herein. In addition, my

   calculations are capable of being adjusted in the event one or more of the variables included in

  the analyses set forth above have to be changed for any reason.




  41
       Pepsi Center, "About KSE," available at https://www.pepsicenter.com/kse/company/about-kse/.
  42
       Forbes, "The Business Of Basketball," available at https://www.forbes.com/nba-valuations/list/#tab:overall.



                                                                                                                     41

                                                                                                            App. 047
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September 14, 2018




Kevin Kreitzman




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  APPENDIX I: RESUME

                                       KEVIN KREITZMAN

  Kevin Kreitzman has been a director at Berkeley research Group from 2010 through the present
  time. He has over 25 years of financial-economic consulting experience in both litigation and
  non-litigation environments. He has testified in both federal and state court and before the
  Department of Justice. He has conducted damages studies for litigation matters, including
  insurance sales practices, "vanishing premiums," fraud, mergers and acquisitions, lO(b) 5 class
  actions, mutual funds, distributor termination, environmental, insurance coverage, solvency,
  fraudulent conveyance, breach of contract, patent infringement, trade secrets, professional
  malpractice, sales practices, breach of fiduciary responsibility, tax liabilities, Employee Stock
  Ownership Plans (ESOPs), antitrust, and intellectual property. Mr. Kreitzman has managemen{
  experience in investment banking, investment management and insurance. He has conducted
  valuations of businesses, intellectual property, securities, and options, and has structrired
  transactions using financial engineering tools.

  EMPLOYMENT ffiSTORY

  ERSGroup

  •Principal (March 2005 to 2009)

  Provided expert witness testimony in both state and federal courts, arbitration proceedings and
  before the Department of Justice. Provided analyses related to securities fraud, antitrust issues,
  intellectual property disputes, professional malpractice, derivative securities and investment
  funds. Testified in Bankruptcy Court regarding solvency and fraudulent conveyance and
  estimated the value of asbestos liabilities that would have been known at different points in time.

  KPMGLLP

  •Director KPMG Forensics/Economic and Valuation Services (January 2000-March 2005)

 Provided expert witness testimony in deposition and trial, led forensic investigations of alleged
 accounting and other fraud, evaluated investment fund performance and compliance, performed
 royalty audits, and provided and examined contract compliance for insurance companies and
 other financial institutions. Served on the business valuation technical committee which
 developed internal valuation guidelines and set policies and standards for methodologies used or
 accepted by KPMG LLP.

 LECG
 •Senior Economist (November 1997 - January 2000)




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                                                                                           App. 049
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Provided litigation support and consulting services to law firms and companies engaged in a
variety of complex litigation, including insurance sales practices and damages issues. Developed
an economic profit- based financial performance measurement model for a large nonprofit
organization

San Francisco Telecom Inc.

•CFO (January 1995-March 1997)

Served as CFO of San Francisco Telecom until its acquisition by Level One Communications.
He also implemented an ISO 9000 quality control program and obtained ISO 9000 certification
and designed and tested an integrated financial and cost accounting system for SFT and Level
One Communications using Oracle applications software.

Focal Financial Consulting Inc.

•Vice President (1989 November 1997)

Provided litigation support services to attorneys, business valuations to companies and ESOP
trustees, and consulting services to fiduciaries and trustees.

Kreitzman & Co., Inc

•President (1986 - 1989)

Developed proprietary models for credit enhancement using financial engineering tools.
Obtained venture financing and entered into joint venture agreements with various established
financial consulting firms to market structures and sell securities through the major investment
banks. Worked with life insurance companies to design life insurance policies.

Kelso & Company

•Vice President, Kelso Insurance Services (1995 - 1996)

Evaluated the feasibility of proposed ESOP LBO transactions, developed actuarial models to
estimate potential recoveries from defined benefit pension plan termination, and designed cash
flow based programs to create internal secondary markets for ESOP stock in privately held
corporations. Provided communication programs for ESOP-LBO related transactions to
management and employees of client companies.

Callan Associates, Inc.

•Investment Portfolio Analyst (1985)




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                                                                                         App. 050
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  Developed an asset allocation paradigm for security and manager selection. Evaluated fund
  manager performance, modeled transaction costs to include soft dollar payments and trading
  efficiency, and estimated the cost of divesting South African investments for a large public
  pension fund.

  MGIC Investment Corporation

  •Assistant Portfolio Manager (1983 -1984)

  Analyzed and selected hedged common stock and call option positions, designed models for
  financial market research, and provided financial analysis for the management buyout of MGIC.

  EDUCATION

  MBA, University of Wisconsin - Milwaukee, 1982

  B.S. Medical Technology, University of Wisconsin-Milwaukee, 1978

  SPECIALIZATION

  Analysis of damages arising in securities, commercial and intellectual property disputes; class
  certification issues; valuation of companies, interests, credit guarantees, contract provisions,
  liquidity, marketability, control, limited partnerships, financial institutions, commercial
  properties, derivative and convertible securities; analysis of investment fund performance and
  compliance with stated objectives, rules and contractual agreements; analysis of accounting,
  financial economic and capital market data; analysis of solvency, investigation of accounting
  fraud and Employee Stock Ownership Plans (ESOPs).

  Industry Experience includes investment banking, hotels, computer hardware and software,
  biotechnology, semiconductors, telecommunications, financial institutions, insurance, pension
  funds, medical products, real estate and energy.

  PRESENTATIONS AND PROFESSIONAL MEETINGS

  "Evaluating and Valuing Intellectual Property," Practicing Law Institute, 2003.

  "Deposition.Training Seminar'' San Francisco Bar Association, 2003, 2005.

  "Expert Examination Seminar" San Francisco Bar Association, 2004

  "Damages Estimates in Securities Litigation," Portland Bar Association 2002.

  PREVIOUS ACADEMIC APPOINTMENTS




                                                                                               45

                                                                                        App. 051
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University of California Berkeley "Business Valuation" and "Corporate Finance." Seminar:
"Estimating Damages in Litigation."
San Francisco State University
•Lecturer- "Corporate Finance"
University of San Francisco
• Lecturer - "Investment Management & Securities Analysis"
St. Mary's College, Moraga CA
• Lecturer - "Corporate Finance" and "Financial Accounting"
Armstrong University
• Associate Professor - "Corporate Finance," "Capital Markets" and "Insurance & Risk
Management"
Golden Gate University
• Lecturer - "Corporate Finance"
University of Wisconsin - Milwankee
• Adjunct Professor - "Business Statistics" and "Mathematical Modeling"




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                                                                                  App. 052
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  APPENDIX II: DOCUMENTS RELIED UPON

  Academic Articles & Books (non-exhaustive)
  Yakov Amihud and Hiam Mendelson (1989), 'The Effects of Beta, Bid Ask Spread, Residual
  Risk and size on Stock Returns," The Journal ofFinance
  Bates Numbered Documents and Other Confidential Documents
  Copy of optvarl2.xls
  Copy of taxrate 12.xls
  Copy oftotalbeta12.xls
  Copy ofvebitda12.xls
  histimpl.xls
  indname.xls ·
  KSE/OC:000413
  KSE/OC:000414
  KSE/OC:000415
  KSE/OC:000416
  KSE/OC:028348
  KSE/OC:028349
  KSE/OC:028350
  KSE/OC:028351
  KSE/OC:028352
  KSE/OC:028353
  KSE/OC:028354
  KSE/OC:028355
  KSE/OC:028356
  KSE/OC:028436
  KSE/OC:028437
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  KSE/OC:028439
  KSE/OC:028440
  KSE/OC:028441

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KSE/OC:028442
KSE/OC:028443
KSE/OC:028444
KSE/OC:028445
KSE/OC:029024-412
KSE/OC:029657
KSE/OC:029658
KSE/OC:030645
KSE/OC:030646
KSE/OC:038563
KSE/OC:038564
KSE/OC:03 8565
KSE/OC:043867-875
KSE/OC:044055
KSE/OC:044194
KSE/OC:044362
KSE/OC:044945
KSE/OC:045487
KSE/OC:046!71
KSE/OC:046295
KSE/OC:046409
KSE/OC:046525
KSE/OC:046617
KSE/OC:046858
KSE/OC:047050
KSE/OC:047247
KSE/OC:047545
KSE/OC:047705
KSE/OC:04 7849
KSE/OC:048000
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               KSE/OC:048139
               KSE/OC:048266
               KSE/OC:048439
               KSE/OC:048613
               KSE/OC:048799
               KSE/OC:048956
               KSE/OC:049129
               KSE/OC:049353
               KSE/OC:049551
               KSE/OC:049679
               KSE/OC:049781
               KSE/OC:049982
               KSE/OC:050157
               KSE/OC:050348
               KSE/OC:050536
               KSE/OC:050793
               KSE/OC:050999
               KSE/OC:051183
               KSE/OC:051428
               KSE/OC:051826
               KSE/OC:052105
               KSE/OC:052404
               KSE/OC:0524 72-480
               KSE/OC:052706
               KSE/OC:052707
               KSE/OC:053255
               KSE/OC:053347
               KSE/OC:053443
               KSE/OC:053444
               KSE/OC:053647
                                                                                        49


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KSE/OC:053799
KSE/OC:053918
KSE/OC:054069
KSE/OC:054195
KSE/OC:054338
KSE/OC:054518
KSE/OC:054654
KSE/OC:054802
KSE/OC:055039
KSE/OC:055250
KSE/OC:055455
KSE/OC:055708
KSE/OC:056589
KSE/OC:056591
KSE/OC:056683
KSE/OC:056691
KSE/OC:056707
KSE/OC:056712
KSE/OC:057075
KSE/OC:057116
KSE/OC:057772
KSE/OC:058029
KSE/OC:058772
KSE/OC:059123
KSE/OC:059954
KSE/OC:060373
SALOMON500000-500046
Depositions and Exhibits
30(b)(6) Deposition Exhibit 361
30(b)(6) Deposition Exhibit 362

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                                                                     App. 056
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                30(b)(6) Deposition Exhibit 363
                30(b)(6) Deposition Exhibit 364
                30(b)(6) Deposition Exhibit 365
                30(b)(6) Deposition Exhibit 366
            Amended Deposition Notice ofKSE
            Deposition Notice of Defendant Outdoor Channel Holdings, Inc.
            Exhibit 300
            Exhibit 301
            Exhibit 302
            Exhibit 303
            Exhibit 304
            Exhibit 305
            Exhibit 306
            Exhibit307
            Exhibit 308
            Exhibit 309
            Exhibit 310
            Exhibit 311
            Exhibit 312
            Exhibit 313
            Exhibit 314
            Exhibit 315
            Exhibit 316
            Exhibit 317
            Exhibit 318
            Exhibit319
            Exhibit 320
            Exhibit 321
            Exhibit 322
            Exhibit 323
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Exhibit 324
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Exhibit 352
Exhibit 353

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  Exhibit 354
  Exhibit 355
  Exhibit 356
  Exhibit 357
  Exhibit 358
  Exhibit359
  Exhibit 360
  Pleadings, Submissions, Complaints, and Orders
  Nie Salomon v. Kroenke Sports & Entertainment, LLC, Outdoor Channel Holdings, Inc., and
  Pacific Northern Capital LLC, Plaintiff's Second Amended Complaint (August 31, 2017)
  Outdoor's Response to Plaintiffs RFA No.I
  Plaintiff's Third Supplemental Answers and Objections to First set of Interrogatories of
  Defendants Kroenke Sports & Entertainment, LLC and Outdoor Channel Holdings, Inc.
  Transcript ofS. Long, KSELLC (September 5, 2018)
  Other
  Forbes, "The Business          Of   Basketball,"   available   at   https://www.forbes.com/nba-
  valuations/list/#tab:overall
  InterMedia Outdoor Holdings, Inc. S-4 (FYE November 21, 2012), available at
  https://www.sec.gov/Archives/edgar/data/1562300/0001193125124 7881 O/d440728ds4.htm
  NYU       Stem     School     of   Business,       "Damodaran       Online",    available    at
  http://pages.stem.nyu.edu/-adamodar/
  Outdoor Channel Holdings, Inc. 10-K (FYE March, 9, 2012), available                          at
  https://www .sec.gov/Archives/edgar/data/760326/00011931251210727 l/d294572dl Ok.htm
  Outdoor Channel Holdings, Inc. 10-Q (FYE November 9, 2012), available                        at
  https://www.sec.gov/Archives/edgar/data/760326/000119312512463463/d398759dl Oq.htm
  Outdoor Channel Holdings, Inc. 425 (FYE February 27, 2013), available                        at
  https://www .sec.gov/Archives/edgar/data/7 60326/000 l l 93 l 2513078245/d493273d425 .htm
  Outdoor Channel Holdings, Inc. 425 (FYE March 4, 2013), available                            at
  https://www.sec.gov/Archives/edgar/data/760326/000l19312513089246/d495755d8k.htm
  Outdoor Channel Holdings, Inc. 425 (FYE March 7, 2013), available                            at
  https://www .sec.gov/Archives/edgar/data/760326/000119312513 095 853/d498630d425 .htm
  Outdoor Channel Holdings, Inc. 8-K (FYE May 17, 2013), available                             at
  https://www .sec.gov/Archives/edgar/data/760326/000119312513226195/d540683d8k.htm


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                                                                                        App. 059
Case 3:15-cv-00666-M Document 248 Filed 11/13/18               Page 64 of 174 PageID 6075



Outdoor Channel Holdings, Inc. 8-K (FYE March 13, 2013), available                           at   '
https://www.sec.gov/Archives/edgar/data/760326/000119312513105366/d501922d8k.htm
Outdoor Channel Holdings, Inc. 8-K (FYE May 9, 2013), available                              at
https://www.sec.gov/Archives/edgar/data/760326/000119312513210485/d536065d8k.htm
Outdoor Channel Holdings, Inc. 8-K (FYE November 16, 2012), available                        at
https://www.sec.gov/Archives/edgar/data/760326/0001193125124 74248/d440083d8k.htm
Outdoor Channel Holdings, Inc. 8-K EX 99.2 (FYE March 4, 2013), available at
https://www.sec.gov/Archives/edgar/data/760326/000119312513089245/d495755dex992.htm
Outdoor Channel Holdings, Inc. DEFA14A (FYE May 2, 2013), available at
https://www.sec.gov/Archives/edgar/data/760326/000119312513196482/d53 l 626ddefal 4a.htm
Outdoor Channel Holdings, Inc. DEFA14A (FYE May 6, 2013), available at
https://www.sec.gov/Archives/edgar/data/760326/000119312513201776/d5331 l 8ddefal 4a.htm
Outdoor Channel Holdings, Inc. DEFM14A (FYE April 11, 2013), available at
https://www .sec.gov/Archives/edgar/data/760326/000119312513150322/d505077ddefm 14a.htm
Outdoor Channel Holdings, Inc. SC 13D/A EX-99.l Form of Support Agreement (FYE .
November                  27,                2012),               available            at
https://www .sec.gov/Archives/edgar/data/760326/000 l 19312512482263/d445324dex991.htm
Pepsi Center, "About KSE," available at https://www.pepsicenter.com/kse/company/about-kse/




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                                                                                      App. 060
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   APPENDIX III: PUBLICATIONS

   UC Davis Business Law Journal (Spring 2010), Volume 10
   Michael A. Williams, Kevin Kreitzman, Melanie Stallings Williams, & William M. Havens,
   Estimating Monopoly Power with Economic Profits, pp.125 - 150
   BRG Review (Winter 2011 ), Volume 1 Issue 1
  Kevin Kreitzman, THE VALUE OF CONTROL: CONTROL PREMIUMS, MINORITY INTEREST DISCOUNTS,
  AND THEFAIRMARKETVALUESTANDARD, PP.10-24




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                                                                                App. 061
Case 3:15-cv-00666-M Document 248 Filed 11/13/18   Page 66 of 174 PageID 6077


                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION
NIC SALOMON,                                 §
                                             §
       Plaintiff,                            §
                                             §
v.                                           §    CIVIL ACTION NO.
                                             §    3:15-CV-666-M
KROENKE SPORTS & ENTERTAINMENT,              §
LLC, OUTDOOR CHANNEL HOLDINGS,               §
INC., and PACIFIC NORTHERN CAPITAL LLC,      §
                                             §
       Defendants.                           §



                                EXHIBIT B

            AFFIDAVIT OF KEVIN D. EVANS IN SUPPORT OF
       KROENKE SPORTS & ENTERTAINMENT, LLC AND OUTDOOR
  CHANNEL HOLDINGS, INC.’S MOTION PURSUANT TO FED. R. EVID. 702 TO
 EXCLUDE TESTIMONY OF KEVIN KREITZMAN AND REQUEST FOR HEARING




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                                 CONFIDENTIAL

                                                                       Page 1

 1                     IN THE UNITED STATES DISTRICT COURT
 2                      FOR THE NORTHERN DISTRICT OF TEXAS
 3                               DALLAS DIVISION
 4
        _____________________________
 5                                   )
        NIC SALOMON,                 )
 6                                   )
                  Plaintiff,         )
 7                                   )
                  vs.                )CIVIL ACTION NO.:
 8                                   )3:15-CV-00666-M
        KROENKE SPORTS &             )
 9      ENTERTAINMENT, LLC, OUTDOOR )
        CHANNEL HOLDINGS, INC., and )
10      PACIFIC NORTHERN CAPITAL,    )
        LLC,                         )
11                                   )
                  Defendants.        )
12      _____________________________)
13
14
15
16                  VIDEOTAPED DEPOSITION OF KEVIN KREITZMAN
17                          San Francisco, California
18                         Wednesday, October 24, 2018
19                                   Volume 1
20
21
        Job No. CS3059264
22
23      Reported by:
        RACHEL FERRIER, CSR No. 6948
24      Job No. 3059264
25      PAGES 1 - 246

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     800-567-8658                                                        973-410-4098
                                                                          App. 063
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                                 CONFIDENTIAL

                                                                       Page 65

 1      BY MR. EVANS:
 2          Q       Is it fair to say, Mr. Kreitzman, that the only
 3      deposition you reviewed prior to issuing your report was
 4      the deposition of Scott Long?
 5          A       Yes.
 6          Q       Okay.    Did you speak or interview with Mr. -- did
 7      you speak with Mr. Salomon prior to issuing your report?
 8          A       Yes, I did.
 9          Q       How many times?
10          A       Twice.
11          Q       Was Mr. Ibrahim present during that conversation?
12          A       I believe he was on the line, yes.
13          Q       Can I get you to look at Exhibit 165 again?                And
14      I'd ask you to turn to Exhibit 2 to your report, which I
15      think -- or Appendix 2.           I'm sorry.          They're -- they're
16      called appendix -- appendices, and I think it starts on
17      page 47?
18          A       Mm-hmm.
19          Q       And so what I would like you to do is look at
20      page 47, 48, 49, 50, 51, and 52, and my question for you
21      is:     Does that list of documents -- is that a
22      comprehensive list of the documents that you reviewed
23      for purposes of forming your opinions in this case?
24                  MR. IBRAHIM:    And 53, by the way.
25                  MR. EVANS:    Well, I was talking -- okay.             You're

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     800-567-8658                                                          973-410-4098
                                                                            App. 064
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                                                                       Page 71

 1      discussion of PNC providing -- or perhaps it was
 2      somewhere else, but.
 3          Q       Aside from the term sheet and based upon the
 4      documents and the other information that you have looked
 5      at for purposes of forming your opinions in this case,
 6      have you seen any reference in any document that PNC was
 7      going to fund the entire acquisition price for the
 8      aerial camera business?
 9          A       No.
10          Q       Since -- I take it you have not read
11      Mr. Holowaty's deposition either; is that correct?
12          A       No.
13          Q       So you don't know what Mr. Holowaty testified to
14      under oath regarding that point, whether PNC was going
15      to fund the entire acquisition price, do you?
16          A       No, I don't.
17          Q       Does it concern you that you don't know what
18      Mr. Holowaty testified to under oath about PNC and its
19      funding of the acquisition price?                 Does that concern you
20      at all?
21                  MR. IBRAHIM:    Form objection --
22                  THE WITNESS:    No.
23                  MR. IBRAHIM:    -- argumentative.
24      BY MR. EVANS:
25          Q       It doesn't concern you?

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                                                                            App. 065
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                                 CONFIDENTIAL

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 1                  THE WITNESS:    No, I haven't --
 2                  MR. EVANS:   Okay.
 3                  THE WITNESS:    -- looked at specifics.
 4      BY MR. EVANS:
 5          Q       Okay.   I want to talk about the specific opinions
 6      that you have offered in what we have now marked as
 7      Exhibit 165, which is the corrected pagination version?
 8          A       Mm-hmm.
 9          Q       -- of your report.
10                  And one of the things, if I -- if I understand
11      your report correctly, that you looked at was what you
12      call "loss compensation to Mr. Salomon"; is that
13      correct?
14          A       Yes.
15          Q       Okay.   What information did you rely upon in
16      forming your opinions on that issue of lost
17      compensation?
18          A       Well, what I did, I looked in the
19      interrogatories, and there was a section on loss
20      compensation based on historical payments.                   And when I
21      looked at this, it was, well, there -- if this
22      transaction had happened and there was bus- -- business
23      that Mr. Salomon was a part of, he would have a salary.
24      And I reasoned that the best estimate of that would have
25      been what he was earning before in a similar position.

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 1          Q       So is it fair to say you made an assumption that
 2      Mr. Salomon would be compensated at the same level after
 3      an acquisition of the aerial camera business as he had
 4      been compensated before acquisition of the aerial camera
 5      business?
 6          A       Yes.   And that was, I thought, a reasonable
 7      expectation because that was the best -- the best
 8      comparison I would have about what he would have earned
 9      is what he did earn.
10          Q       And -- and was your assumption based upon
11      anything other than Mr. Salomon's answers to my client's
12      interrogatories, or did you also consider something
13      else?
14          A       Well, I just considered what would be the best
15      estimate of what it would be, and that was -- those are
16      the only numbers I -- I had seen provided, and I
17      believed it was a very reasonable assumption that he
18      would be paid at a similar rate.
19          Q       Did -- do you know whether Mr. Salomon and PNC
20      agreed on what Mr. Salomon's position would be with the
21      aerial camera business had there been an acquisition?
22          A       Well, everything I've seen was that Mr. Salomon
23      would have been the president of the company.                  Again, I
24      don't recall seeing any final agreements because I don't
25      think that happened.

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 1          Q       You said everything that you looked at led you to
 2      believe that Mr. Salomon would be the president of the
 3      business.
 4                  What did you see that led you to believe that
 5      any -- post any acquisition, Mr. Salomon would have
 6      been -- or remained president of the company?
 7          A       Well, there were a few things that talk- --
 8      discussed the company going forward.                  First of all, that
 9      he was the president previously continuing.                   There
10      was -- in the agreement, he was also part of the
11      agreement.         He signed it along with PNC.           I think if he
12      had been unimportant, he would not have been part of
13      that.
14          Q       And your recollection is that Mr. Salomon and PNC
15      signed that term sheet on behalf of some unnamed
16      purchaser; right?
17          A       Yes.    Company that had not yet been formed.
18          Q       Right.
19                  And that was never formed, to your knowledge;
20      right?
21          A       Right.
22          Q       Okay.    Do you know whether PNC and Mr. Salomon
23      had an agreement on what his compensation would be in
24      the event there had been an acquisition?
25          A       I'm not aware of any such -- such agreement.                I

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 1      would have used it if I found it.
 2          Q       Did your -- did the opinion that you have offered
 3      in terms of loss compensation to Mr. Salomon -- did that
 4      take -- did that opinion that you have given take into
 5      consideration Mr. Salomon's performance as president of
 6      the aerial camera business?
 7                  MR. IBRAHIM:    Form objection.
 8                  THE WITNESS:    Well, I think that, you know,
 9      historically, there was -- a portion of his compensation
10      was bonus that I would say was related to some measure
11      of performance they had.
12      BY MR. EVANS:
13          Q       Is that --
14          A       I think, in general, someone's -- someone's
15      compensation would be related to performance.
16          Q       Well, but did your opinion take into
17      consideration Mr. -- the -- the performance of the
18      aerial camera business from January 2009 through 2013?
19          A       What do you -- what do you mean by "the
20      performance"?
21          Q       You don't know what I mean by "performance"?
22          A       No.
23                  Do you mean --
24          Q       Financial performance.
25          A       -- are you referring -- are you referring to the

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 1          A       No.
 2          Q       Okay.    Have you seen any evidence to support your
 3      assumption that there were other investors who were
 4      going to contribute money to the operations of the
 5      aerial camera business?
 6          A       No, but that would be a -- a company will
 7      sometimes, if they are going to grow, reach a point
 8      where they go back to the market and get more funding.
 9      It's not an unusual estimate.               You certainly wouldn't
10      identify who these people might be ahead of time.                     It's
11      not normal.         It simply makes sense.
12          Q       So you are assuming there would be other
13      investors in the future; is that right?
14          A       Possibility.
15          Q       Possibility.    Okay.
16                  And were you aware of the fact, Mr. Kreitzman, as
17      Mr. Holowaty testified in a deposition you didn't read,
18      that PNC attempted to find other investors prior to
19      May 17th of 2013?
20                  MR. IBRAHIM:    Objection; lacks foundation, calls
21      for speculation.
22                  MR. EVANS:    I can understand why you would think
23      it lacks foundation, because you weren't at the
24      deposition.
25          Q       But were you aware of that fact?

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 1      they would go into the market.
 2      BY MR. EVANS:
 3          Q       But you can't tell me, as you sit here today, a
 4      single person, a single entity, a single investor who
 5      had agreed to invest funds in the aerial camera business
 6      after May 17th of 2013, can you?
 7                  MR. IBRAHIM:    Form objection.
 8                  THE WITNESS:    Again, I didn't look for specific
 9      companies making specific investments in this company.
10      BY MR. EVANS:
11          Q       So the answer to my question is:                 No, you can't
12      tell me that; right?
13          A       I think I answered your question.
14          Q       No, you really didn't.
15                  You can't tell me the name of a single person or
16      a single entity who would have invested funds in the
17      aerial camera business after May 17, 2013; right?
18                  MR. IBRAHIM:    Form objection.
19                  THE WITNESS:    Okay.      Let me look at the -- my
20      timeline here, so May 17th.              Okay.        So this was Outdoor
21      disclose completed merger with KSE.                    No.
22      BY MR. EVANS:
23          Q       Okay.   On paragraph 3 of your report, page 2, I'm
24      switching gears, by the way, just off the --
25          A       Okay.

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 1      I had seen in terms of what the equity would be, so --
 2          Q       Okay.
 3          A       -- if you look at this, it's typical that someone
 4      in the position Mr. Salomon was in would get an equity
 5      position as part of a transaction.                    It's also typical
 6      there would be options involved, and this was the only
 7      information I've seen anywhere talking about this.
 8                  And I also had spoken to Mr. Salomon, and I asked
 9      him if his -- if there had been any objections, at least
10      to the proposed structure that he's aware of.                    He said
11      no.
12          Q       Okay.   Let me show you what's been marked as
13      Exhibit 140 in this case.            Sorry, it's been -- it was
14      marked in a previous deposition, and I'm going to ask
15      you:    Is that the chart that you were just referring to?
16          A       Yes.
17          Q       Okay.   Now, in the course of performance -- or,
18      excuse me, in the course of your review of information
19      and the provision of your opinions on the benefit of the
20      bargain damages in this case, have you seen any evidence
21      at all stating that PNC agreed to the proposed equity
22      structure reflected in Exhibit 140?
23                  MR. IBRAHIM:    Form objection.
24                  THE WITNESS:    And I think I already said that,
25      but, no, he had -- he had proposed it, and PNC had not

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 1      replied, and this was --
 2                  MR. EVANS:   Well, I know --
 3                  THE WITNESS:    -- something that happened -- yeah.
 4      BY MR. EVANS:
 5          Q       I know what you've told me what Mr. Salomon told
 6      you --
 7          A       Yeah.
 8          Q       -- but I'm asking:       Have you seen anything
 9      anywhere else, other than what Mr. Salomon shared with
10      you, where PNC agreed to the proposed equity structure
11      reflected in Exhibit 140?
12                  MR. IBRAHIM:    Form objection.
13                  THE WITNESS:    No, I have not seen any agreement
14      by PNC.
15      BY MR. EVANS:
16          Q       So -- so, then, why did you use -- without an
17      agreement between Mr. Salomon and PNC, why did you use
18      Mr. Salomon's proposed equity structure in computing or
19      determining the benefit of the bargain losses in your
20      opinions?
21                  MR. IBRAHIM:    Form objection.
22                  THE WITNESS:    Again, remember that this -- this
23      company was never formed, and in -- in terms of what the
24      structure would be, I needed to come up with something.
25      I think that zero equity for Mr. Salomon would not be a

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 1      reasonable expectation, and this one is a document that
 2      was out there.       It's certainly reasonable the, you know,
 3      8 percent equity position, the terms of the options.
 4      These are, you know, very typical for things that I
 5      would have seen in similar types of transactions.                     This
 6      is a -- you know, a very typical proposal.                   I didn't see
 7      anything on the other side.              This is -- this is what
 8      there was.       I had to rely on something.
 9      BY MR. EVANS:
10          Q       So you are assuming that PNC would have agreed to
11      this proposed equity structure; right?
12          A       Well, I'm assuming that this is a representation
13      of what it would be.         Could it have been modified or
14      changed in some ways through a negotiation?                   Possibly.
15      This is my best estimate of what the equity structure
16      would be.
17          Q       How much equity was Mr. Salomon contributing --
18      was Mr. Salomon going to contribute to the acquisition
19      of the aerial camera business?
20                  MR. IBRAHIM:    Form objection.
21                  THE WITNESS:    Again, I'm not aware that he was
22      putting -- you are talking about -- equity, you are
23      talking about cash and not --
24                  MR. EVANS:   Dollars.
25                  THE WITNESS:    -- in terms of --

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 1          Q       So I understand your --
 2                  MR. IBRAHIM:    Objection; argumentative.
 3      BY MR. EVANS:
 4          Q       I understand your situation.              Okay?
 5                  Can you give me another example of a situation
 6      where a person who's contributing zero cash to the
 7      acquisition of an entity receives 8 percent or more
 8      equity in that ac- -- in that acquired company?
 9                  MR. IBRAHIM:    Form objection.
10                  THE WITNESS:    I can't think of a name.            I know
11      I've seen them.
12      BY MR. EVANS:
13          Q       We just have to trust your recollection; right?
14      You can't name -- you can't give me a specific instance?
15          A       Well, I gave you the instance of myself --
16          Q       Other than yourself.
17          A       -- 60 percent.
18          Q       Other than yourself.
19          A       Yeah.
20          Q       Fair to say you can't -- you can't give me a
21      specific instance other than yourself; right?
22          A       As I sit here now, no.
23          Q       Okay.   Stick- -- sticking with your three
24      scenarios on what you call the "benefit of the bargain
25      losses," is it fair to say that your three scenarios are

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 1      also based, at least in part, on -- on your valuation of
 2      the aerial camera business?
 3          A       On my valuation?
 4          Q       Did you do an analysis of the valuation of the
 5      aerial camera business?
 6          A       Yes.
 7          Q       And -- and you used that valuation in arriving at
 8      the damages under the benefit of the bargain losses in
 9      your opinion; right?
10          A       For Scenario 1.
11          Q       Right.    Good point.      For Scenario 1.
12          A       Yes.
13          Q       You didn't -- you didn't use that for Scenario 2?
14          A       No.
15          Q       You didn't use that for Scenario 3?
16          A       No.
17          Q       So let's stick, then, with Scenario 1, and
18      explain to me the revenue projections that you used.
19          A       Okay.    So the revenue projections that I used
20      were -- revenue projections were things that I had
21      found, I believe, prepared by Mr. Salomon while at KSE.
22      It was the closest ones I could find to the time.                     And
23      he had several of them.           The earliest one is the one
24      that I used.
25          Q       Well, I want to know each one -- each projection

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 1      you relied upon to arrive at your opinion for the
 2      benefit of the bargain losses in Scenario 1.
 3          A       Okay.   So in Scenario 1, I relied on the
 4      projections prepared in 2013, and these were, you know,
 5      done within the normal course of business.                  I know that
 6      they had -- I had seen that they had been circulated
 7      within KSE, and I believe they were also shown to third
 8      parties in the company, so these were projections that
 9      were done within the normal course of business at around
10      the time.
11          Q       Can you turn to page 16 in your report, please,
12      which is Exhibit 165.         There's a table reflected on that
13      page.
14          A       Yes.
15          Q       Are those the projections you are referring to?
16          A       Yes.
17          Q       All right.   If you look at paragraph 46 of your
18      report on page 16, it's under subsection C,
19      "Projections" --
20          A       Mm-hmm.
21          Q       -- you say, "There have been several projections
22      reflecting various business plans produced in this
23      litigation."        Let's stop there.
24                  Tell me the projections that you have seen
25      reflecting various business plans produced in this

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 1          Q       Exactly.
 2          A       And I assume that.
 3          Q       Thank you.
 4                  And so did you -- do you have an understanding,
 5      as you sit here today, how many NFL teams are built
 6      in use -- let me strike the question.                 Start again.
 7          A       Yeah.
 8          Q       Do you have an understanding, as you sit here
 9      today, how many permanent installs are assumed in the
10      table under "SKYCAM Management Projections"?
11                  MR. IBRAHIM:    Objection; irrelevant.
12                  MR. EVANS:    You may think so, Ahmed.
13                  THE WITNESS:    I don't recall the details of the
14      number of permanent versus temporary.                 I remember
15      reading through all that, but, no, I couldn't tell you
16      what the assumption is for permanent.
17      BY MR. EVANS:
18          Q       So -- but -- so, Mr. Kreitzman, this is your
19      language; right?         You say, "I believe these projections
20      best reflect the business plan that would have been
21      implemented."
22          A       Mm-hmm.
23          Q       How can you possibly sit here today and tell me
24      this reflects the best -- the business plan that would
25      have been implemented when there's only two NFL teams

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 1      today with permanent installs of the aerial camera
 2      business?
 3                  MR. IBRAHIM:    Objection; argumentative, lacks
 4      foundation.
 5                  THE WITNESS:    Two very different things.
 6      BY MR. EVANS:
 7          Q       Why are they different?
 8          A       One is expectations at the time, which would have
 9      gone to the value at the time, and the other is what
10      happened with KSE owning the company, and we can't
11      assume that the two things would converge.
12          Q       It's your assumption Mr. Salomon and PNC would
13      have done a better job in managing -- than KSE in
14      managing the aerial camera business; right?
15          A       I didn't really look at it.               I have no opinion
16      about what KSE did with the business.                    I didn't -- I
17      don't think they have been forthcoming in information --
18          Q       Well, I appreciate the party line --
19          A       Yeah.
20          Q       -- but your opinion is based on the assumption --
21      it has to be, Mr. Kreitzman.              It has to be.
22                  Your opinion is based on the assumption that PNC
23      and Mr. Salomon would have done a better job in
24      operating the aerial camera business than KSE; right?
25                  MR. IBRAHIM:    Objection to the gratuitous comment

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 1      as argumentative.
 2                  THE WITNESS:    Again, I have not evaluated what
 3      KSE has done with the aerial camera business.
 4      BY MR. EVANS:
 5          Q       Okay.    So your opinion was formed, what, two
 6      months ago?         Within the last two months; right?
 7          A       Yes.
 8          Q       It wasn't formed back in -- on May 17 of 2013;
 9      right?
10          A       Right.
11          Q       And we have already talked about the fact that
12      when you are using -- when you valued present value cash
13      flow in these other instances that you testified to this
14      morning, you used historical information; right?
15          A       Yeah.
16                  MR. IBRAHIM:    Form objection.
17      BY MR. EVANS:
18          Q       Well, you are ignoring the historical information
19      here in terms of how many in- -- permanent installs
20      there are in NFL stadiums, aren't you?
21          A       Well, I think we're -- we're probably using this
22      term differently.
23          Q       Well, tell me how.
24          A       Okay.    So if we have the valuation -- because, in
25      fact, we have projections, and the projections, at this

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 1        AFTERNOON SESSION                                          1:17 P.M.
 2
 3                  THE VIDEOGRAPHER:     Okay.      We are back on the
 4      record, then, at 1:17.
 5      BY MR. EVANS:
 6          Q       Mr. Kreitzman, I just want to make sure that -- I
 7      may have misunderstood part of your testimony earlier,
 8      so I just want to ask this question, see if I -- if I
 9      truly did misunderstand it or if I'm -- if I got it
10      accurate.
11                  Let me -- is it -- is it your testimony that the
12      financial results between -- on the aerial camera
13      business --
14          A       Yeah.
15          Q       -- between 2013 and the time of your report you
16      did a few weeks ago --
17          A       Yeah.
18          Q       -- are not relevant to your damage analysis?
19          A       Not relevant to the valuation.          So what's
20      relevant is the expectations at the time, not what
21      happened in -- controlled by a different entity.
22          Q       So does that mean they are not relevant to your
23      ultimate damages -- benefit-of-the-bargain damage
24      analysis?
25          A       I'm trying to think if there's any way it would

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 1      be relevant.        Not really.
 2          Q       Okay.   So I didn't misunderstand.            I just wanted
 3      to make sure of that.
 4                  Can I get you to look at -- go back to
 5      Exhibit 165.        That's your report, page 16.             I think you
 6      already have it open.
 7                  So if you take a look at your chart, the 2013
 8      estimate of revenue is 12.7 million.
 9                  Do you see that?
10          A       Mm-hmm.
11          Q       And the 2018 estimate of revenue is 52.2 million?
12          A       Yes.
13          Q       Do you understand what the -- what the basis for
14      that jump in almost $40 million in revenue over five
15      years was?
16          A       That would be based primarily on increasing the
17      number of events, the number of cameras and systems.
18          Q       And do you know whether those assumptions
19      happened?
20                  MR. IBRAHIM:    Objection; form and relevance.
21                  THE WITNESS:    Well, you just -- just showed me
22      something that was 2018 that was a different number.
23      BY MR. EVANS:
24          Q       So?
25          A       So they did not happen there, no.

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 1      from KSE, which didn't include the sale of the aerial
 2      camera business.
 3          Q       So you are not -- you don't know one way or the
 4      other whether, for instance, disgorgement is even an
 5      available remedy under the claims alleged by
 6      Mr. Salomon, do you?
 7          A       No.    It sounds like a legal opinion.            What I'm
 8      doing is simply saying:           What did they gain?          And that's
 9      pretty clear, so $2.25 a share.
10          Q       Well, let's test that pretty clear.
11                  You say that the intermediate transaction would
12      have respected the sale of the aerial camera business.
13                  You say that in paragraph 81; right?
14          A       Yes.
15          Q       And, in fact, that's your second sentence in
16      paragraph 81; right?
17          A       Mm-hmm.
18          Q       And you are referring there to the InterMedia
19      offer reflected in the November 2012 merger agreement
20      between InterMedia and Outdoor; right?
21          A       Okay.    Let me look at my timeline and I can --
22          Q       Okay.
23          A       Yes.
24          Q       What was the offer made by InterMedia per share
25      in November of 2012?

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 1                  THE WITNESS:    Again, what I'm referring to in the
 2      disgorgement argument is that by accepting competing
 3      offers that didn't respect the deal, the price was bid
 4      up from $8.00 to 2.25.           Typically in a bidding
 5      situation, you would get a better price, so that would
 6      be -- the motivation for wanting to be in the bidding
 7      situation is very high.
 8                  Okay.    So this is what Outdoor gained by being
 9      willing to not honor that transaction, was 2.25.                    And
10      had they done the deal at a higher price and they would
11      have respected it, we wouldn't be here.                  Okay?    But it
12      is the competiting -- competitive bidding process.
13      BY MR. EVANS:
14          Q       Who received the benefit of the increase in the
15      share price?
16          A       Well, that was money that went to Outdoor.
17          Q       You -- you understand Outdoor was publicly
18      traded; right?
19          A       Yes.
20          Q       Okay.    So who --
21          A       41 percent into --
22          Q       Right.
23          A       -- 41 percent privately held by the -- I forget
24      their names.
25          Q       Matthews?

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 1                  The financial results are, you know, a company at
 2      a time.       That is, investing.         They spent a lot of money
 3      protecting their intellectual property.                  If they never
 4      changed anything -- okay? -- it stayed exactly the same
 5      way it was and continued to not have positive cash,
 6      well, that wouldn't make any sense to continue the
 7      business at that point.           If that was the expectation,
 8      that they are never going to make any money, no one
 9      would be making any money on it.                 That wasn't the
10      expectation.
11      BY MR. EVANS:
12          Q       Do you have any evidence that PNC would have
13      accepted continued performance of the aerial camera
14      business such as the results obtained during 2009
15      through 2013?
16          A       No, and I see no reason why that would even be
17      something you would consider.               You're not -- you don't
18      expect that this is going to continue simply because --
19      you know, if this business never made money, you
20      wouldn't continue to put money into it.
21          Q       Right.
22                  You would hope you could attract additional
23      investors to fund additional capital expenditures to
24      increase equipment, increase events; right?
25                  MR. IBRAHIM:    Form objection.

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 1      2013, assuming they acquired the aerial camera business?
 2                  MR. IBRAHIM:    Form objection.
 3                  THE WITNESS:    Well, again, going back to the term
 4      sheet, I believe PNC said they had -- were willing to
 5      provide the financing.           If you are looking for
 6      additional financing, a lot of things go into that, and
 7      not unusual for someone to approach a company and have a
 8      project not be in their -- in the type of things that
 9      they would normally invest in.               So if they had
10      approached someone and they said "no," I wouldn't worry
11      too much about that.         That happens all the time.             You
12      don't need everyone to say "yes."                 You just need someone
13      to say "yes."
14      BY MR. EVANS:
15          Q       You hope someone will say "yes"; right?
16                  MR. IBRAHIM:    Objection; form.
17                  THE WITNESS:    Well, I guess if you are looking
18      for financing, you hope someone says "yes" to financing.
19      BY MR. EVANS:
20          Q       But you don't have any evidence, as you sit here
21      today, to give me the name of a single investor that
22      Mr. Salomon and PNC hoped to attract additional
23      investment from, do you?
24          A       No.
25          Q       Okay.   Can you look at page 7 -- paragraph 17 on

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 1          Q       I understand what you were asked to do.               We have
 2      exhausted that pretty --
 3          A       Yeah.
 4          Q       -- extensively here, Mr. Kreitzman, but that
 5      wasn't my question.
 6                  My question was -- and I'll read it back -- Does
 7      hearing what Mr. Holowaty testified to during his
 8      deposition -- okay?
 9          A       Mm-hmm.
10          Q       -- concern you in any way regarding the
11      assumptions you were asked to make in forming your
12      opinions?
13                  MR. IBRAHIM:    Form objection; asked and answered.
14                  THE WITNESS:    You know, again, no, because that
15      was -- that was a whole area that I didn't explore
16      because I wasn't looking at the liability and was -- was
17      this -- was this transaction going to happen or not.                     I
18      assumed the transaction would happen, and one piece of
19      information in isolation that seems to contradict what I
20      had seen in other places would not necessarily say,
21      well, you know, I'm concerned about this.                  I'm not -- I
22      made that assumption that this would -- that this would
23      happen, period.
24                  MR. EVANS:   Can we go off the record for a
25      second?

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 1          Q       And you saw no agreements with anybody -- PNC or
 2      any other employee -- prospective employee about
 3      engaging them as management of the aerial camera
 4      business should PNC and Mr. Salomon acquire that
 5      business?
 6          A       No, I did not look for particular things.
 7                  On the other hand, we do have, again, PNC views
 8      the company's existing management team as an
 9      instrumental asset in implementing the growth.
10          Q       What's your evidence that the current management
11      team that was in place at the time agreed to stay on if
12      PNC and Mr. Salomon were to acquire the aerial camera
13      business?
14                  MR. IBRAHIM:    Form objection.
15                  THE WITNESS:    As I sit here, I can't tell you who
16      was going to stay or go.
17      BY MR. EVANS:
18          Q       Okay.   Can I get you to look at paragraph 28, I
19      have the same type of questions.
20          A       Okay.   What relevant data didn't I consider?
21          Q       Well, I'm asking:       Do you agree or disagree with
22      that?       Do you think you considered all relevant data?
23          A       I think I used the best information available.
24          Q       Okay.   Well, you see where she says you didn't
25      consider the depositions of key witnesses -- of other

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 1      witnesses, such as Jeff Holowaty, Roger Werner, Cathy
 2      Lee, Tom Hornish, Tom Allen, James Martin, and even
 3      Mr. Salomon.
 4                  Did you even read Mr. Salomon's deposition?
 5          A       Did not read Mr. Salomon's deposition.
 6          Q       You didn't think it was necessary to read your
 7      own client's deposition before you issued an opinion in
 8      this case?
 9          A       No.   I had a narrow -- a narrow -- a narrow focus
10      of what I was looking for.
11          Q       Take a look at paragraph 31, if you would.                I'm
12      going to have the same questions.
13          A       Mm-hmm.
14                  Okay.   So I read it, yeah.
15          Q       Do you agree or disagree with the statements made
16      by Ms. Van Tassel?
17          A       Well, I agree if you have a history that
18      represents what's expected going forward, it's good to
19      have that information, which is what this highlighted
20      sentence, I believe, is trying to say.
21          Q       I'm sorry.    What highlighted sentence?
22          A       Well, there's one that's in bold:             "When
23      sufficient earnings history is available" --
24          Q       Oh, okay.    That one, okay.
25          A       I believe that's what you were referring to here.

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 1      reading of this document?
 2          A       That I read it that this was within KSE and they
 3      were --
 4          Q       And not a stand-alone.
 5                  You understood that; right?
 6                  MR. IBRAHIM:    Form objection.
 7                  THE WITNESS:    I certainly understood that this
 8      was done during the time when it was with KSE --
 9                  MR. EVANS:   Wasn't my question.
10                  THE WITNESS:    -- yes.
11                  MR. EVANS:   Wasn't my question.
12          Q       Please listen to my question, because it's an
13      important question.         Okay?
14          A       Okay.
15          Q       You understood, did you not, that the projections
16      set forth by Mr. Salomon in Exhibit 54 were projections
17      assuming that the aerial camera business was a part of
18      KSE?    Did you not?
19          A       I think you could in- -- possibly infer that,
20      given that it was within KSE, yes.
21          Q       Okay.
22          A       I don't -- I don't know that -- again, what --
23      what the assumptions of this structure were and what
24      KSE's plans were.        I know very little bit about --
25      little about what KSE wanted to do with this company.

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 1          Q       Then why, Mr. Kreitzman, did you feel it
 2      appropriate to utilize projections prepared by
 3      Mr. Salomon on the assumption that the aerial camera
 4      business was -- remained a part of KSE?                  Why did you
 5      think it appropriate to use those same assumptions in
 6      forming your valuation and damage opinion on a stand --
 7      for a stand-alone company?
 8          A       Because of the choices I had, I thought those
 9      were the most relevant.
10          Q       Why?
11                  MR. IBRAHIM:    Asked and answered.
12                  THE WITNESS:    Okay.      And, again, these were
13      projections that included new investments where the
14      others, for example, in Outdoor seemed to assume no
15      investment in the company.
16      BY MR. EVANS:
17          Q       Investments by whom?
18          A       By whomever.
19          Q       By KSE; right?     Because this was prepared while
20      he was an employee of KSE based upon the aerial camera
21      business being a part of KSE; right?
22          A       It was -- it was business based on a business
23      model of growing the company.
24          Q       While the aerial camera business was a part of
25      KSE; right?

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 1          A       And it was done by --
 2          Q       Right?
 3          A       -- him, yes, when he was at KSE.
 4                  So why would I use this?           This is -- these were
 5      the only projections that were consistent with a company
 6      that is set up to grow this business.
 7          Q       And you didn't ask your client, Mr. Salomon, for
 8      any projections prior to the acquisition of the aerial
 9      camera -- the Outdoor Channel and assumption of the
10      aerial camera business by KSE, did you?                  You didn't ask
11      Mr. -- Mr. Salomon for any projections?
12                  MR. IBRAHIM:    Form objections.
13                  THE WITNESS:    I did ask, Are there any other
14      projections?
15      BY MR. EVANS:
16          Q       Well, I'm not asking --
17          A       Yeah.
18          Q       -- did you ask, Are there any?
19          A       Yeah.
20          Q       Did you ask him for it?
21          A       No, and I don't think that that would have been
22      very acceptable.       This is something done during the
23      normal course of business as opposed to something done
24      for the litigation.         I tend to avoid those things if
25      possible.

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 1          A       By him, within -- within the context of what he
 2      thought was likely to happen.
 3          Q       Yeah, what he thought.
 4                  Where's PNC in the picture?               Did they agree to
 5      this?       You said no already, so why is that not
 6      speculative?
 7                  MR. IBRAHIM:    Form objection.
 8                  THE WITNESS:    I think I just answered that.
 9                  Okay.   And so what would have PNC agreed to?                We
10      will never know.
11      BY MR. EVANS:
12          Q       Because they didn't agree to anything with them;
13      right?       You haven't seen any agreement between PNC and
14      Mr. Salomon for shares and options; right?
15          A       No.   This company was never formed.
16          Q       So why didn't you use the actual shares and
17      equity that he had at the time of the term sheet instead
18      of basing your calculation on something Mr. Salomon
19      claims he should have been given?
20          A       There were no --
21                  MR. IBRAHIM:    Form objection.
22                  THE WITNESS:    There were no shares of Newco at
23      the time.
24      BY MR. EVANS:
25          Q       I'm not talking about Newco.               We have already

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 1      situation, that it was appropriate to rely only on
 2      Mr. Salomon's proposal; right?
 3          A       Again, that was the -- the best information I
 4      could find regarding that, and these other companies,
 5      you know, what they did or didn't do, wouldn't relate to
 6      the situation at hand.
 7          Q       And did you make any effort to contact Jeff
 8      Holowaty or Kelly Holowaty to ask them what they thought
 9      of Mr. Salomon's proposal and whether that would have
10      been something that might have been acceptable to them?
11          A       No.
12                  MR. IBRAHIM:    Form objection.
13      BY MR. EVANS:
14          Q       You just took Mr. Salomon's word?
15                  MR. IBRAHIM:    Form objection.
16                  THE WITNESS:    I used -- I used that document.
17      BY MR. EVANS:
18          Q       Can I get you to look at paragraph 39 of
19      Ms. Van Tassel's rebuttal report.
20          A       Mm-hmm.
21          Q       Do you agree or disagree with that sentence in
22      paragraph 39?
23          A       What, specifically, is she referring to with
24      removing the overhead charges?               If we look at 54, the
25      numbers, and it says:          Includes SkyCam stand-alone

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 1          A       Mm-hmm.
 2                  Okay.
 3          Q       Do you disagree with anything Ms. Van Tassel says
 4      in paragraph 49?
 5          A       $8.00, 10.25 -- this is quote from my report.                   I
 6      hope I agree with it, but -- no.                  51.    Okay.
 7                  And para 49 it's -- it's not really consistent
 8      with what I did and what I assumed.                    I didn't attribute
 9      anything to ACB.       I simply said, by accepting competing
10      offers, Outdoor was able to raise its price from 8.00 to
11      10.25 a share, and, therefore, they gained that amount
12      by accepting the competing offers.
13          Q       And you think your methodology is appropriate,
14      even though InterMedia made a $9.75 per-share offer,
15      which was accepted by the board, which, in your
16      testimony, would have respected the sale of the aerial
17      camera business?
18          A       Yes, because, remember, the -- what I'm referring
19      to here is the -- is the fact that this was a
20      competitive bid.
21          Q       I understand.
22          A       No competitive bid, it was $8.00, and everything
23      points to that.       If there were no competitive bid, this
24      would have gone for 8.00.
25          Q       Do you understand that a board has a fiduciary

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 1      obligation to its shareholders?
 2          A       Yes.
 3          Q       Okay.   Do you think a board has a fiduciary
 4      obligation to accept a superior offer?
 5                  MR. IBRAHIM:    Form objection; calls for legal
 6      conclusion.
 7                  THE WITNESS:    Yes.
 8                  MR. EVANS:   Okay.
 9                  THE WITNESS:    If -- if -- if they are allowed to
10      do so, if they haven't signed anything to the contrary.
11      BY MR. EVANS:
12          Q       And so you think the board --
13          A       All things being equal, yes.
14          Q       You think the board had a fiduciary obligation,
15      when InterMedia made its offer of $9.75 per share on
16      May 3 of 2013, which it deemed superior to be that -- to
17      that of KSE, to accept that offer?
18                  MR. IBRAHIM:    Objection; calls for legal
19      conclusion and calls for speculation.
20                  THE WITNESS:    Okay.      So you are referring to the
21      bidding process and things that happened in the
22      interim --
23      BY MR. EVANS:
24          Q       I'm referring to the InterMedia offer.
25          A       -- and, you know, the -- you know, the board, of

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 1      Lazard Freres' --
 2          A       Yeah.
 3          Q       -- valuation.
 4                  Is it fair to say that you haven't -- you don't
 5      know what's included in that valuation because you
 6      haven't seen it; right?
 7          A       Well, I know some things.
 8                  MR. IBRAHIM:     Misstates the testimony.
 9                  THE WITNESS:     Yeah, I know some thing -- I think
10      I talked about this earlier.               They -- there was an
11      explanation of some of the things that it assumed.                 It
12      used -- he uses projections for management.               It had
13      methodology that they discussed they used.               It showed
14      the assumptions for terminal value that they -- they
15      used, and it showed the assumptions for cost of capital
16      that they used.
17                  MR. EVANS:   Right.
18          Q       You haven't seen the report -- the Lazard Freres'
19      report; right?
20          A       No, I haven't seen the report itself.
21          Q       Okay.   Also, getting back to this Black-Scholes
22      model that we were talking about a few moments ago,
23      would you agree with me that if we were to use the
24      assumptions in the Black-Scholes model and came -- and
25      came to your assumptions --

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 1          A       Okay.
 2          Q       Do you know anything about it?
 3          A       Well, if I read paragraph 47 here --
 4          Q       Mm-hmm.   That's where I'm going.             Read the last
 5      sentence.
 6                  Do you know about that?
 7          A       Okay.   And this was in -- back in '08?
 8          Q       October of 2008, $2 million.
 9          A       No, I don't know about that.              A lot has happened
10      since then.
11          Q       Yeah, five years later, he makes a cash offer of
12      3.65 with PNC; right?
13          A       Mm-hmm.   Or as much as 405-, yeah.
14          Q       Well, yeah, contingent purchase price; right, of
15      405-; right?
16          A       Yeah.
17          Q       Do you have any idea as to what the realistic
18      expectation was of those other two contingencies
19      happening?
20          A       I don't recall right now exactly what they were.
21      I believe they were --
22          Q       Well, one was a litigation --
23          A       -- collection litigation proceeds --
24          Q       Did that ever happen?
25                  MR. IBRAHIM:    Form objection.

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 1      BY MR. EVANS:
 2          Q       Did they ever collect the roy- -- the payments
 3      from Actioncam?
 4                  MR. IBRAHIM:    Form objection.
 5                  THE WITNESS:    Again, I don't -- I don't know what
 6      happened after this time period within KSE.
 7      BY MR. EVANS:
 8          Q       So you don't know anything about the
 9      contingencies, whether they happened or didn't happen;
10      right?
11          A       No.
12          Q       Did you ever ask Mr. Salomon why he made a
13      $2 million offer for the aerial camera business in
14      October of 2008?
15          A       No.
16          Q       So I take it, then, that since you never talked
17      to him about it, that didn't form a part of your
18      valuation and opinion in this case in terms of damages?
19          A       No.   It's somewhat stale information.
20          Q       Was it irrelevant information?
21          A       Just from the standpoint of other offers, it was
22      apparently not -- not accepted, so that doesn't make it
23      a price.       You know, and it's old.            It's a different
24      company in '08 than it is in '13.
25          Q       Was it irrelevant information?

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 1      there was the liability in the case.                  When I went
 2      through the -- the chronology of everything, it was very
 3      consistent with that idea.             Okay?      So I didn't simply
 4      assume what I was told.           The -- the information that I
 5      did find on my own through publicly available
 6      information lined up behind that, so I wasn't simply
 7      making that assumption without looking at anything.
 8      BY MR. EVANS:
 9          Q       But, yet, you looked at no deposition testimony,
10      other than Scott Long.           You looked -- you didn't look at
11      Mr. Hornish's deposition testimony, did you?
12          A       No.
13                  MR. IBRAHIM:    Objection --
14      BY MR. EVANS:
15          Q       You didn't look at Mr. Warner's deposition
16      testimony --
17          A       No.
18          Q       -- did you?
19                  You didn't look at Ms. Lee's deposition
20      testimony, did you?
21          A       No.
22          Q       You didn't look at Mr. Martin's deposition
23      testimony, did you?
24          A       No.
25          Q       So you don't know whether -- as you sit here

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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION
NIC SALOMON,                                 §
                                             §
       Plaintiff,                            §
                                             §
v.                                           §    CIVIL ACTION NO.
                                             §    3:15-CV-666-M
KROENKE SPORTS & ENTERTAINMENT,              §
LLC, OUTDOOR CHANNEL HOLDINGS,               §
INC., and PACIFIC NORTHERN CAPITAL LLC,      §
                                             §
       Defendants.                           §



                                EXHIBIT C

            AFFIDAVIT OF KEVIN D. EVANS IN SUPPORT OF
       KROENKE SPORTS & ENTERTAINMENT, LLC AND OUTDOOR
  CHANNEL HOLDINGS, INC.’S MOTION PURSUANT TO FED. R. EVID. 702 TO
 EXCLUDE TESTIMONY OF KEVIN KREITZMAN AND REQUEST FOR HEARING




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                       IN THE UNITED STATES DISTICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION



                                           §
NIC SALOMON,                               §
                                           §
                         Plaintiff,        §
                                           §
v.                                         §   Civil Action No. 3:15-CV-00666-M
                                           §
KROENKE SPORTS &                           §
ENTERTAINMENT, LLC, OUTDOOR                §
CHANNEL HOLDINGS, INC., AND                §
PACIFIC NORTHERN CAPITAL LLC,              §
                                           §
                         Defendants.

     ______________________________________________________________________________

              REBUTTAL EXPERT REPORT OF KARYL M. VAN TASSEL, CPA
     ______________________________________________________________________________




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Introduction

1.    I have been retained by Armstrong Teasdale LLP (“Counsel”) on behalf of Kroenke Sports &
      Entertainment, LLC (“KSE”) and Outdoor Channel Holdings, Inc. (“Outdoor”). Collectively, I
      refer to KSE and Outdoor as the “Defendants.”

2.    I have been asked to express my opinions regarding the Expert Report of Kevin Kreitzman, MBA,
      dated September 14, 2018 (“Kreitzman Report”). Nothing is my report should be interpreted as
      agreement with Mr. Salomon’s allegations regarding purported liability; I was not asked to and do
      not opine on any such issues. The fact that a particular statement contained in the Kreitzman
      Report is not addressed in this Rebuttal Report does not reflect my agreement with that statement.
      I have addressed the opinions of the Kreitzman Report overall, not necessarily each statement
      contained in his opinions. This Rebuttal Report is based upon the information that has been
      provided to me as of the date of this report. I reserve the right to update this report should
      additional information become available.


Summary of Opinions Related to the Kreitzman Report

3.    My opinions related to the Kreitzman Report are as follows:

      (1) The amount of claimed lost compensation is unsupported by evidence, has no basis in
          methodology and cannot be relied upon.

      (2) The estimations of the benefit of the bargain damages in the Kreitzman Report do not meet the
          legal thresholds for economic damages, which require a reasonable degree of certainty. For
          instance, Mr. Kreitzman does not adequately set forth, address and/or misapplies the key
          elements of the valuation standards which should be considered in preparing a business
          valuation, including important qualitative factors which must be considered. In fact, the
          Kreitzman Report omits the qualitative factors most relevant in this matter, which when those
          factors are considered, reveal that the Kreitzman Report lacks sufficient evidence to support
          using the valuation of a business as a measure of damages. The Kreitzman Report, therefore,
          does not provide any reasonable basis for his opinion.

      (3) Even if you assumed incorrectly that Mr. Kreitzman met the standards for utilizing the
          valuation of a business as a measure of economic damages in this case, his approach is not
          supportable due to inappropriate valuation techniques, inclusion of option pricing (based
          entirely on shares and options proposed by Mr. Salomon) for a large portion of the damages
          making the valuation speculative, and misapplication of otherwise reliable sources of valuation
          data.

      (4) The disgorgement of Outdoor profits in any amount, let alone of $58.14 million, has not been
          established, through the necessary fundamental business valuation or forensic accounting
          analysis, by Mr. Kreitzman with a reasonable degree of certainty given that there is no analysis


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         of the factors that would be required before rendering such an opinion. It assumes
         disgorgement would be an available remedy, and is based on a thoroughly flawed premise that
         the entire increase in purchase price between InterMedia’s first offering price and KSE’s last
         was due to the ACB. Additionally, the methodology premise is also flawed completely since
         the increased offering price for the merger did not benefit Outdoor, but the shareholders who
         held the stock at the time of the transaction, so there was no benefit by Outdoor which could be
         disgorged. This renders the opinion speculative and unreliable. It also does not reflect in any
         way the profits achieved post-merger with KSE.

4.    The work in preparation of this report was performed either by myself or by my staff at BDO
      under my direction. The work performed is not an attest engagement as defined by the rules of
      the American Institute of Certified Public Accountants (“AICPA”) but rather under the Statement
      on Standards for Consulting Services No. 1.

5.    My opinions presented in this report are based on information and documents available to me as
      of the date of this report. Should additional information or documents become available, I reserve
      the right to amend or supplement my opinions.


Qualifications

6.    I have attached my current curriculum vitae as Appendix 1 for full details on my experience and
      background, including, my expert testimony experience.

7.    BDO is compensated for my work in this matter at an hourly rate of $650. No part of BDO’s
      compensation is dependent on the outcome of this matter.


Information Relied Upon

8.    I have relied on various types of information in formulating my opinions, including deposition
      testimony transcripts. I have provided a list of this information as Appendix 2.


Opinion 1 - The amount of claimed lost compensation is unsupported by evidence, has no
basis in methodology and cannot be relied upon.

9.    The Kreitzman Report provides no basis or proven methodology for the calculation of lost
      compensation presented therein. In his report, Mr. Kreitzman relies on Mr. Salomon’s own
      calculation of his lost base salary and bonus from May 6, 2014 to February 4, 2019 (the date of the
      beginning of the trial in this case). 1 In this calculation, Mr. Salomon assumes, and Mr. Kreitzman
      accepts, that he would continue to be employed as the President of the Aerial Camera Business

1Plaintiff’s Third Supplemental Answers and Objections to First Set of Interrogatories of Defendants Kroenke
Sports & Entertainment, LLC and Outdoor Channel Holdings, Inc., served August 24, 2018, page 2.


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      (the “ACB”) 2 and that the compensation structure and bonus calculation would be the same or
      similar. By continuing to use the same base salary and bonus amounts for his calculation, Mr.
      Kreitzman relies on Mr. Salomon’s claim that using these amounts results in a “conservative”
      approach. Using an approach you believe to be conservative does not justify using a damage
      analysis that is unsupported.

10. The Kreitzman Report does not provide a basis for the continued underlying assumption of the
    salary and bonus from previous periods after Mr. Salomon’s termination. The calculation also
    does not account for the performance metrics of the business under Mr. Salomon in years prior to
    the KSE merger. Table 1 below shows the historical revenue amounts in comparison to the base
    salary and bonus amounts received by Mr. Salomon. The Kreitzman Report contains no
    justification for assuming that Mr. Salomon would have continued to be employed by ACB after
    May 5, 2014, or the “Newco” and/or that he would have received the same base salary and bonus
    structure, particularly in light of the financial results previous to his departure. There is no
    evidence that PNC would have accepted such continued performance under Mr. Salomon if PNC
    and Mr. Salomon had acquired the ACB or that there would be sufficient capital to continue to
    fund the losses incurred historically under his leadership.

                         Table 1 - Mr. Salomon's Compensation Compared with ACB Financial Results




     Year                                          Income (Loss)                                       Total
    Ended          Revenues       EBITDA         from Operations       Salary 3         Bonus3      Compensation
    2010 4     $     9,140,000       (320,000)   $   (1,243,000)   $     225,000    $      90,000   $     315,000
    2011   4         8,663,000       (744,000)       (1,634,000)         240,000           97,200         337,200
    2012 5          12,018,000        913,000          (123,000)         247,680           78,019         325,699
    2013 6          13,077,000       (384,000)       (1,774,000)         252,881           34,139         287,020



11. In addition, subsequent to the March 21, 2013 letter between Pacific Northern Capital, LLC
    (“PNC”) and Outdoor 7, Mr. Salomon said he could not work with PNC 8, and PNC/Mr. Salomon




2 The Kreitzman Report is unclear whether his lost compensation claim is based upon Mr. Salomon continuing as
an employee at KSE or at the “Newco” to be formed if PNC and Mr. Salomon acquired the ACB.
3 Based on actuals for the period through 2013 presented in the Plaintiff’s Third Supplemental Answers and

Objections to First Set of Interrogatories of Defendants Kroenke Sports & Entertainment, LLC and Outdoor
Channel Holdings, Inc., served August 24, 2018, page 2.
4 Form 10-K, December 31, 2011, Outdoor Channel Holdings, Inc.

5 Form 10-K, December 31, 2012, Outdoor Channel Holdings, Inc.

6 Exhibit 363.

7 Exhibit 304: KSE/OC:028341-028342.

8 Deposition of Nicolas Salomon dated May 16, 2018, Volume 2, 383:19 to 384:3.




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      did not have additional or other funding in place to purchase the ACB at that time. Ultimately
      Mr. Salomon was terminated from KSE on or about May 5, 2014. 9

12. Therefore, the lost compensation analysis in the Kreitzman Report is unsubstantiated, speculative,
    and should not be relied upon.


Opinion 2 - The estimations of the benefit of the bargain damages in the Kreitzman Report
do not meet the legal thresholds for economic damages, which require a reasonable degree
of certainty. For instance, Mr. Kreitzman does not adequately set forth, address and/or
misapplies the key elements of the valuation standards which should be considered in
preparing a business valuation, including important qualitative factors which must be
considered. In fact, the Kreitzman Report omits the qualitative factors most relevant in this
matter, which when those factors are considered, reveal that the Kreitzman Report lacks
sufficient evidence to support using the valuation of a business as a measure of damages.
The Kreitzman Report, therefore, does not provide any reasonable basis for his opinion.


                                    Legal Thresholds for Economic Damages

13. Economic damages must be proven with a reasonable degree of certainty and using methodologies
    which are reasonably relied upon by damages experts. 10 Mr. Kreitzman acknowledges that
    standard and states in paragraph 4 of his report that he bases his opinions on data and analyses
    which are “reasonably relied upon by damage experts.” However, Mr. Kreitzman’s benefit of the
    bargain calculations are not supported by evidence available in this case, do not follow valuation
    standards, and do not meet the standard of reasonable degree of economic certainty.

14. Even though economic experts are generally not offering a legal opinion, they must understand the
    legal burden that is to be applied to economic damages. Section 352 of the Restatement (Second) of
    Contracts (1981) states, “Damages are not recoverable for loss beyond an amount that the evidence
    permits to be established with reasonable certainty.” 11 The Kreitzman Report lacks evidence that
    the data used to calculate the valuation of Mr. Salomon’s purported portion of the ACB was
    objective and reliable. In some cases he has not provided a bases at all in his report for his
    opinions. He must analyze and establish the causal link between the alleged wrongful actions and
    the economic damages and has not done so, which is explained more fully below.




9 Deposition of James Martin dated August 30, 2018, 213:10-20.
10 Weil, Roman L., Daniel G. Lentz, and Elizabeth A. Evans. (2017). Litigation Services Handbook: The Role of the
Financial Expert. Sixth Edition. Hoboken, New Jersey: John Wiley & Sons, Inc. Page 9.
11 Ibid.




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                                                Valuation Standards

15. Mr. Kreitzman references that the definition of damages in this case provided by counsel for
    Plaintiff is benefit of the bargain damages “calculated by subtracting the value received by the
    non-breaching party from the value the party expected to receive when the contract was made.” 12
    Using this, his definition, he attempted several valuation scenarios in his analysis. Therefore, an
    understanding of the principles of valuation is important to explaining the ways in which Mr.
    Kreitzman’s work does not meet those standards.

16. Guidance is provided by each of the valuation credentialing organizations, including the National
    Association of Certified Valuation Analysts (“NACVA”), the American Institute of Certified Public
    Accountants (“AICPA”) and the American Society of Appraisers (“ASA”), providing standards to
    be followed in developing a conclusion of value. While Mr. Kreitzman is not a member of these
    organizations, the standards put forth by each organization provide similar guidance and the key
    considerations in estimating a conclusion of value. According to these standards, the standard of
    value in legal cases with benefit of the bargain is fair market value (“FMV”), “[t]he price, expressed
    in terms of cash equivalents, at which property would change hands between a hypothetical
    willing and able buyer and a hypothetical willing and able seller, acting at arms length in an open
    and unrestricted market, when neither is under compulsion to buy or sell and when both have
    reasonable knowledge of the relevant facts.” 13,14

17. For example, the NACVA guidance 15 indicates that the following elements should be identified to
    define the assignment and determine the scope of work:
          a. Subject to be valued;
          b. Interest to be valued;
          c. Valuation date;
          d. Purpose and use of the valuation;
          e. Standard of value;
          f. Premise of value;
          g. Intended users;
          h. Valuation approaches or methods;
          i. Assumptions, limiting conditions and scope limitations;
          j. Ownership size, nature, restrictions and agreements;
          k. Sources of information; and
          l. Other factors that may influence value when appropriate in the opinion of the member.



12 Expert Report of Kevin Kreitzman, MBA, dated September 14, 2018, paragraph 49.
13 https://s3.amazonaws.com/web.nacva.com/TL-Website/PDF/Glossary.pdf
14 The International Glossary of Business Valuation Terms is a joint effort of the American Institute of Certified

Public Accountants, American Society of Appraisers, Canadian Institute of Chartered Business Valuators,
National Association of Certified Valuation Analysts, and the Institute of Business Appraisers.
15 http://web.nacva.com/TL-Website/PDF/NACVA_Professional_Standards_Incl_Review_Stnds_Effective_8-1-

15_Final.pdf


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18. For a conclusion of value, NACVA indicates that one must obtain and analyze applicable
    information, as available, pertaining to the following:
          a. The nature of the business and the history of the enterprise;
          b. The economic outlook in general and the condition and outlook of the specific industry in
             particular;
          c. The adjusted book value of the interest to be valued and the financial condition of the
             enterprise;
          d. The earning capacity of the enterprise;
          e. The dividend paying capacity of the enterprise;
          f. Whether or not the enterprise has goodwill or other intangible value; Prior sale of
             interests in the enterprise being valued;
          g. Size of interest to be valued and its control, liquidity and marketability characteristics;
          h. The market price of interests or enterprises engaged in the same or a similar line of
             business having interests actively traded in a free and open market;
          i. Hypothetical conditions appropriate for the circumstances; and
          j. All other information deemed by the member to be relevant.

                Insufficient Application of Valuation Standards, Lack of Evidence and Basis of Opinion

19. In regards to the elements per the NACVA guidance stated above, Mr. Kreitzman only includes
    the valuation date, valuation approaches, and intended users. 16 As to the information and analysis
    required for a valuation conclusion, Mr. Kreitzman has either not adequately addressed items or
    has not addressed them at all. The Kreitzman Report does not address the following:
          a. Subject to be valued– The Kreitzman Report’s subject to be valued is the ACB. However,
               since the purchase of the ACB assets was to have occurred through an entity yet to be
               formed, the subject of the valuation has not been sufficiently addressed to ensure that the
               valuation elements and assumptions are reflective of the entity to be formed, such as the
               appropriate tax rate based upon the corporate structure. Since the entity was never
               formed it is impossible to have a clear definition of the subject to be valued;
          b. Interest to be valued – Mr. Salomon proposed an equity structure for the business, but it
               was never agreed upon. Nevertheless, he utilizes the purported structure without
               sufficient evidence supporting the equity and future options he assumes;
          c. Standard of value;
          d. Premise of value;
          e. Assumptions, limiting conditions and scope limitations;
          f. Ownership size, nature, restrictions and agreements.
    Mr. Kreitzman does provide some sources of information in his report. However, as noted
    throughout the report below, there are many areas in which no basis is provided, and we have not
    been able to locate it in the documents available. The Kreitzman Report does not address the
    limits of sources of data and any impact they would have on his calculations.



16   The adequacy of the valuation approaches are analyzed separately in this report in paragraphs 28 through 48.


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20. The omissions in addressing elements and information necessary for an expert conclusion follow,
    including those areas most relevant in this matter.

21. A valuation analysis must consider both quantitative and qualitative factors. The qualitative
    factors are those referred to in the NACVA elements under “Other factors that may influence value
    when appropriate in the opinion of the member” and “[a]ll other information deemed by the
    member to be relevant” in the information necessary for a conclusion.

                                   Qualitative Factors Insufficiently Analyzed

22. While Mr. Kreitzman refers to a partial list of qualitative factors in the “Business Analysis” section
    of his report, he does not properly set forth the impact of these items on the valuation he performs.
    By not considering adequately the qualitative factors specific to this matter that impact meeting the
    burden of reasonable certainty, the damages are speculative.

23. In paragraph 41 of the Kreitzman Report, Mr. Kreitzman outlines his understanding of the
    business at a very high level without determining the key drivers of the business value.

24. Mr. Kreitzman discusses barriers to entry in paragraph 42 of his report and indicates the ACB is
    capital intensive, which would provide a higher barrier to entry. Throughout his report, Mr.
    Kreitzman provides insufficient analysis on how the capital requirements would impact the
    business valuation on forecasted revenue. Also in paragraph 42, Mr. Kreitzman determines that
    “suspended mobile aerial cameras are still an emerging technology with possibility of early mover
    advantages possible” because of barriers to entry. However, the Kreitzman Report provides no
    substantiation for how first mover advantage impacts the analysis in any way except that is could
    potentially have an impact. Mr. Kreitzman had several documents available that reflect ACB had
    at least four competitors already. 17 He performs no specific analysis of competitive impacts except
    that he states there are competitors. Mr. Kreitzman addresses opportunities in addition to ACB’s
    core business and states that “it is possible” these opportunities could generate large amounts of
    revenue, but he cannot estimate without additional information.

                               Qualitative Factors Ignored in the Kreitzman Report

25. One qualitative factor ignored by the Kreitzman Report is the availability of financing to purchase
    the ACB. Mr. Kreitzman does not address the availability of capital for the purchase of the
    business by PNC or others. Mr. Holowaty, an Advisor to PNC, stated in his deposition that PNC
    did not plan to entirely fund the purchase price of the ACB. He notes that they anticipated other
    investors and discussed the opportunity with some of these potential investors 18, but nothing
    materialized. 19 Mr. Holowaty reiterates later in his deposition that PNC did not intend to fund the

17 Exhibit 354: KSE/OC:052736-052765 at KSE/OC:052752.
18 One of the parties interested in the transaction was IMAX but they did not commit to help fund the investment.
Deposition of Jeff Dean Holowaty, dated July 17, 2017, 111:8 to 111:17.
19 Deposition of Jeff Dean Holowaty, dated July 17, 2018, 51:2 to 52:23.




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      entire cash at the closure of the deal. 20 Further, Mr. Salomon agreed in his testimony that while
      other potential investors had been solicited, none of them had agreed to provide funding. 21

26. The Kreitzman Report also does not discuss the impact of the Terms Sheet at issue. PNC originally
    submitted a Letter of Interest (“LOI”) on September 28, 2012. 22 PNC and Mr. Salomon then signed,
    on behalf of an unnamed “Purchaser,” and provided a Term Sheet to Outdoor on February 26 or
    27, 2013. 23 The Term Sheet states it is non-binding and it is my understanding that with the
    exception of the exclusivity agreement, is not legally enforceable. The Term Sheet specifically says
    that until such time as definitive agreements were signed, any party could terminate negotiations
    for any or for no reason, and without liability. Further, and as discussed in paragraph 37, the
    acquisition entity was never formed. The formation of “Newco” was a requirement in order to
    complete the deal but was never accomplished.

27. Another factor to consider in a valuation analysis is the sufficiency of management. This
    consideration would evaluate whether sufficient management is in place to support the financial
    quantification using forecasted projections. Mr. Holowaty stated in his deposition that Mr.
    Salomon would have been in a similar role at the new ACB if the sale had taken place.24 Historical
    information suggest that Mr. Salomon’s performance did not result in positive financial results in
    his role as President of the ACB.25 Comparing financial performance results prior and subsequent
    to May 2014 reflect that the company did better after Mr. Salomon’s departure. The Kreitzman
    Report fails to provide the necessary analysis of management at all or its sufficiency to achieve the
    projected results included in the Kreitzman Report. Further, there is no evidence that the
    management team had been determined and was in place and so adequacy of a non-identified
    management team, therefore, is speculative.


Opinion 3 - Even if you assumed incorrectly that Mr. Kreitzman met the standards for
utilizing the valuation of a business as a measure of economic damages in this case, his
approach is not supportable due to inappropriate valuation techniques, inclusion of option
pricing (based entirely on shares and options proposed by Mr. Salomon) for a large portion
of the damages making the valuation speculative, and misapplication of otherwise reliable
sources of valuation data.

28. In order to perform a proper valuation analysis, all available relevant and reliable data for the
    analysis should be considered. Mr. Kreitzman did not use all of the relevant information available
    for his analysis. For example, the only deposition which was considered in the Kreitzman Report

20 Ibid. 74:14 to 74:20.
21 Deposition of Nicolas Salomon, dated May 16, 2018, 270:5 to 270:21.
22 Exhibit 106.

23 Exhibit 302: KSE/OC:000947-000950.

24 Deposition of Jeff Holowaty, dated July 17, 2018, 47:3 to 47:7.

25 First Supplemental Answers of Outdoor Channel Holdings, Inc. to Plaintiff Nic Salomon’s First Set of

Interrogatories, dated May 4, 2018, Answer to Interrogatory Number 12.


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      was that of Scott Long, the 30(b)(6) deposition witness designated by KSE and Outdoor. However,
      he ignores relevant information in the depositions of other witnesses in this matter including Jeff
      Holowaty, Roger Werner, Cathy Lee, Tom Hornish, Tom Allen, James Martin, and Nicolas
      Salomon (his own client). This omission excludes relevant data that makes his analysis unreliable
      had he chosen to review them, or if they had been provided to him.

29. Regarding methodology of valuation, the Kreitzman Report identifies three methodologies that are
    typically considered when doing a valuation analysis – Capital Market, Income Method and Cost
    Method. 26 Mr. Kreitzman indicates that the Cost Method (also referred to as the Asset Approach)
    would not provide a reasonable indicator of value. 27

30. The Kreitzman Report conclusions do include the Capital Market approach but is included for
    illustrative purposes only because he is uncertain that the selected guideline companies are
    comparable. Again, he gives no supporting information for this statement for us to evaluate his
    claim 28 yet he includes it anyway.

31. Ultimately, Mr. Kreitzman relies on the Income Method, described as the earning capacity of the
    subject company, derived from past, current or projected earnings streams “discounted at a rate
    sufficient to satisfy the investment and business risk of ownership. The application of this
    approach is enhanced when sufficient earnings history is available and relevant to the entity’s
    future [emphasis added], in order to provide a clear indication of expected future performance.” 29
    Although Mr. Kreitzman himself includes this definition in his report, his report contains nothing
    to address the historical earnings sufficiency and the relationship to future projections. In fact, as
    noted below, his report is internally inconsistent with this statement. At the time of potential
    purchase of the ACB, the company was part of a large, publicly traded company with a market
    capitalization of $226.1 million as of March 28, 2013 30 and with infrastructure to support it. The
    “but for” company apparently would be a stand-alone entity containing only the ACB.

32. For the Income Method, Mr. Kreitzman relies upon projections for the business which were
    provided by Mr. Salomon, in his capacity as President of the ACB, to Mr. David Gluck 31 at KSE. 32
    Mr. Kreitzman indicates “I believe these projections best reflect the business plan that would have
    been implemented absent the alleged breach of the terms of the term sheet and other wrongdoing
    alleged in this litigation.” 33 This is the only mention he makes of the reasoning for using what is by



26 Expert Report of Kevin Kreitzman, MBA, dated September 14, 2018, paragraph 51.
27 Ibid.
28 Ibid.

29 Expert Report of Kevin Kreitzman, MBA, dated September 14, 2018, paragraph 52.

30 March 31, 2013 was Easter Sunday, so the last day of trading in March 2103 was on Thursday, March 28, 2013. I

used the weighted average common shares outstanding on the March 31, 2013 10-Q to calculate this amount.
31 David Gluck is Executive Vice President, KSE Media, LLC and KSE Outdoor Sportsman Group, LLC.

32 KSE/OC000413-000416.

33 Expert Report of Kevin Kreitzman, MBA, dated September 14, 2018, paragraph 46.




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      far the highest projections available and not remotely reflective of the business’ historical
      operations and results.

                                     Table 2 - Revenue Projections Comparison


                    Year     Revenue Projected by     Revenue Projected
                                                                                Actual Revenue 36
                   Ended         Kreitzman 34             by KSE 35

                    2014         $       15,500,000     $      11,153,000         $      12,567,000
                    2015                 22,000,000            11,376,000                11,854,000
                    2016                 35,000,000            11,604,000                11,443,000
                    2017                 42,400,000            11,836,000                11,271,000


33. The Kreitzman Report projections include 17 systems in operation in 2013, increasing up to 78 in
    2018. 37 For events, there are 228 in 2013 increasing to 844 in 2018. 38 Increasing the systems and
    events results in increased revenues from $12.7 million in 2013 to $52.2 million in 2018 resulting in
    an increase of compound annual growth rate (CAGR) of 33% in the projections versus 18%
    historical actual. 39 Mr. Kreitzman fails to address the fact that the historical earnings history is
    grossly inconsistent with the projected future earnings that has a growth rate almost double the
    historical rate of increase. Also, there is no semblance of the “but-for” stand-alone company
    compared to the reality post-merger with the ACB continuing as a segment of an established, and
    successful company in sports industry.

34. The actual ACB revenue for 2017 was $11.2 million and only $1.72 million through June 30, 2018 40
    (note that the full year amount would have to consider seasonal aspects). Using the same percent
    of revenue for the full year of 2017 compared to the six months of January 31, 2017 through June
    30, 2017, the extrapolated total 2018 amount is $14.4 million.

35. The 2013 projections used in the Kreitzman Report include selling into the NFL teams extensively.
    Per Scott Long, the ACB only has two NFL teams as customers, even today. 41 The ACB did have
    17-18 games for Monday Night football under contract since 2013, but also lost ESPN games in that
    period of time. 42 No explanation of the divergence is provided by Mr. Kreitzman.



34 KSE/OC 000413-416. Expert Report of Kevin Kreitzman, MBA, dated September 14, 2018, Table 6.
35 Exhibit 360: KSE/OC:062679-062680.
36 Exhibit 363.

37 KSE/OC 000415.

38 Ibid.

39 Calculated based on the actuals used in Table 5 of the Kreitzman Report. KSE/OC 000414.

40 Exhibit 363.

41 Rule 30(b)(6) Deposition of Scott M. Long, Kroenke Sports & Entertainment, LLC, dated September 5, 2018,

44:19 to 44:24.
42 Ibid., 49:24 to 50:13.




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36. Historical margins were declining between 2004 and 2012 43, from a high of 66.1% in 2007 to 39.3%
    in 2012, reflecting an erosion to the gross margin even as the revenues increases. However, the
    projections in the Kreitzman Report reflect increasing gross profit margins from 40.8% in 2013 and
    46.2% in 2018 44. No explanation is provided as to these conflicting trends in gross margin
    historically compared to the future estimated performance.

37. Adding to the speculative nature of the economic damages in the Kreitzman Report is the fact that
    much of the value allocated to Mr. Salomon is based not on the equity he may have had at the time
    of the purchase but on shares and options he might have received, based on his proposal, in the
    future. This compounds the unreliability of the analysis. PNC and Mr. Salomon never agreed on
    the “Newco” equity structure for the purchase of the ACB, let alone any shares and options that
    might have been allocated in the future.

38. The Federal Rules of Civil Procedure require an expert to provide his or her opinions and the bases
    therefore. There are many examples where we have been unable to determine the basis for Mr.
    Kreitzman’s projections and analysis, including the calculation of capital expenditures and
    working capital. These amounts are taken from the projections of Mr. Salomon, but based upon
    the limited explanation of the calculations, we cannot recalculate the amounts.

39. Mr. Kreitzman removes the KSE overhead charge from the projections without any substantiation
    as to his understanding of the nature of the services that were provided benefitting the ACB and
    what a stand-alone “Newco” would require to cover those same services.

40. Prior to 2018, legal fees are reimbursed by insurance at 85% and the reimbursement is reflected in
    the historical amounts. However, as of June 30, 2018, the year to date legal, accounting and
    professional fees is $834,000 45 which is overstated compared to prior years because no insurance
    reimbursement is reflected. Mr. Kreitzman does not reflect any analysis of this fact nor provide an
    adjustment in his analysis.

41. Table 5 in the Kreitzman Report refers to revenue, gross profit, and EBITDA as “recurring”. No
    description of recurring expenses is provided. Mr. Kreitzman does not provide information on
    why he has limited his analysis to “recurring” and if there are any “non-recurring” expenses to
    consider.

42. The selected tax rate in the valuation analysis has significant impact on the resulting value. One
    scenario of the valuation in the Kreitzman Report uses a tax rate well below 40% based upon an
    effective tax rate for entertainments services companies, while most corporations in the United
    States face a marginal corporate tax rate of up to 40% or greater after consideration of Federal, state
    and local taxes. A corporation may pay an effective tax rate significantly below 40%. The lower
    rate would be driven by a number of company specific factors. For example, a company with

43 Expert Report of Kevin Kreitzman, MBA, dated September 14, 2018, Table 5. KSE/OC:000414.
44 Expert Report of Kevin Kreitzman, MBA, dated September 14, 2018, Table 6. KSE/OC:000415.
45 Exhibit 363.




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      global operations may have income taxed at different rates in different locales; a company may
      receive tax credits or benefit from offsetting taxable income with net operating losses; or realize a
      reduction in taxes due to tax benefits of depreciation or amortization, all of which would vary by
      company and the impact of which may only be for a finite period of time. The Kreitzman Report
      relies upon the data from the Damodaran online without any further diligence to assess whether
      the selected tax rate is applicable in this case. Further, it is noted on the Damodaran website that
      “In valuing a firm, should you use the marginal or the effective tax rates? If the same tax rate has to be
      applied to earnings every period, the safer choice is the marginal tax rate because none of the reasons noted
      above can be sustained in perpetuity” 46.

43. Mr. Kretizman estimates a Weighted Average Cost of Capital (“WACC”) to apply in present
    valuing the cash flows with the discounted cash flows analysis. In estimating a WACC, the Capital
    Asset Pricing Model (“CAPM”) is one method used to determine the estimated cost of equity. In
    using this approach, a valuation appraiser will typically give consideration to a “small – stock
    premium” and “size premium”, to reflect the impact of the size of the business on the risk of the
    cash flows. It should be noted that typically size premiums are used most often by valuation
    analysts, to reflect the excess returns required on smaller securities after accounting for the
    systematic risk captured in the beta. 47 Data on size premiums is published in the Ibbotson SBBI
    Valuation Handbook and provides estimated size premiums determined by the company’s equity.
    The Kreitzman Report shows no consideration of such data and the impact an appropriate size
    premium would have on the estimated WACC. In this calculation, the small stock premium
    usually refers to the size of the business, but he provides no explanation for the use of the small
    stock premium considering that the use of the business size may have increased the rate.

44. The Kreitzman Report does not reflect adequate consideration of a company specific risk premium
    required in valuation standards to capture unsystematic risks of the particular industry and/or the
    company, including projection risks. Projection risks would include risks inherent within the
    forecast which may include, but not be limited to, risk in acquiring market share, achieving stated
    revenue through new customer acquisition and strategic partnerships and alliances, and achieving
    margin growth through operating efficiencies and fixed cost leverage.

45. There are multiple methodologies that can be considered to estimate the cost of equity in
    calculating the WACC, or to help corroborate the estimated WACC. No other approaches to
    calculating WACC were considered by Mr. Kreitzman. Further, venture capital rates of return can
    also be relied upon to assess risk and return commensurate with the stage of the business.
    Indicated venture capital rates of return vary from 20% up to 100% depending on the stage of
    development 48. In other words, Mr. Kreitzman describes the ACB as an “emerging business” and it
    was to be funded by private equity. A much higher discount rate would be indicated by such
    analysis, reducing the damages in all scenarios.

46 http://pages.stern.nyu.edu/~adamodar/New_Home_Page/valquestions/taxrate.htm
47James R. Hitchner, “Financial Valuation, Application and Models”. 3rd Edition. Pg. 202.
48Valuation of Privately Held Company Equity Securities Issued as Compensation, Practice Aid, Working Draft, 2012,

American Institute of Certified Public Accountants, p. 114.


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46. The Kreitzman Report uses the Lazard Freres report without having sufficient information to
    evaluate its appropriateness for use in a damage quantification. 49 Without the Lazard Freres
    report, no analyst would have sufficient information to assess the assumptions included therein.
    Absent that information, it is inappropriate to consider it to value any economic damages in this
    matter.

47. The offer by PNC and Mr. Salomon should be the most relevant valuation to be used in estimating
    any purported economic damages in this case as it was prepared contemporaneously with
    information available at the time, and was made by Mr. Salomon as then President of the ACB.
    The offer was up to $4.05 million, including $3.65 million at closing, and potential litigation and
    royalty payments as described in the Term Sheet. Although the offer was included in one of Mr.
    Kreitzman’s damage analyses in his report, he does not give it any more significant weight than
    the other scenarios. Additionally, the 2013 offer was not the only one made by Mr. Salomon; in
    October 2008 he provided an offer of only $2 million for the ACB.50 Mr. Kreitman does not consider
    this fact.

48. The AICPA practice aid on the Valuation of Privately-Held-Company Equity Securities Issued as
    Compensation (the “AICPA Practice Aid”) provides guidance on estimating the fair market value
    of common stock of private companies. The AICPA Practice Aid indicates that the Black Scholes
    option-pricing method (“OPM”) is most appropriate in situations in which the enterprise’s value
    depends on how well it follows an uncharted path through its various opportunities and
    challenges. However, proper consideration needs to be given to the capital structure of the
    business and the rights and preferences of each share class. The OPM treats the securities in a
    company’s capital structure as a series of call options on the enterprise’s value, with exercise prices
    based on the liquidation preferences and conversion values of the securities. Value is allocated to
    the subject interest based upon the order of liquidation and the resulting incremental call option
    values. It is unclear in the Kreitzman Report how the order of liquidation and rights and
    preferences of each share class are considered. Further, given that the equity structure was never
    finalized, it is speculative to use any method, as there is uncertainty in what the rights and
    preferences would be for each share class, a key assumption to allocating value. Inconsistent with
    Federal rules, no information is provided by Mr. Kreitzman that allows us to recreate his analysis
    from his report.




49   Expert Report of Kevin Kreitzman, MBA, dated September 14, 2018, paragraphs 72 to 75 and tables 16 to 18.
50   SALOMON500073.


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Opinion 4 - The disgorgement of Outdoor profits in any amount, let alone of $58.14 million,
has not been established, through the necessary fundamental business valuation or forensic
accounting analysis by Mr. Kreitzman with a reasonable degree of certainty given that there
is no analysis of the factors that would be required before rendering such an opinion. It
assumes disgorgement would be an available remedy, and is based on a thoroughly flawed
premise that the entire increase in purchase price between InterMedia’s first offering price
and KSE’s last was due to the ACB. Additionally, the methodology premise is also flawed
completely since the increased offering price for the merger did not benefit Outdoor, but
the shareholders who held the stock at the time of the transaction, so there was no benefit
by Outdoor which could be disgorged. This renders the opinion speculative and unreliable.
It also does not reflect in any way the profits achieved post-merger with KSE.

49. Mr. Kreitzman’s short articulation for the $58.14 million disgorgement amount is based upon the
    difference in sales price between the original InterMedia agreement for $8 per share and the KSE
    merger agreement for $10.25 per share. The InterMedia agreement purportedly “respected the sale
    of the Aerial Camera Business” 51 presumably referring to the hypothetical “Newco” to be created
    by PNC and Mr. Salomon. Meanwhile the KSE merger agreement, according to Mr. Kreitzman,
    included all of Outdoor, including its subsidiaries. Therefore, Mr. Kreitzman attributes the entire
    increase of $2.25 per share to the ACB. The total amount of this difference on 25.84 million shares
    equals the $58.14 million in additional profits according to the Kreitzman Report.

50. The Kreitzman Report fails to provide any analysis of the competing offers and what differences
    drove the value by either party. There are no valuations to evaluate what those drivers were.
    These additional steps are necessary to determine the appropriateness of the methodology.
    Without the analysis, there is no basis on which to use the methodology because he has not
    established a causal link between the alleged wrongful actions and the economic damages
    calculated.

51. Mr. Kreitzman also provides no such analysis or understanding of the factors driving the $8 or
    $10.25 per share value by InterMedia and KSE, respectively, nor the other offers that were made
    throughout the negotiation period. Based on the limited description provided by Mr. Kreitzman,
    the only difference he assumes is the inclusion or exclusion of the ACB and without explanation
    infers that the ACB drives the entire difference. By doing so, Mr. Kreitzman fails to recognize facts
    and data that indicate that the difference in the values is not related to the ACB.

52. Mr. Kreitzman’s flawed analysis compares the original bid of $8.00 per share to the $10.25 per
    share bid by KSE to determine his disgorgement amount. However, he failed to take into account
    that on May 3, 2013 InterMedia increased its offer to $9.75 per share 52. Given that Mr. Kreitzman’s
    logic, however flawed, is that the InterMedia offer excluded the ACB, it would have consistently


51   Expert Report of Kevin Kreitzman, MBA, dated September 14, 2018, paragraph 81.
52   Schedule 14A, May 6, 2013, Outdoor Channel Holdings, Inc.


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      excluded it in the $8.00 and $9.75 per share offers. Therefore, InterMedia increased its offer by 22%
      without any change in the assumptions related to the ACB.

53. Another flaw in the disgorgement of Outdoor profits is that Outdoor itself did not receive the
    benefits which the Kreitzman Report seeks to disgorge. The proceeds of the transaction price at
    any level inured to the shareholders of Outdoor, at the time a partially publicly traded company
    with 41% of the shares held private. Therefore, there is no basis for the opinion since the benefit to
    disgorge any amount related to an increased offering price does not exist.

54. The ACB was a very small business segment within the total stock purchase contemplated by the
    InterMedia and KSE offers. It is unreasonable and unsupported to infer that the ACB would drive
    this much difference in values. The data reflects that for the three years prior to the sale of the
    business, 2010 to 2012, the ACB division was only 11%, 12% and 16%, respectively, compared to
    total Outdoor Channel revenues. See Table 3 below for the ACB revenues compared to the
    Outdoor revenues.
                                         Table 3 - ACB and Outdoor Revenues


                             Year                                               % of Total
                            Ended            ACB                Outdoor         Outdoor
                             2010 53          $ 9,140,000   $    83,342,000          10.97%
                             2011   53         8,663,000         71,855,000          12.06%
                             2012 54          12,018,000         77,322,000          15.54%


55. To further illustrate this point, James Martin, President and CEO of KSE, testified that he never
    even discussed the term sheet for the sale of the ACB with Mr. Kroenke because it was not
    material. 55 In response to a query to Roger Werner, Outdoor CEO until January 2012, regarding
    his interest in investing with Mr. Salomon and PNC, he indicated that his interest was not
    particularly high because the ACB was a low margin, capital intensive business that was
    challenging. 56

56. Despite the inference by Mr. Kreitzman that the ACB drove the increase in offers by the two
    competing companies for the stock of $58.14 million, evidence indicates that there was no
    valuation done of the ACB during the period from February 27, 2013 to May 16, 2013. 57 If in fact
    the ACB was the driver to the offers being made, it is unlikely a valuation would not have been
    performed.




53 Form 10-K, December 31, 2011, Outdoor Channel Holdings, Inc.
54 Form 10-K, December 31, 2012, Outdoor Channel Holdings, Inc.
55 Deposition of James A. Martin, dated August 30, 2018, 85:15 to 86:5.

56 Deposition of Roger Werner, dated June 7, 2018, 68:7 to 69:4.

57 Rule 30(b)(6) Deposition of Scott M. Long, Kroenke Sports & Entertainment, LLC, dated September 5, 2018,

119:25 to 120:15.


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57. Absent a valuation of the ACB at the time, Mr. Kreitzman could have considered the bids which
    were submitted in an effort to purchase the ACB. PNC and Mr. Salomon, with the access to
    contemporaneous information at the time, submitted a bid valuing the purchase of up to $4.05
    million. 58 Other contemporaneous offers included offers from Aspen Group on February 24, 2013 59
    and SF Captial Group on February 26, 2013 60. Both of these offers were for $4.5 million. No
    explanation or reconciliation is provided in the Kreitzman Report for the 13 to 14 times increase in
    value in the purchase by KSE.

58. During the course of this proceeding, Mr. Salomon requested and received in response to his
    interrogatories a chart of EBITDA and Unlevered Free Cash Flow for the years 2009 through 2017.
    For pre-sale period (2009 through 2012), cumulative EBITDA and Unlevered Free Cash Flow was
    ($2,323,000) and ($5,613,000), respectively. Post sale for the period 2013 – 2017, the cumulative
    EBITDA and Unlevered Free Cash Flow was $5,568,000 and $212,000 respectively. Mr. Kreitzman
    does not explain how such a low performing company could create $58.14 million of value to
    Outdoor.

59. Mr. Kreitzman’s failure to consider these factors does not establish a causal link on which Mr.
    Kreitzman can establish any amount under disgorgement, and there certainly is no substantial
    analysis to support the sum of $58.14 million. In fact, the evidence within the Kreitzman Report
    for the purported value of the ACB in the benefit of the bargain damages section of his report,
    which is itself flawed and unreliable, is completely inconsistent with this amount, reflecting no
    more than $1,023,809 61.




                              ______________________________________________

                                                  October 12, 2018




58 Exhibit 302: KSE/OC:000947-000950.
59 Deposition of Thomas D. Allen, dated June 20, 2018, 43:14 to 45:8. And related exhibit number 122.
60 Ibid., 48:21 to 49:24. And related exhibit number 123.

61 Expert Report of Kevin Kreitzman, MBA, dated September 14, 2018, paragraph 7.




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                           KARYL M. VAN TASSEL, CPA
                           Managing Director

                           EXPERIENCE
                           Karyl Van Tassel, Managing Director in the Houston office of BDO, has over thirty years of
                           experience providing dispute and investigative services. She works with clients to
                           address financial damages, forensic accounting, economic and valuation challenges they
                           face in a wide variety of litigation and investigation matters including securities,
                           intellectual property, breach of contract, antitrust, lender liability, fraud, forensic
kvantassel@bdo.com         accounting and wrongful terminations.
Direct: 713-407-3878
Mobile: 713-504-8778       Karyl has a proven track record of working with clients to deliver high-value solutions to
                           their most complex litigation and financial challenges. Audit committees and companies
2929 Allen Parkway, 20th   have retained her to assist in investigating allegations of accounting and financial
Floor                      improprieties. She has appeared before the Department of Justice and the Securities
Houston, Texas 77019       and Exchange Commission to deliver investigation findings. Court appointed receivers
                           have also relied on her to provide financial consulting services.
Tel:    713-960-1706
Fax:    713-960-9549       Prior to joining BDO she held various positions at international accounting and consulting
www.bdo.com                firms, including as a partner at PricewaterhouseCoopers (PwC) in the Advisory Forensic
                           Services practice where she was also the Forensic Energy Sector leader based in
                           Houston. Prior to joining PwC, she was a Senior Managing Director in the FTI Consulting
                           Forensic and Litigation Consulting practice. She was a former partner in KPMG’s Forensic
                           Dispute Advisory Services practice as well. Early in her career she provided audit and
                           tax services to oil and gas companies, manufacturing facilities, high technology
                           companies, auto dealerships, construction clients and governmental agencies. Karyl has
                           also provided accounting services and investment analysis to financial institutions.
                           Forensic Accounting
                           • Retained by court appointed receiver in one of the largest alleged Ponzi schemes in
                             the U.S to lead the forensic accounting investigation and data preservation efforts.
                             Led a team of over 100 professionals from the inception of the receivership to
                             identify assets of the financial institution and more than 100 related companies, trace
                             cash movements between the entities, monetize assets for investors, as well as to
                             preserve information, data and assets of the estate. She assisted in the establishment
                             of the claims process for several thousand investors. Assisted various regulators
                             including the DOJ, SEC, IRS, and US Postal Service among others by providing
                             information obtained during the course of the investigation. Provided over forty
                             declarations and affidavits in cases pending in several domestic and foreign
                             jurisdictions. Provide testimony in deposition and hearings related to sources of
                             assets, the characteristics of a Ponzi scheme, cash tracing and sources of funds within
                             the various organizations.
                           • Retained by court appointed receiver to investigate and track $85 million of funds
                             embezzled by the CFO of a Texas energy company. Searched the company records to
                             determine the amount of the embezzled funds, and determine the various schemes
                             used to remove the funds from the company. After tracing the amount removed from
                             the company, then traced assets through multiple shell companies and personal bank
                             accounts, utilizing accounting information and electronic data obtained through
                             email, hard drive and server sources. Worked with receiver on monetizing assets
                             recovered.

                           BDO USA, LLP, a Delaware limited liability partnership, is the U.S. member of BDO International Limited, a UK company limited by guarantee, and forms part of
                           the international BDO network of independent member firms. BDO is the brand name for the BDO network and for each of the BDO Member Firms.

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• Performed various forensic “audits” based upon contract requirements, regulatory requirements, and/or
  standard industry practices for energy sector clients. These involve preparing direct expert and rebuttal
  reports, and testifying in arbitration and trial. These involve royalty disputes, analysis of joint interest
  billing (JIB), take or pay contracts, as well as other contract and regulatory issues.
• Involved in various investigatory matters related to compliance with Foreign Corrupt Practices Act (FCPA),
  including assisting a monitor appointed under a deferred prosecution agreement of a company to analyze
  accounting and internal control procedures. Prepared work plan for compliance testing and directed site
  visits, conducted interviews and assisted in preparing report of findings. As a result of our work, have
  reported to head of enforcement at the Department of Justice. With the three-year term of the
  monitorship, have ongoing responsibilities for follow up with the company and oversight of responses to
  monitor’s requests and reported findings, as well as follow up site visits for each year.
• Retained by audit committee of a drilling company to investigate issues related to potential FCPA
  violations. One issue involved potential payments by the company to paramilitary groups in a Latin
  American country for protection of its rigs against attack. Work involved determining whether payments
  were made by false invoices from an authorized vendor, the authenticity of the endorsements and bank
  accounts used for payments to these vendors, and the background investigatory work to determine ultimate
  recipient of funds. Additionally, investigated payments made in a West African country to a freight handler
  and potential governmental authorities. Analyzed invoices and payments, traced cash used to fund
  payments to the various entities to determine source of the funds, determined completeness through
  general ledger testing, and compiled findings for reporting to the Department of Justice.
• Retained by the audit committee on matters related to allegations of round trip trading in the energy
  industry. Assisted in providing multidisciplinary teams to extract data, analyze trades, document risk
  management practices and analyze appropriate accounting treatment, including potential restatement.
  Reports provided to audit committees to assist them in responding to SEC inquiries and investigations.
• Retained by company to perform analysis of costs incurred for provider of energy in submitting a claim in
  the refund of overpayments related to the California power settlements. Reviewed regulatory filings to
  determine if costs and methodologies complied with FERC guidelines and state mandates. Analyzed source
  documents as well as documenting the methodology utilized for compiling the information.
• Retained by counsel for a special committee of a publicly traded software company to investigate
  allegations of potential backdating of stock options. Led a team of accounting and electronic evidence
  personnel to assist in acquiring and analyzing written and electronic information related to the stock option
  process and individuals involved. Worked extensively with counsel analyzing accounting issues related to
  measurement dates and the appropriate accounting of stock grants for new hires, new account acquisition,
  employee ranking, compensation in lieu of cash, and sales incentive plans. Analyzed appropriate accounting
  treatment and estimate of annual financial impact based upon alternative measurement dates. Reported
  results to Board of Directors and auditors of the company.
• Retained by the audit committee of an electronics company to investigate allegations by the SEC related to
  revenue recognition issues, overstatement of inventory and property, plant and equipment and self-dealing
  by top level executives. Company eventually settled with the SEC and announced restated financial
  statements.
• Analyzed historical rates of return for a variety of mutual funds and equity investments to determine the
  impact of various investing options related to the assets of a trust. Compared actual returns to several
  indices to determine the difference and the potential damages allegedly incurred by the trust.
• In a securities matter related to the mining industry, analyzed the impact of the accounting and financial
  disclosures on the stock of a company. Analyzed various returns on equity investments for guideline
  companies in the industry as well as equity indices to measure impact of announcements and disclosures on
  the company stock.




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• Retained by a hospital chain to analyze billings to Medicaid and insurance providers to determine if billings
  were appropriate based upon contractual provisions and consistent with the patients file and diagnosis.
  Worked with multidisciplinary team to consisting of computer specialists to retrieve data, database
  specialists to analyze information and medical personnel to review medical files.
• Retained to analyze various factors and transactions in matters asserting alter ego claims. Involved in a
  variety of matters where we provided detailed analyses of corporate governance, financial operational and
  control factors to determine the extent to which the information would indicate the existence of separate
  entities.
• Involved in analyzing various complex financial and accounting transactions regarding alleged improprieties
  in a variety of industries, either for internal investigations or litigation.
• Analyzed accounting treatment of revenues and related party disclosures for a defendant in a securities
  matter. Software company allegedly had overstated revenues by inappropriate application of accounting
  principles and improperly disclosed various related party transactions.
• Analyzed and traced assets between various related and affiliated companies, which involved complex
  accounting treatments. Traced cash and other assets to offshore companies. Testified in hearing for
  contempt of court regarding the disposition of certain cash receipts subsequent to the issuance of a
  temporary restraining order that limited the transfer of assets.
• Analyzed the alleged fraudulent activities of two major auto body repair shops for an insurance company.
  Determined the overall profitability of the auto body repair shops compared to the industry as a whole.
  From a large production of documents, also determined the availability of financial documents from the
  body shops, and their relationship to and substantiation of the results of inspections performed on vehicles
  after the repairs were completed. Assisted the economist in regard to the total business conducted over a
  15-year period and extrapolated sample results to the entire population.
• Retained by a lender to the defendant in a case involving an alleged Ponzi scheme in the computer
  hardware industry. Analysis included determining the flow of transactions in the company between actual
  business operations and alleged fraudulent activities. Utilized large-scale database application to track
  transactions within the company, to the bank and to the potential investors. Analyzed the companies
  banking transactions to determine if the bank had allowed a “float” on the account, which the trustee
  alleged to be an additional loan to the company from the bank. Engagement resulted in settlement with
  company trustee.
• Analyzed the billings of a construction company related to the renovation and partial construction of a
  residence. Analyzed application of percentage of completion in monthly billings to determine overcharges
  throughout a three-year construction period.
• Analyzed the costs of producing a compact product for shipping hazardous materials. Determined if
  improper allocations were made based upon cost accounting theories, resulting in overcharging to clients.
Energy Industry
Having led forensic and dispute practices in both Denver and Houston, Ms. Van Tassel’s thirty-year career in
accounting and consulting has continually focused on the oil and gas sector, including global integrated oil and
gas companies, oil field services, refineries, petro-chemical and mid-stream companies. She has provided
auditing, consulting, expert witness and investigatory services for the industry.
• Early in her career, she audited various oil and gas companies, involving knowledge of oil and gas
  accounting in all facets of the audit. Stemming from this audit experience and with knowledge attained by
  subsequent accounting matters, she has also provided consulting and expert witness services on accounting
  issues, including COPAS, Generally Accepted Accounting Principles (GAAP), International Accounting
  Standards (IAS) and International Financial Reporting Standards (IFRS).




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• Throughout her career, she has been retained by major independent oil and gas companies to analyze
  royalty claims brought by various leaseholders on properties in Louisiana, Oklahoma, Texas, Kansas and
  Colorado.
Select case examples include:
• Analyzed joint-interest-billing processes, controls and accounting to determine whether sufficient systems,
  policies and procedures were in place to provide accurate JIB accounting for multiple parties.
• Analyzed the costs related to gas gathering systems in a dispute by joint venture partners related to
  technical system issues.
• Analyzed economic damages and provided financial analyses in many contract disputes for oil and gas and
  related companies including take or pay contracts, gas contract price revisions and JIB accounting issues.
• Analyzed damages sustained by a company due to imbalances in production of petro-chemicals. Provided
  various analyses regarding different economic outcomes based on proposed business settlements between
  the parties.
• In the Eagleford shale play, retained by global energy company to analyze contractual agreements with
  joint venture partners related to thousands of leasehold interests, including costs to obtain leases, drilling
  and operation costs, royalty payments and tracing cash distribution.
•    Provided services to major energy company in regards to the issues in the California energy grid cases for
    compliance with regulatory issues and allegations of impropriety in delivery contracts.
• Consulted with companies on managing and implementing systems to appropriately monitor leasehold
  interests, royalty payments and contractual terms.
• Provided services to various companies and boards of directors related to round trip trading in the oil and
  gas industry, including analyzing back, middle and front office practices to determine potential control
  weaknesses and volume of potential “round trip” transactions and impact on financial reporting. Presented
  findings to the Department of Justice and Securities and Exchange Commission.
• Performed an investigation into the accounting for oil and gas reserves by a major independent upstream
  oil and gas company.
Contract Disputes
• Analyzed payments made under agreements between joint venture partners or under third party contracts
  for the pricing of natural gas, oil, chemicals, feedstock and other products in the energy sector.
• Analyzed the payments made under a treaty whereby client ceded obligations under a reinsurance
  agreement in the variable annuity business. The allegations involved whether the contract was wrongfully
  terminated if underpayment of premium had not been made by insurance company to reinsurer. The issues
  involved included obtaining an understanding of the payment terms for the reinsurance coverage over an
  extended period on reinsurance of the guaranteed minimum death benefit of variable annuity life
  insurance policies. Led a multidisciplinary team working with large volumes of transactions data. Team
  included data analysis and electronic discovery specialists for the extraction of data over an extended time
  period with millions of transactions. Also, worked with actuaries to understand variables assumed in their
  analysis of the book of business and with underwriters to understand policies and procedures. Testified in
  arbitration that client had not underpaid over the period of time at issue in the matter.
•    Analyzed the economic damages in a breach of contract and tort matter between client insurance
    company and a third-party administrator. Analyzed the damages alleged by plaintiff’s damage expert and
    provided rebuttal analysis of damages. Issues in the damage calculation related to valuation of a book of
    business for dread disease policies and calculation of amounts owed under a contract.




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• Analyzed the economic damages sustained by an investor in a failed joint venture in a urea plant in
  Columbia. Opinion included a valuation of the business enterprise as of the date of the alleged breach,
  involving various analyses of the urea market, the prospective operation results and ability to attract
  lenders.
• Analyzed the lost profits sustained by a petrochemical company related to an alleged breach of a joint
  venture/operations agreement. Issues related to imbalance in the manufacturing facility due to
  inappropriate levels of various feedstock to the plant. Inability to maintain contracted levels of product
  forced inefficient plant operations, decreasing profitability.
• In a breach of contract dispute, analyzed the economic losses sustained by the creator and distributor of
  personal care products. Analysis included working with a marketing expert to determine effects of
  demographic differences of consumers on buying habits and its impact on the subject company’s profits and
  long-term viability.
• Analyzed the economic damage claim of a producer of accounting software. Provided testimony with regard
  to the out-of-pocket costs incurred for an internally developed product, which was used to replace the
  component, which the defendant did not deliver. Also analyzed the lost profit damages under a first to
  market theory.
• Analyzed the lost profits of a used car dealership related to a breach of contract. Analyzed industry margins
  compared with subject and other market conditions.
• Analyzed the economic damages of an exclusive distributor of sporting good products due to product
  defects. Calculated the economic impact to the distributor over an eight-year period, including lost profits,
  carrying costs of inventory and other incremental costs. Project necessitated analyzing the performance of
  over forty products and determining the cause factors impacting the diminution of profits.
• Determined the lost profits allegedly sustained by a provider of programming to the hotel industry, related
  to a breach of the right of first refusal for a satellite transponder. Coordinated industry experts in various
  areas including hotel/motel management, advertising, consumer demands, economic trends, cable
  programming and venture capital availability to analyze the feasibility of the programmer's claim.
• Calculated the economic damages, including lost profits and incremental expenses, in the largest asbestos
  case in Colorado for a major suburban shopping mall.
• In a contract dispute, determined the value of the restaurant operations included as part of a major
  Colorado ski resort. Analyzed market trends and restaurant industry comparables for use in the valuation.
  Also used industry information to benchmark against actual results, to determine management
  effectiveness.
• Analyzed the value of a franchise fast food establishment related to a breach of contract. Engagement
  included analyzing various offering circulars for franchises to determine relevant value drivers for similar
  franchises. Analyzed demographic data related to California communities included in franchise agreement.
• Analyzed a lost profit claim related to a chain of fast food restaurants in a breach of contract matter.
  Analyzed store-by-store financial metrics to determine average store results compared to subject stores.
  Analyzed economic and demographic trends in areas adjacent to subject stores.
Intellectual Property
• Analyzed the economic damages allegedly sustained by companies alleging theft of trade secrets in the
  energy, high tech manufacturing, and telecommunications sectors. Calculated losses on a variety of bases
  based upon the circumstances of the case including the Plaintiff’s losses, Defendant’s profits (unjust
  enrichment), reasonable royalty and other methods for payment of property misappropriated. Performed
  detailed analysis of client overlaps, working with industry experts as needed.
• Analyzed the economic damages sustained by a construction product manufacturer due to an alleged
  patent infringement. Also analyzed the lost profits of the defendant company in a counterclaim for breach
  of contract. Analyzed market potential for the product, impact of non-infringing substitutes, marketing and
  distribution channels and other factors impacting sales volume and expenses.
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• Analyzed the economic damages sustained in a patent infringement matter by an inventor in the sporting
  goods industry. Detailed analysis including addressing Georgia Pacific factors related to determining a
  reasonable royalty. Opinion included market royalty rates, royalty rates on other company products,
  incremental gross profit on patented property, and profit split method.
• On a consulting basis, analyzed the damages of a producer and global marketer of rubber-based products.
  Allegations included patent infringement trademark infringement, copyright violations, theft of trade
  secrets and fraud. Claim for damages exceeded $1 billion. Working for the defendant, analysis included
  impact of market and distribution channels on lost profits as well as reasonable royalty calculation.
• Analyzed the economic damages of one of the largest software companies in the world related to a patent
  infringement case. Analysis included determining product gross profitability for those alleged to have
  infringed the property. Also assisted in analyzing the appropriate royalty rate and allocating the revenue to
  the patented and nonpatented features of the product. Case settled for $100,000,000 less than claim.
• Analyzed the damages in a patent infringement matter related to modular cells for prison units.
  Engagement included a detailed analysis of a reasonable royalty, based in part upon the Georgia Pacific
  factors. Reasonable royalty was based upon market derived data, established rates by licensor and
  licensee, prior licensing history between the parties and analytical analysis of various profit measures.
• Analyzed value of patented technology for various biomedical devices held by a company for a potential
  acquisition. Analyzed the patented and nonpatented products to determine synergies and purchase drivers
  between the products since only a portion of the portfolio of products was to be purchased. Also
  considered impact of governmental approval process on value of patented properties that were still in
  clinical trials. Determined range of values based upon reasonable royalties obtained in the market place
  and from other analytical measures.
• Analyzed the value of patented technology in a laser device used for noninvasive surgeries and dental work
  for a transfer to an off-shore entity for tax purposes. Engagement included analyzing the profit stream from
  the laser device as well as market derived rates.
• Analyzed the range of reasonable royalty for physicians developing a drug for cancer treatment. Patented
  property was related to improving efficacy of radiation treatments. Using analytical data and market
  derived rates, assisted in negotiating license with a biotechnology company.
• Analyzed the economic losses in a matter involving the alleged infringement of trademarks for a line of
  personal beauty products. Testified for the defendant in deposition regarding the economic damages
  sustained as well as presented counter claim testimony. Issues included analyzing relevant markets for
  personal care products, product survey information regarding product characteristics influencing buyers’
  decisions, internet advertising, and product distribution channels for impact on damage analysis. Case
  resolved in settlement.
• Analyzed the lost profits sustained by the developer of a sporting good product resulting from an alleged
  trademark infringement. The economic damages were calculated both as the lost profits of the developer
  of the product based upon its own historical results as well as analyzing the profits of the alleged infringing
  entity. Also analyzed damages related to the cost of corrective advertising in conjunction with an
  advertising expert.
• Testified for the defendant in an injunction hearing regarding the nature of the advertising revenue as the
  primary source of income, the overlap in advertising between the “webzine” and magazine and the
  potential impact on economic damages. Case related to an alleged trademark infringement by a “webzine”
  of a magazine title.
• Analyzed damages of plaintiff related to disparagement of Ameritech Corporation’s management of the
  alarm company post-acquisition. The case related to the alleged infringement of a trademark for a burglar
  alarm company purchased by the plaintiffs. Analyzed detail records of clients for overlap caused by clients
  subscribing to the defendant company due to disparaging information supplied to Ameritech clients in
  violation of a non-compete agreement as well as infringing use of trademarks.


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• Performed royalty examinations for a multinational software company. Supervised multilingual and
  disciplinary teams to perform royal “audits” in several countries and domestically. Developed regular
  maintenance program for ongoing audits of contracts on a scheduled basis. Resulted in recovery in excess
  of $10,000,000 and assisted in favorable renegotiations with joint venture partners.
• Performed a royalty examination in a dispute between a software producer and distributor. Calculated the
  economic damages allegedly sustained by the software producer due to the alleged under reporting of
  software sales. Testified in arbitration regarding the results of our findings.
• Performed royalty examinations of five different licensees under contract “audit” rights for a developer of
  software. Worked with clients and licensees to resolve disputes, recovery of more than $1,500,000, and
  renegotiation of contracts.
Insurance Claims
• Analyzed the claim by a hospital related to the flooding of the facility. Engagement involved detailed
  analysis of the impacted departments and the financial impact of substituting less profitable services for
  higher margin services due to inability to provide full service medical operations. Also analyzed specific
  incremental staff costs incurred during the flood and cleanup period.
• Analyzed and assisted in preparing the claim of a large food manufacturer related to an explosion and fire
  in its primary manufacturing facility. Claim exceeded $100 million, which was settled expeditiously.
• Assisted risk management officer in analyzing a claim related to a fire at a resort community. Claim
  involved business interruption for a variety of resort functions as well as property losses.
• Assisted in preparing the claim for a large training facility related to computer outages from lightning
  strikes. Analyzed business interruption claim and collateral losses. Claim eventually was settled in
  litigation.
• Assisted in claim related to a power outage for several businesses related to extended power outages
  related to a major train derailment.
Post-Acquisition Disputes
• In a post-acquisition dispute, analyzed the results of certain long-term contracts obtained as part of a
  purchase of an international engineering firm. Analyzed the accounting treatment and financial results of
  the contracts, both pre- and post-acquisition, and the impact on the valuation of the business.
• Analyzed the lost profits due to alleged fraudulent misrepresentations in a purchase of a restaurant chain.
  Analysis included store-by-store data of prospective revenue and profitability, compared to those actually
  achieved. Analyzed market and economic trends in regions in which the restaurants operated to determine
  impact on profitability and sales from issues unrelated to the alleged misrepresentations.
• Served as an arbitrator in a dispute involving the closing balance sheet working capital provisions of a
  purchase agreement. In the medical insurance industry, analyzed the proposed adjustments to working
  capital including accounts receivable, reserves for losses and contingent liabilities.
• Prepared a claim of working capital adjustment related to the closing-balance sheet provisions of a
  purchase agreement in the computer storage industry. Analysis included inventory accounting, accounts
  receivable and deferred revenue.
• Analyzed the propriety of accounts receivables included in the representations and warranties in the
  purchase of an environmental services company. Allegations involved intentional overstatement of accounts
  receivable later determined to be uncollectible by the purchaser.




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Construction Industry
• Retained by the audit committee of Fortune 500 company to analyze historical accounting issues related to
  accounting for long-term construction contracts. Issued report and had meetings with the SEC to discuss
  findings and accounting issues.
• Analyzed the lost profits to a large engineering firm related to the inability to complete the construction of
  a polystyrene plant in the Middle East. Analysis involved analyzing the percentage of completion methods
  and determining profit at time of invasion, compared to projected profit had the event not occurred. Claim
  was submitted to the neutral arbitrators in Switzerland.
• Provided rebuttal analysis of a $20 million claim for lost profits in a construction claim for an Arkansas
  highway project. Addressed the issues of causation as well as analyzing the underlying assumptions of the
  lost profit claim. The indirect claim for lost profits was dismissed on summary judgment, in part based upon
  our financial analysis of the causation issue.
Telecommunications
• Analyzed the economic damages of a company that terminates traffic for other telecommunications
  companies who provide a variety of services to end-users. In a contract dispute with one of its clients,
  analyzed the lost profits as well as the diminution in the value of the business. Analysis included
  determining network capabilities in regions covered by the agreement during peak and off-peak time
  periods to determine availability of volume due to switching constraints.
• Analyzed the economic damages asserted in a class action matter against a RBOC. Analysis included
  detailed records for thousands of customers asserting held order claims over a six-year time period.
• Downloaded data records related to customer orders, service delivery, billing and customer data. Analyzed
  relevant tranches of class participants and related damages.
• Analyzed payments made by a major telecommunications company to a switching vendor over a five-year
  period of time. Based upon contract terms, worked with the company’s engineers to determine how the
  provisioned switching products impacted the billing requirements under the contract. Analysis related to
  whether charges made by switching vendors were in excess of contract terms. Analysis resulted in multi-
  million dollar settlement with vendor.
• Analyzed payments made by a major telecommunications company to a single source construction vendor.
  Issues related to the propriety of charges incurred compared to services delivered over a period of several
  years. Analysis was used for negotiating a new contract with the contractor.
• In a contract dispute assisted in analyzing the viability of a “C-Block” license holders’ business plan and the
  reasonableness of the company valuation. Researched “C-Block” license auction values and results of
  operation of “C-Block” auction recipients.
• Oversaw an engagement in which 200 competitive local exchange carrier (CLEC) contracts were analyzed to
  extract compliance issues for billing and provisioning by a major telecommunications company. Results
  provided service representatives with information for communication with CLEC’s.
Miscellaneous
• Prepared analyses of lost wage claims, lost profit claims and incremental costs incurred in various personal
  injury matters. Based upon the opinions of rehabilitation specialists and career counselors, prepared
  damage analysis based upon the estimated reduction in worklife expectancy, decreased earnings potential
  or incremental costs incurred related to the alleged injuries.
• Analyzed value of businesses conveyed in pre-bankruptcy transactions related to claims of fraudulent
  conveyance.
• Assisted in economic analyses related to wrongful termination matters, including lost wage and benefit
  claims.


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• Valued the stock of closely held businesses in a dissenting shareholder action, lender liability matter,
  condemnation proceeding and various marital dissolutions.
• Valued the stock of a closely held chain of restaurants for the purpose of spinning off certain restaurants to
  form a new company.
• Valued the stock of the largest oyster processing company in the world for a northwest financial institution.
  The bank had acquired the company through foreclosure and required the valuation as part of its internal
  procedures required to sell the entity to an outside party.
• Valued a 50 percent ownership interest in an alarm monitoring company for a buyout of the partial owner's
  interest.
Publications
• Coauthor of “Calculation of Economic Damages in Commercial Litigation,” Total Tape Publishing Company,
  Tampa, Florida, 1990.
• “Valuing Intellectual Property: The Science and the Art,” The Colorado Lawyer, August, 1997.
Speaking Engagements
Addressed various state and local bar associations as well as other continuing legal education providers on the
following matters:
• Valuation Intricacies
• Financial Statement Analysis and Presenting Financial Data at Trial
• Use of Economic Experts in Commercial Litigation and Case Management
• Valuation Issues in Fraudulent Conveyance Matters
• Valuation in a Cram Down Bankruptcy Proceeding
• Valuation of Businesses in Mergers and Acquisitions
• Valuation of Intellectual Property
• Valuation Issues for Biotechnology
• FCPA/Anti-Corruption Basic Training
• FCPA/Anti-Corruption Due Diligence
• Current SEC/DOJ Recent Developments

PROFESSIONAL AFFILIATIONS
Certified Public Accountant, Texas
American Institute of Certified Public Accountants
Texas Society of Certified Public Accountants

EDUCATION
Bachelor of Science, Business Administration-Accounting                  University of Northern Colorado




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          Summary of Testimony

                    Case                        Case Number                          Year
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       SOURCECORP, Incorporated,                   No.                 Testimony,    2004
       SOURCECORP DMS, Inc.                 76Y1160016303ARN,          Arbitration
       and Information Management           American Arbitration
        Services, Inc. v. Steve Shill,          Association
        Rita Shill, Robin Meyer, and
                Mark Meyer



         David Graben and Frank             03‐08‐648 The District        Trial      2005
        Strickler v. Western Reserve        Court of Wise County,
        Life Assurance Company of            Texas 271st Judicial
       Ohio; Intersecurities, Inc., and            District
              Timothy Hutton


      Rodney Montello, et al v. Alcoa     The U.S. District Court of   Deposition    2006
          Inc., Reynolds Metals             Southern District of
       Company, Bon L. Campo and           Texas Victoria Division
          Tredegar Corporation             Civil Action No: V‐02‐
                                                     84


         Bencor, Inc. v. The Variable         AAA Arbitration          Arbitration   2006
           Annuity Life Insurance
                  Company


         Highland Crusader Offshore       Cause No. 05‐07996 In the    Deposition    2007
        Partners, L.P. et al v. Motient        District Court,
                 Corporation              Dallas County, Texas E‐
                                            101st Judicial District




        Gascoigne Melotte Holdings           In the International      Arbitration   2008
       LLC (U.S.A.), Boumatic LLC          Chamber of Commerce
        (U.S.A.), Boumatic‐Melotte          Court of Arbitration
         SPRL (Belgium) v. Punch
             Technix N.V. (The
             Netherlands), et al


      Fair Isaac Corporation v. Texas     Civil Action No. 4:05‐ CV‐   Deposition    2008
        Mutual Insurance Company             03007 in the United
                                           States District Court for
                                           the Southern District of
                                           Texas Houston Division



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         Summary of Testimony

                    Case                        Case Number             Type of     Year
                                                                       Testimony

       RCA Holdings, Ltd, et al., v.        Cause No. 2004‐02048 in    Deposition   2010
        Commonwealth Insurance                  the 61st Judicial
        Company, et al.                     District Court of Harris
                                                 County Texas

       Arthur R. Hausmann; Arthur           Case Number: SA CV         Deposition   2010
        R. Hausmann P.C. Defined           07‐1436 AHS (MLGx) in
       Benefit Pension Plan; and              the United States
       Arthur R. Hausmann P.C.              District Court, Central
       Defined Benefit Pension Plan          District of California
           Trust v. Union Bank of
        California, N.A. Investment
        Services LLC; The Hartford
        Life and Annuity Insurance
           Company; Christopher
        Montagna; William Fortner;
          Economic Concepts, Inc.
         (“ECI”); and DOES 1‐100

          Ralph S. Janvey, in His          Case No. 3:09‐CV‐0724‐      Deposition   2010
       Capacity as Court‐Appointed          N in the United States
         Receiver for the Stanford          District Court for the
       International Bank, Ltd., et al      Northern District of
         v. James R. Alguire, et al         Texas Dallas Division

        Laura Pendergest‐Holt, et          CaseNo.3:09‐cv‐0724‐N       Deposition   2010
       al. v. Certain Underwriters           in the United States
       at Lloyd’s of London, et al.         District Court for the
                                             NorthernDistrictof
                                            TexasDallasDivision


           Ralph S. Janvey, in His         Case No. 03:09‐CV‐ 0724‐    Deposition   2011
        Capacity as Court‐Appointed         N in the United States
          Receiver for the Stanford         District Court for the
       International Bank, Ltd., et al v     Northern District of
            James R. Alguire, et al          Texas Dallas Division

       In re Stanford International        CaseNo.3:09‐cv‐0721‐N       Deposition   2011
          Bank, Ltd., Debtor in a            in the United States
            Foreign Proceeding              District Court for the
                                             Northern District of
                                            TexasDallasDivision


           Ralph S. Janvey, in His         Case No. 03:10‐cv‐ 01973‐   Deposition   2012
        Capacity as Court‐Appointed         N in the United States
          Receiver for the Stanford         District Court for the
      International Bank, Ltd., et al v      Northern District of
       Dillon Gage Inc. of Dallas and       Texas Dallas Division
              Dillon Gage Inc.

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         Summary of Testimony

                    Case                       Case Number             Type of         Year
                                                                      Testimony

           Securities and Exchange             Administrative          Testimony       2013
       Commission v Daniel Bogar,            Proceeding File No.
       Bernerd E. Young, and Jason            3‐15003 before the
                 T. Green                       Securities and
                                           Exchange Commission
                                            of the United States
                                                 of America



             Ralph S. Janvey, in his         Case No. 3:11‐cv‐         Deposition      2014
                Capacity as                   00297‐N‐BG in
             Court‐Appointed                    the United
          receiver for the Stanford           States District
       International Bank Ltd., et al.         Court for the
          and the Official Stanford             Northern
        Investors Committee v. Peter         District of Texas
                 F.Romero                    Dallas Division

       Ralph S Janvey, In his capacity    Cause No.3:11‐cv‐00041       Deposition      2015
       as court‐appointed receiver for      in the United States
         the Stanford International        District Court for the
         Bank, LTD. ET AL., and the         Northern District of
           official Stanford Investors     Texas Dallas Division
       Committee, Plaintiffs, VS. the
            University of Miami



           Ralph S. Janvey, in his    Civil Action No. 3:11‐ cv‐       Testimony       2015
       Capacity as Court‐Appointed           00297‐N‐BG
          receiver for the Stanford      In the United States
        International Bank LTD., ET     District Court for the
        AL. and the Official Stanford   Northern District of
       Investors Committee vs. Peter    Texas Dallas Division
                  F Romero

           Ralph S. Janvey, in His        Case No. 03:10‐cv‐ 01973‐   Deposition (2)   2015
        Capacity as Court‐Appointed        N in the United States
          Receiver for the Stanford        District Court for the
      International Bank, Ltd., et al v     Northern District of
       Dillon Gage Inc. of Dallas and      Texas Dallas Division
              Dillon Gage Inc.

           Ralph S. Janvey, in His        Case No. 03:10‐cv‐ 01973‐       Trial        2015
        Capacity as Court‐Appointed        N in the United States      Testimony
          Receiver for the Stanford        District Court for the
      International Bank, Ltd., et al v     Northern District of
       Dillon Gage Inc. of Dallas and      Texas Dallas Division
              Dillon Gage Inc.

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         Summary of Testimony

                     Case                      Case Number                            Year
                                                                       Type of
                                                                      Testimony

           Ralph S. Janvey, in His               CaseNo.              Deposition      2015
       Capacity as Court‐Appointed         3:12‐cv‐0495‐ N‐BL
          Receiver for the Stanford        in the United States
       International Bank, Ltd., et al.     District Court for
          and the Official Stanford            the Northern
           Investors Committee v.            District of Texas
        Adams & Reese, LLP, et al.           Dallas Division

           Ralph S. Janvey, in His               CaseNo.              Deposition      2015
       Capacity as Court‐Appointed        3:09‐CV‐0724‐N in the
          Receiver for the Stanford       United States District
       International Bank, Ltd., et al.   Court for the Northern
         v. James R. Alguire, et al.      District of TexasDallas
                                                 Division

          Ralph S. Janvey, in His                CaseNo.            Trial Testimony   2015
       Capacity as Court‐Appointed        03:14‐cv‐2826‐N in the
          Receiver for the Stanford       United States District
       International Bank, Ltd., et al.   Court for the Northern
          v. Patricia Maldonado           District of TexasDallas
                                                 Division

           Ralph S. Janvey, in His         Case No. 3:15‐CV‐0401‐      Depositions    2016
       Capacity as Court‐Appointed           N‐BG in the United          (4)
          Receiver for the Stanford        States District Court
       International Bank, Ltd., et al     for    the    Northern
          v. GMAG LLC, Magness             District of
       Securities LLC, and Gary D.          Texas Dallas Division
       Magness, Individually and in
       His Capacity as Trustee of the
       Gary D. Magness Irrevocable
                    Trust

         Ralph S. Janvey, in His                  CaseNo.             Deposition      2016
           CapacityasCourt‐                3:14‐CV‐3635‐ N‐BG
        Appointed Receiver for the          in the United States
         Stanford International            District Court for the
        Bank, Ltd., et al. v. Daniel        Northern District of
            T. Bogar, et al.               TexasDallasDivision

           Ralph S. Janvey, in His         Case No. 3:15‐CV‐0401‐       Trial         2017
       Capacity as Court‐Appointed           N‐BG in the United        Testimony
          Receiver for the Stanford        States District Court
       International Bank, Ltd., et al     for    the    Northern
          v. GMAG LLC, Magness             District of
       Securities LLC, and Gary D.          Texas Dallas Division
       Magness, Individually and in
       His Capacity as Trustee of the
       Gary D. Magness Irrevocable
                    Trust


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         Summary of Testimony

                   Case                        Case Number                Type of         Year
                                                                         Testimony

         Tech Pharmacy Services,          Civil Action No. 4:14‐          Deposition      2017
         LLC v. Alixa Rx LLC and           cv00766‐ALM in the           Trial Testimony
        Golden Gate National Senior               United
          Care LLC d/b/a Golden        States District Court for the
              Living Centers                Eastern District of
                                        Texas, Sherman Division

            Ralph S. Janvey, in His   Civil Action No. 3:13‐cv‐           Deposition      2018
        Capacity as Court‐Appointed 00477‐N in the United
          Receiver for the Stanford  States District Court for the
        Receivership Estate, and the     Northern District of
        Official Stanford Investors     Texas, Dallas Division
        Committee v. Proskauer Rose,
        LLP, and Thomas V. Sjoblom


        Peggy Roif Rotstain, et al. and  Civil Action No. 3:09‐cv‐        Deposition      2018
        the Official Stanford Investors    2384‐N in the United
        Committee v. Trustmark          States District Court for the
        National Bank, et al.               Northern District of
                                           Texas, Dallas Division


        Harlow Management, L.L.C.        Cause No. 2013‐25191 in          Deposition      2018
        and Minaki Capital              the District Court of Harris
        Investments, LLC v. Stites         County, Texas, 133rd
        Management, L.L.C, Dale              Judicial District
        Stites, Michael T. Stites, East
        Texas Precast Co., Ltd., Gulf
        Shore Erectors, LLC, and Gulf
        Coast Precast Erectors, LLC v.
        Robert Diakiw, Richard Schultz,
        Tom Haines, Hussein Sinjari,
        Pat Cooledge, Jeronimo Trejo,
        Helen Huereca, Construction
        Materials and Building
        Services, LLC, Southwest
        Commodities Brokers, LLC,
        Legacy Precast, LLC and Legacy
        Precast Administrative Group,
        LLC




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Bates Numbered Documents
KSE/OC:000413-000416
KSE/OC:001369-001372
KSE/OC:028348-028687
KSE/OC:029024-029562
KSE/OC:029657-029658
KSE/OC:030645-030646
KSE/OC:030917-030956
KSE/OC:038407-038565
KSE/OC:043867-043874
KSE/OC:043875-044054
KSE/OC:044055-044193
KSE/OC:044194-044361
KSE/OC:044362-044944
KSE/OC:044945-045486
KSE/OC:045487-046170
KSE/OC:046171-046294
KSE/OC:046295-046408
KSE/OC:046409-046524
KSE/OC:046525-046616
KSE/OC:046617-046857
KSE/OC:046858-047049
KSE/OC:047050-047246
KSE/OC:047247-047244
KSE/OC:047545-047704
KSE/OC:047705-047848
KSE/OC:047849-047999
KSE/OC:048000-048138
KSE/OC:048139-048265
KSE/OC:048266-048438
KSE/OC:048439-048612
KSE/OC:048613-048798
KSE/OC:048799-048595
KSE/OC:048956-049128
KSE/OC:049129-049352
KSE/OC:049353-049550
KSE/OC:049551-049678
KSE/OC:049679-049780
KSE/OC:049781-049981
KSE/OC:049982-050156
KSE/OC:050157-050347
KSE/OC:050348-050535
KSE/OC:050536-050792
KSE/OC:050793-050998
KSE/OC:050999-051182
KSE/OC:051183-051427
KSE/OC:051428-051825
KSE/OC:051826-052104
KSE/OC:052105-052403
KSE/OC:052404
KSE/OC:052472-052480
KSE/OC:052706
KSE/OC:052707
KSE/OC:053255-053346
KSE/OC:053347-053442
KSE/OC:053443
KSE/OC:053444-053646
KSE/OC:053647-053798




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Bates Numbered Documents
KSE/OC:053799-053917
KSE/OC:053918-054068
KSE/OC:054069-054194
KSE/OC:054195-054337
KSE/OC:054338-054517
KSE/OC:054518-054653
KSE/OC:054654-054801
KSE/OC:054802-055038
KSE/OC:055039-055249
KSE/OC:055250-055454
KSE/OC:055455-055707
KSE/OC:055708-056588
KSE/OC:056589-057074
KSE/OC:057075-057115
KSE/OC:057116-057771
KSE/OC:057772-058028
KSE/OC:058029-058771
KSE/OC:058772-059122
KSE/OC:059123-059953
KSE/OC:059954-060372
KSE/OC:060373-060430
Salomon005000-005046
SALOMON500071-500075

Deposition Transcripts
Deposition Transcript of David Brian Gluck, dated August 22, 2018
Deposition Transcript of Henry Steinbrecher, dated June 26, 2018
Deposition Transcript of Cathy Lee, dated June 12, 2018
Deposition Transcript of Thomas E. Hornish, dated June 13, 2018
Deposition Transcript of Thomas D. Allen, dated June 20, 2018
Deposition Transcript of James A. Martin, dated August 30, 2018
Rule 30(b)(6) Deposition Transcript of Scott M. Long for Kroenke Sports & Entertainment, LLC, dated September 5, 2018
Deposition Transcript of Nic Salomon, dated May 16, 2018
Deposition Transcript of Roger Werner, dated June 7, 2018
Deposition Transcript of Jeff Dean Holowaty, dated July 17, 2018
Deposition Transcript of Nic Salomon, dated March 1, 2018

Deposition Exhibit Number                                            Bates Number
Exhibit 01                                                           Salomon003247-003252
Exhibit 02                                                           Salomon002097
Exhibit 03                                                           Salomon006964
Exhibit 04                                                           Salomon006965
Exhibit 05                                                           Salomon007070
Exhibit 06                                                           No bates
Exhibit 07                                                           KSE/OC:000033
Exhibit 08                                                           KSE/OC:000039
Exhibit 09                                                           KSE/OC:000042-000043
Exhibit 10                                                           KSE/OC:000040-000041
Exhibit 11                                                           Salomon002692-002696
Exhibit 12                                                           KSE/OC:000053-000059
Exhibit 13                                                           KSE/OC:031081-031082
Exhibit 14                                                           Salomon004717-004723
Exhibit 15                                                           KSE/OC:000073-000075
Exhibit 16                                                           KSE/OC:000082-000085
Exhibit 17                                                           KSE/OC:000120
Exhibit 18                                                           KSE/OC:000122
Exhibit 19                                                           KSE/OC:000124




                                                                                                                        App. 135   2
                             Appendix 2248
       Case 3:15-cv-00666-M Document    - Documents Considered Page 140 of 174 PageID 6151
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Deposition Exhibit Number                    Bates Number
Exhibit 20                                   Salomon004545-004549
Exhibit 21                                   Salomon004550-004555
Exhibit 22                                   Salomon002545-002551
Exhibit 23                                   Salomon004556-004562
Exhibit 24                                   Salomon004573-004584
Exhibit 25                                   Salomon004585-004591
Exhibit 26                                   KSE/OC:000169-000173
Exhibit 27                                   KSE/OC:000174-000175
Exhibit 28                                   Salomon004542-004544
Exhibit 28                                   KSE/OC:000181
Exhibit 30                                   KSE/OC:000198-000205
Exhibit 31                                   Salomon004520-004529
Exhibit 32                                   Salomon002521-002533
Exhibit 33                                   Salomon002534-002535
Exhibit 34                                   KSE/OC:000219-000220
Exhibit 35                                   KSE/OC:000223-000224
Exhibit 36                                   KSE/OC:000225-000231
Exhibit 37                                   KSE/OC:000232-000234
Exhibit 38                                   KSE/OC:000235-000237
Exhibit 39                                   KSE/OC:000238-000239
Exhibit 40                                   KSE/OC:000240-000245
Exhibit 41                                   KSE/OC:000246-000247
Exhibit 42                                   KSE/OC:000261-000264
Exhibit 43                                   No bates
Exhibit 44                                   KSE/OC:000278
Exhibit 45                                   KSE/OC:000291-000293
Exhibit 46                                   KSE/OC:000369-000370
Exhibit 47                                   KSE/OC:000371-000373
Exhibit 48                                   Salomon000067-000068
Exhibit 49                                   KSE/OC:000279-000281
Exhibit 50                                   KSE/OC:000384-000385
Exhibit 52                                   No bates
Exhibit 53                                   Salomon000106-000107
Exhibit 54                                   KSE/OC:000413-000416
Exhibit 55                                   KSE/OC:000418
Exhibit 56                                   KSE/OC:000419-000426
Exhibit 57                                   Salomon007120
Exhibit 58                                   KSE/OC:000429-000430
Exhibit 59                                   KSE/OC:000435-000436
Exhibit 60                                   KSE/OC:000439-000441
Exhibit 61                                   KSE/OC:000443-000446
Exhibit 62                                   KSE/OC:000447-000448
Exhibit 63                                   KSE/OC:000466-000467
Exhibit 64                                   Salomon007117-007119
Exhibit 65                                   No bates
Exhibit 66                                   KSE/OC:028055
Exhibit 67                                   KSE/OC:028076
Exhibit 68                                   KSE/OC:028056-028057
Exhibit 69                                   KSE/OC:028078
Exhibit 70                                   KSE/OC:028077
Exhibit 71                                   KSE/OC:028058
Exhibit 72                                   KSE/OC:028059-028063
Exhibit 73                                   KSE/OC:028064
Exhibit 74                                   KSE/OC:028080
Exhibit 75                                   KSE/OC:028083-028087
Exhibit 76                                   KSE/OC:028065-028066
Exhibit 77                                   KSE/OC:028079




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Deposition Exhibit Number                    Bates Number
Exhibit 78                                   KSE/OC:028081-028082
Exhibit 79                                   KSE/OC:030917; KSE/OC:030927
Exhibit 80                                   KSE/OC:000947-000950
Exhibit 81                                   KSE/OC:030880-030883
Exhibit 82                                   W/2069321
Exhibit 83                                   W/2069708
Exhibit 84                                   KSE/OC:000386-000390
Exhibit 85                                   No bates
Exhibit 86                                   w/2105847
Exhibit 87                                   No bates
Exhibit 88                                   No bates
Exhibit 89                                   KSE/OC:000013
Exhibit 90                                   KSE/OC:000040-000041
Exhibit 91                                   KSE/OC:000044
Exhibit 92                                   KSE/OC:036630
Exhibit 93                                   KSE/OC:036521
Exhibit 94                                   Salomon004717-004722
Exhibit 95                                   KSE/OC:000109-000110
Exhibit 96                                   KSE/OC:000105-000108
Exhibit 97                                   KSE/OC:000116-000119; Salomon004614-004617
Exhibit 98                                   KSE/OC:000123
Exhibit 99                                   KSE/OC:000178-000180; Salomon004542-004544
Exhibit 100                                  KSE/OC:000223-000224
Exhibit 101                                  KSE/OC:000371-000373
Exhibit 102                                  No bates
Exhibit 103                                  KSE/OC:000405-000412
Exhibit 104                                  KSE/OC:027994-028042
Exhibit 105                                  No bates
Exhibit 106                                  No bates
Exhibit 107                                  KSE/OC:036080-036119
Exhibit 108                                  No bates
Exhibit 109                                  No bates
Exhibit 110                                  w/2069708
Exhibit 111                                  KSE/OC:000907-000908
Exhibit 112                                  KSE/OC:000374
Exhibit 113                                  KSE/OC:030894
Exhibit 114                                  KSE/OC:030896
Exhibit 115                                  No bates
Exhibit 116                                  No bates
Exhibit 117                                  No bates
Exhibit 118                                  No bates
Exhibit 119                                  No bates
Exhibit 120                                  KSE/OC:000391-000396
Exhibit 121                                  No bates
Exhibit 122                                  No bates
Exhibit 123                                  No bates
Exhibit 124                                  No bates
Exhibit 125                                  No bates
Exhibit 126                                  No bates
Exhibit 127                                  No bates
Exhibit 128                                  No bates
Exhibit 129                                  No bates
Exhibit 130                                  No bates
Exhibit 131                                  No bates
Exhibit 132                                  No bates
Exhibit 133                                  KSE/OC:000015-000025
Exhibit 134                                  KSE/OC:000014




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                             Appendix 2248
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Deposition Exhibit Number                    Bates Number
Exhibit 135                                  KSE/OC:000039
Exhibit 136                                  KSE/OC:042488-042489
Exhibit 137                                  KSE/OC:000042-000043
Exhibit 138                                  KSE/OC:000045-000046
Exhibit 139                                  KSE/OC:000060-000062
Exhibit 140                                  KSE/OC:000282-000283
Exhibit 141                                  KSE/OC:000299-000300
Exhibit 142                                  KSE/OC:000376-000377
Exhibit 143                                  KSE/OC:000431-000432
Exhibit 144                                  No bates
Exhibit 145                                  No bates
Exhibit 146                                  No bates
Exhibit 147                                  No bates
Exhibit 148                                  No bates
Exhibit 149                                  No bates
Exhibit 150                                  No bates
Exhibit 151                                  No bates
Exhibit 152                                  No bates
Exhibit 153                                  No bates
Exhibit 154                                  No bates
Exhibit 155                                  No bates
Exhibit 156                                  No bates
Exhibit 157                                  No bates
Exhibit 158                                  No bates
Exhibit 159                                  No bates
Exhibit 160                                  No bates
Exhibit 161                                  No bates
Exhibit 300                                  KSE/OC:030880-030883
Exhibit 301                                  KSE/OC:042936
Exhibit 302                                  KSE/OC:000947-000950
Exhibit 303                                  KSE/OC:030894
Exhibit 304                                  KSE/OC:028341-028342
Exhibit 305                                  KSE/OC:052782-052783
Exhibit 306                                  KSE/OC:000608-000611
Exhibit 307                                  KSE/OC:052784
Exhibit 308                                  KSE/OC:000375
Exhibit 309                                  KSE/OC:030896
Exhibit 310                                  KSE/OC:052805-052811
Exhibit 311                                  KSE/OC:052812-052819
Exhibit 312                                  KSE/OC:030235
Exhibit 313                                  KSE/OC:052405-052411
Exhibit 314                                  KSE/OC:000413-000416
Exhibit 315                                  KSE/OC:052418-052420
Exhibit 316                                  KSE/OC:052997-052999
Exhibit 317                                  KSE/OC:032939-032943
Exhibit 318                                  KSE/OC:052516-052517
Exhibit 319                                  KSE/OC:052518-052519
Exhibit 320                                  KSE/OC:052520-052527
Exhibit 321                                  KSE/OC:052538-052541
Exhibit 322                                  KSE/OC:053015-053016
Exhibit 323                                  KSE/OC:000443-000446
Exhibit 324                                  KSE/OC:053051-053052
Exhibit 325                                  KSE/OC:053063-053064
Exhibit 326                                  KSE/OC:000449-000451
Exhibit 327                                  KSE/OC:052670-052675
Exhibit 328                                  KSE/OC:052889-052892




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Deposition Exhibit Number                                            Bates Number
Exhibit 329                                                          KSE/OC:052680
Exhibit 330                                                          KSE/OC:001985
Exhibit 331                                                          KSE/OC:027980-027981
Exhibit 332                                                          KSE/OC:001986-001987
Exhibit 333                                                          KSE/OC:052705-052709
Exhibit 334                                                          KSE/OC:000477-000491
Exhibit 335                                                          KSE/OC:000987
Exhibit 336                                                          KSE/OC:000495
Exhibit 337                                                          KSE/OC:000518-000523
Exhibit 338                                                          KSE/OC:000700-000703
Exhibit 339                                                          KSE/OC:052431-052432; KSE/OC:053187-053254
Exhibit 340                                                          KSE/OC:052471-052509
Exhibit 341                                                          KSE/OC:000947-000950
Exhibit 342                                                          KSE/OC:061154-061156
Exhibit 343                                                          KSE/OC:043020-043021
Exhibit 344                                                          KSE/OC:030896
Exhibit 345                                                          KSE/OC:030235
Exhibit 346                                                          KSE/OC:052405-052411
Exhibit 347                                                          KSE/OC:052418-052420
Exhibit 348                                                          KSE/OC:062208-062210
Exhibit 349                                                          KSE/OC:052558-052559
Exhibit 350                                                          KSE/OC:052613-052614
Exhibit 351                                                          KSE/OC:031070-031080
Exhibit 352                                                          KSE/OC:053139-053142
Exhibit 353                                                          KSE/OC:053151-053155
Exhibit 354                                                          KSE/OC:052736-052765
Exhibit 355                                                          KSE/OC:037798-037799
Exhibit 356                                                          KSE/OC:000900-000950
Exhibit 357                                                          KSE/OC:000877-000878
Exhibit 358                                                          KSE/OC:062676-062678
Exhibit 359                                                          KSE/OC:000735-000737
Exhibit 360                                                          KSE/OC:062679-062680
Exhibit 361                                                          No bates
Exhibit 362                                                          KSE/OC:043867-043874
Exhibit 363                                                          No bates
Exhibit 364                                                          No bates
Exhibit 365                                                          KSE/OC:052404
Exhibit 366                                                          KSE/OC:029657-029658
Salomon March 2018 Depo Exhibit 1                                    No bates
Salomon March 2018 Depo Exhibit 2                                    No bates
Salomon March 2018 Depo Exhibit 3                                    No bates
Salomon March 2018 Depo Exhibit 4                                    No bates
Salomon March 2018 Depo Exhibit 5                                    No bates
Salomon March 2018 Depo Exhibit 6                                    No bates

Legal Filings
Amended Plantiff Nic Salomon's Notice of Videotaped Deposition of Defendant Kroenke Sports & Entertainment, LLC
     Pursuant to Rule 30(b)(6) of the Federal Rules of Civil Procedure, dated August 16, 2018
Plaintiff Nic Salomon's Notice of Videotapes Deposition of Outdoor Channel Holdings, Inc. Pursuant to Rule 30(b)(6)
     of the Federal Rules of Civil Procedure, dated August 17, 2018
Plaintiff's Second Amended Complaint, filed August 31, 2017
Responses of Outdoor Channel Holdings, Inc. to Plantiff Nic Salomon's First Set of Requests for Admission,
     dated December 18, 2017
Plaintiff's Third Supplemental Answers and Objections to First Set of Interrogatories of Defendants Kroenke Sports &
     Entertainment, LLC and Outdoor Channel Holdings, Inc., dated August 24, 2018
First Supplemental Answers of Outdoor Channel Holdings, Inc. to Plantiff Nic Salomon's First Set of Interrogatories,
     dated May 4, 2018




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Legal Filings
Plaintiff's Fourth Supplemental Answers and Objections to First Set of Interrogatories of Defendants Kroenke Sports &
    Entertainment, LLC and Outdoor Channel Holdings, Inc., dated October 1, 2018

Other Reports
Expert Witness Report of David C. Buck, dated September 13, 2018
Expert Report of Kevin Kreitzman, MBA, dated September 14, 2018

Publically Available Information
Weil, Roman L., Daniel G. Lentz, and Elizabeth A. Evans. (2017). Litigation Services Handbook: The Role of the Financial Expert.
    Sixth Edition. Hoboken, New Jersey: John Wiley & Sons, Inc.
https://s3.amazonaws.com/web.nacva.com/TL-Website/PDF/Glossary.pdf
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http://pages.stern.nyu.edu/~adamodar/New_Home_Page/valquestions/taxrate.htm
James R. Hitchner, “Financial Valuation, Application and Models” . 3rd Edition.
Valuation of Privately Held Company Equity Securities Issued as Compensation , Practice Aid, Working Draft, 2012, American
     Institute of Certified Public Accountants.
Form 10-K, December 31, 2009, Outdoor Channel Holdings, Inc.
Form 10-K, December 31, 2010, Outdoor Channel Holdings, Inc.
Form 10-K, December 31, 2011, Outdoor Channel Holdings, Inc.
Form 10-K, December 31, 2012, Outdoor Channel Holdings, Inc.
Form 10-K/A, December 31, 2012, Outdoor Channel Holdings, Inc.
Form 425, February 27, 2013, Outdoor Channel Holdings, Inc.
Form 8-K, March 4, 2013, Outdoor Channel Holdings, Inc.
Form 425, March 7, 2013, Outdoor Channel Holdings, Inc.
Form 8-K, March 13, 2013, Outdoor Channel Holdings, Inc.
Schedule 14A, April 11, 2013, Outdoor Channel Holdings, Inc.
Schedule 14A, May 2, 2013, Outdoor Channel Holdings, Inc.
Schedule 14A, May 6, 2013, Outdoor Channel Holdings, Inc.
Form 8-K, May 8, 2013, Outdoor Channel Holdings, Inc.
Form 8-K, May 16, 2013, Outdoor Channel Holdings, Inc.
Form 8-K, November 15, 2012, Outdoor Channel Holdings, Inc.
Schedule 13D, November 15, 2012, Outdoor Channel Holdings, Inc.
Form 10-Q, September 30, 2012, Outdoor Channel Holdings, Inc.
Form 10-Q, March 31, 2012, Outdoor Channel Holdings, Inc.
Form S-4 Registration Statement, November 21, 2012, Intermedia Outdoor Holdings, Inc.
https://www.pepsicenter.com/kse/company/about-kse/
http://pages.stern.nyu.edu/~adamodar/New_Home_Page/home.htm
https://www.forbes.com/nba-valuations/list/#tab:overall
optvar12.xls
taxrate12
totalbeta12.xls
vebitda12.xls
histimpl.xls
indname.xls




                                                                                                                             App. 140   7
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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION
NIC SALOMON,                                 §
                                             §
       Plaintiff,                            §
                                             §
v.                                           §    CIVIL ACTION NO.
                                             §    3:15-CV-666-M
KROENKE SPORTS & ENTERTAINMENT,              §
LLC, OUTDOOR CHANNEL HOLDINGS,               §
INC., and PACIFIC NORTHERN CAPITAL LLC,      §
                                             §
       Defendants.                           §



                                EXHIBIT D

            AFFIDAVIT OF KEVIN D. EVANS IN SUPPORT OF
       KROENKE SPORTS & ENTERTAINMENT, LLC AND OUTDOOR
  CHANNEL HOLDINGS, INC.’S MOTION PURSUANT TO FED. R. EVID. 702 TO
 EXCLUDE TESTIMONY OF KEVIN KREITZMAN AND REQUEST FOR HEARING




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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION




        NIC SALOMON,                   )
                                       )
                         Plaintiff,    )
                                       )
               vs.                     ) CIVIL ACTION NO.
                                       ) 3:15-CV-00666-M
        KROENKE SPORT &                )
        ENTERTAINMENT, LLC, OUTDOOR    )
        CHANNEL HOLDINGS, INC., and    )
        PACIFIC NORTHERN CAPITAL,      )
        LLC,                           )
                                       )
                         Defendants.   )
        _______________________________)




            VIDEOTAPED DEPOSITION OF JEFF DEAN HOLOWATY,
        taken on behalf of the Defendants at 17332
        Irvine Boulevard, Suite 220, Tustin, California,
        commencing at 9:01 a.m., on Tuesday, July 17, 2018,
        before Penny Sander, C.S.R. No. 4769, a Certified
        Shorthand Reporter within and for the State of
        California.




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   Case 3:15-cv-00666-M Document 248 Filed 11/13/18       Page 147 of 174 PageID 6158
             SALOMON v. KROENKE SPORT    JEFF HOLOWATY                           July 17, 2018



        1      cash proceeds from PNC."
        2                  What did you mean by "primarily will be
        3      financed"?
        4             A.   The cash proceeds -- it was the intention
10:04   5      from PNC the whole time, the entire time, to not
        6      completely fund all of the transaction from PNC.                It
        7      was our anticipation that we would have multiple
        8      other partners to participate in the equity portion
        9      of the -- of the proceeds that would go towards the
10:05   10     purchase price.
        11            Q.   That's exactly what I wanted to ask you
        12     about, because Mr. Salomon has been making
        13     representations throughout this case, I'll just
        14     refer -- or represent to you that if -- in the event
10:05   15     that other investors were not able to be obtained,
        16     PNC was prepared to front the entire price,
        17     acquisition price.
        18                 Was PNC ever prepared to fund the entire
        19     acquisition price?
10:05   20            A.   No.
        21            Q.   Did PNC and Mr. Salomon ever secure
        22     additional funding sources?
        23            A.   No.
        24            Q.   Was this an effort to do that?
10:05   25            A.   There was an effort internally outside of
                                                                                         51

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                                                                             App. 143
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             SALOMON v. KROENKE SPORT        JEFF HOLOWATY                           July 17, 2018



        1      Mr. Salomon to work with our partners to gather
        2      interest to participate in the cash proceeds required
        3      to purchase the business.
        4             Q.   Were outside funding sources contacted by
10:05   5      either PNC or Mr. Salomon in an effort to obtain
        6      equity funding?
        7             A.   Not Mr. Salomon, but internally we were --
        8      internally at PNC, I should say, there was an effort
        9      to have discussions with potential interested
10:06   10     parties, if you will.
        11            Q.   Do you recall who those potential interested
        12     parties were?
        13            A.   I do not off the top of my head, no.
        14            Q.   Were there -- or was there an outreach to
10:06   15     those potentially interested parties by PNC?
        16            A.   We did have conversations with -- with
        17     individuals, yes.
        18            Q.   And did anybody express an interest in
        19     contributing to the potential purchase price?
10:06   20            A.   Interest, yes, but formalized to agree upon
        21     it, no.     There was no formal agreement that we
        22     entered into as the transaction didn't lead us to go
        23     down that path.
        24            MR. EVANS:       Let me -- there seems to have been a
10:07   25     flurry of activity on the 15th.                Let me show you a
                                                                                             52

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   Case 3:15-cv-00666-M Document 248 Filed 11/13/18            Page 149 of 174 PageID 6160
             SALOMON v. KROENKE SPORT         JEFF HOLOWATY                           July 17, 2018



        1             A.   Just like -- sorry.         Just like to point out
        2      these were conversations that I had with Tim McQuay
        3      on my own.      Nic was not involved in any of these
        4      conversations.
10:41   5             Q.   That was going to be a question I was going
        6      to get to, but thanks.         That helps.
        7                  Had anybody told you, either from Noble or
        8      Mr. Salomon, up to this point in time that another
        9      company interested in potentially acquiring the
10:41   10     aerial camera business had offered more money?
        11            A.   I don't know about offering more, but I
        12     believe Tim had indicated to me that there were
        13     additional parties interested at this point.
        14            Q.   So now we're at February 5 in the sequence
10:41   15     of events, and we're talking about a 3.65 million
        16     cash at close.          I know I asked you this question
        17     before in connection with a previous draft, but was
        18     it PNC's intention to fund, if this deal were to
        19     close, the entire cash at close?
10:42   20            A.   No.
        21            Q.   Do you recall whether you had any
        22     discussions with Mr. Salomon about the February 5
        23     draft term sheet before you sent it to Mr. McQuay?
        24            A.   I don't recall specifically.               Presumably we
10:42   25     did, yes.      Because, again, at that point we were, you
                                                                                              74

             BARRETT REPORTING, INC.          (888) 740-1100              www.barrettreporting.com
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             SALOMON v. KROENKE SPORT       JEFF HOLOWATY                           July 17, 2018



        1             Q.   Do you recall what the -- Mr. Schneider and
        2      Mr. Woechsler's reaction was?
        3             A.   I don't.     I don't recall who set it up or
        4      how we -- I don't believe PNC had an existing
11:39   5      relationship with Mr. Schneider or Mr. Woechsler, but
        6      I vaguely recall having that meeting in New York,
        7      yes.
        8             Q.   Did Mr. Schneider, Mr. Woechsler at IMAX
        9      agree to invest in the potential acquisition of the
11:39   10     aerial camera business?
        11            A.   No, they did not agree to it.             Did they
        12     express interest, yes.
        13            Q.   What happened?    Do you know what happened
        14     after their expression of interest?
11:39   15            A.   No.    Initially they were interested, but I'm
        16     not sure why they weren't going forward or why we
        17     weren't interested in having them as partners.
        18            Q.   If you look two down, there's an entry
        19     March 14, 2013 where Mr. Salomon writes that he spoke
11:39   20     with Jeff Holowaty.       "Jeff Holowaty had heard from
        21     McQuay, who communicated that KSE was not interested
        22     in the Aerial Camera Business."
        23                 Do you recall Mr. McQuay ever telling you
        24     that KSE was not interested in the aerial camera
11:40   25     business?
                                                                                           111

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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

NIC SALOMON,                                   §
                                               §
      Plaintiff,                               §
                                               §
v.                                             §     CIVIL ACTION NO.
                                               §     3:15-CV-666-M
KROENKE SPORTS & ENTERTAINMENT,                §
LLC, OUTDOOR CHANNEL HOLDINGS,                 §
INC., and PACIFIC NORTHERN CAPITAL LLC,        §
                                               §
      Defendants.                              §

                                EXHIBIT E

            AFFIDAVIT OF KEVIN D. EVANS IN SUPPORT OF
       KROENKE SPORTS & ENTERTAINMENT, LLC AND OUTDOOR
  CHANNEL HOLDINGS, INC.’S MOTION PURSUANT TO FED. R. EVID. 702 TO
 EXCLUDE TESTIMONY OF KEVIN KREITZMAN AND REQUEST FOR HEARING




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 1                 IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
 2                         DALLAS DIVISION
 3      NIC SALOMON,                 §
                                     §
 4      Plaintiff,                   §
                                     §
 5      v.                           §
                                     §     CIVIL ACTION NO.
 6      KROENKE SPORTS &             §       3:15-666-M
        ENTERTAINMENT, LLC,          §
 7      OUTDOOR CHANNEL HOLDINGS,    §
        INC., and PACIFIC            §
 8      NORTHERN CAPITAL, LLC,       §
                                     §
 9           Defendants.             §
10
11
12                  ----------------------------------
                    ORAL AND VIDEOTAPED DEPOSITION OF
13
                                NICOLAS SALOMON
14
                                  MAY 16, 2018
15
                                 VOLUME 2
16                ----------------------------------
         Job No. CS2878358
17                     VOLUME 2 OF ORAL AND VIDEOTAPED
18      DEPOSITION OF NICOLAS SALOMON, produced as a witness at
19      the instance of the DEFENDANT, and duly sworn, was taken
20      in the above-styled and numbered cause on the 16th day
21      of May, 2018, from 1:00 p.m. to 5:24, before TINA
22      TERRELL BURNEY, CSR in and for the State of Texas,
23      reported by machine shorthand, at the offices of JACKSON
24      WALKER L.L.P., 2323 Ross Avenue, Suite 600, Dallas, TX
25      75201, pursuant to the Federal Rules of Civil Procedure.

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                                                                        App. 148
Case 3:15-cv-00666-M Document 248 Filed 11/13/18      Page 153 of 174 PageID 6164


                                                                   Page 270

 1      was -- and they at one point mentioned some contacts
 2      with either Live Nation or Bruckheimer or some people in
 3      the media entertainment industry based on their
 4      relationships.
 5             Q.   Did you and PNC meet with any other investors
 6      together?
 7             A.   We did not, but we -- we were interested in
 8      having Roger Warner invest if he was interested, and we
 9      were also interested in seeking an investment from the
10      NFL Venture Capital Fund, which had just been created
11      around this time.
12             Q.   And none of those -- Roger Warner or the NFL
13      Investment Capital Fund, IMAX, none of those invested?
14             A.   Well, I mean, we never had the opportunity to
15      complete an investment.
16             Q.   They never agreed that they would invest?
17             A.   That's correct; however, with the -- with the
18      NFL Venture Capital Fund, that became a continued
19      dialogue where I actually worked with Fulbright to put
20      together a prospectus for soliciting the NFL's -- an
21      investment from the NFL and this technology company.
22             Q.   I appreciate that.        Thank you.       And there was
23      never any agreement by the NFL to invest, right?
24             A.   I don't know.     Maybe that's why Mr. Kroenke
25      bought Outdoor Channel.

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                                                                        App. 149
Case 3:15-cv-00666-M Document 248 Filed 11/13/18   Page 154 of 174 PageID 6165


                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION
NIC SALOMON,                                 §
                                             §
       Plaintiff,                            §
                                             §
v.                                           §    CIVIL ACTION NO.
                                             §    3:15-CV-666-M
KROENKE SPORTS & ENTERTAINMENT,              §
LLC, OUTDOOR CHANNEL HOLDINGS,               §
INC., and PACIFIC NORTHERN CAPITAL LLC,      §
                                             §
       Defendants.                           §



                                 EXHIBIT F

            AFFIDAVIT OF KEVIN D. EVANS IN SUPPORT OF
       KROENKE SPORTS & ENTERTAINMENT, LLC AND OUTDOOR
  CHANNEL HOLDINGS, INC.’S MOTION PURSUANT TO FED. R. EVID. 702 TO
 EXCLUDE TESTIMONY OF KEVIN KREITZMAN AND REQUEST FOR HEARING




                                                                     App. 150
Case 3:15-cv-00666-M Document 248 Filed 11/13/18 Page 155 of 174 PageID 6166
                                 CONFIDENTIAL

                                                              Page 302

 1                 IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
 2                           DALLAS DIVISION
 3      NIC SALOMON,                  §
                                      §
 4                     Plaintiff,     §
                                      §
 5      VS.                           § CIVIL ACTION
                                      §
 6      KROENKE SPORTS &              § NO. 3:15-CV-666-M
        ENTERTAINMENT, LLC,           §
 7      OUTDOOR CHANNEL HOLDINGS,     §
        INC., and PACIFIC NORTHERN    §
 8      CAPITAL, LLC,                 §
                                      §
 9                     Defendants.    §
             -------------------------------------------------
10            CONFIDENTIAL ORAL AND VIDEOTAPED DEPOSITION OF
11                              NIC SALOMON
12                              MAY 17, 2018
13                            VOLUME 3 OF 3
14           -------------------------------------------------
         Job No. CS2878362
15           CONFIDENTIAL ORAL AND VIDEOTAPED DEPOSITION OF NIC
16      SALOMON, produced as a witness at the instance of the
17      DEFENDANTS, and duly sworn, was taken in the
18      above-styled and numbered cause on May 17, 2018, from
19      9:05 a.m. to 1:06 p.m., before Delanie Schreiber, CSR
20      No. 9375 in and for the State of Texas, reported by
21      stenographic method, at the offices of Jackson Walker,
22      L.L.P., 2323 Ross Avenue, Suite 600, Dallas, Texas,
23      75201, pursuant to the Federal Rules of Civil Procedure
24      and the provisions stated on the record or attached
25      hereto. Job No. 2878362

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                                                                    App. 151
Case 3:15-cv-00666-M Document 248 Filed 11/13/18 Page 156 of 174 PageID 6167
                                 CONFIDENTIAL

                                                                     Page 383

 1             A.     Yes.
 2             Q.     A lot?
 3             A.     Yes.
 4             Q.     Did you call them?       Did you call one of the
 5      Holowatys?
 6             A.     Well, I had talked -- I had spoke with Jeff and
 7      there was -- there was -- I believe there was some sort
 8      of voice mail communication with Kelly either him to me
 9      or me to him but I can't remember.                  So...
10             Q.     Well, what did -- what did --
11             A.     Maybe he called me and I didn't call him --
12      maybe he left me a voice mail.             I didn't call him back.
13      I didn't -- I don't remember the...
14             Q.     Well, you were so upset you didn't call him
15      back?       Is that what you're saying?
16             A.     I'm saying I don't remember.             There was -- the
17      only thing I remember after that would be from what I
18      saw in an e-mail from that.            So...
19             Q.     This is so devastating to you and you were so
20      upset that you don't recall what you said to
21      Mr. Holowaty or what Mr. Holowaty said to you?
22             A.     I remember that after that I didn't want to
23      have further communication with them about -- I mean,
24      about -- I -- I didn't -- I didn't see how I could do a
25      business transaction with them after what happened.

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                                                                         App. 152
Case 3:15-cv-00666-M Document 248 Filed 11/13/18 Page 157 of 174 PageID 6168
                                 CONFIDENTIAL

                                                                   Page 384

 1             Q.   So as of April 9, you basically had determined
 2      to yourself that you couldn't go forward with PNC?
 3             A.   I mean, it was not likely.             But I wanted to
 4      know what happened.
 5             Q.   Do you see that you didn't sign the Term Sheet
 6      -- or the amendment, the March 21 document?
 7             A.   Correct.
 8             Q.   You knew you didn't sign it, right?
 9             A.   I didn't -- I didn't sign it.             And then they
10      had this game that got played where they tried to get me
11      to -- to sign another Term Sheet amendment that
12      reattached that to the secret amendment and, you know,
13      it was -- and that -- that -- and that went on for
14      months.
15             Q.   Well, let's stick with my question.             My
16      question was you didn't sign -- you saw when you got the
17      document, you didn't sign it, right?                And you knew the
18      nonbinding provision in the Term Sheet that you drafted
19      said that any document purporting to amend the Term
20      Sheet was not valid unless all parties signed, right?
21      And you knew you didn't sign the term -- amendment,
22      right?
23             A.   Well, I mean --
24             Q.   Right?   You knew you didn't sign it?
25             A.   Like we discussed, that's a legal -- I mean,

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                                                                          App. 153
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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

NIC SALOMON,                                   §
                                               §
      Plaintiff,                               §
                                               §
v.                                             §     CIVIL ACTION NO.
                                               §     3:15-CV-666-M
KROENKE SPORTS & ENTERTAINMENT,                §
LLC, OUTDOOR CHANNEL HOLDINGS,                 §
INC., and PACIFIC NORTHERN CAPITAL LLC,        §
                                               §
      Defendants.                              §

                                EXHIBIT G

            AFFIDAVIT OF KEVIN D. EVANS IN SUPPORT OF
       KROENKE SPORTS & ENTERTAINMENT, LLC AND OUTDOOR
  CHANNEL HOLDINGS, INC.’S MOTION PURSUANT TO FED. R. EVID. 702 TO
 EXCLUDE TESTIMONY OF KEVIN KREITZMAN AND REQUEST FOR HEARING




                                                                     App. 154
Case 3:15-cv-00666-M Document 248 Filed 11/13/18 Page 159 of 174 PageID 6170
                                 CONFIDENTIAL

                                                                        Page 1

1                           UNITED STATES DISTRICT COURT
2                   NORTHERN DISTRICT OF TEXAS - DALLAS DIVISION
3
4          NIC SALOMON,
5                     Plaintiff,
6              vs.                                        No. 3:15-CV-00666-M
7          KROENKE SPORTS & ENTERTAINMENT,
           LLC, OUTDOOR CHANNEL HOLDINGS,
8          INC., and PACIFIC NORTHERN
           CAPITAL, LLC,
9
                      Defendants.
10
11
12         _______________________________________________________
13
14                    VIDEOTAPED DEPOSITION OF THOMAS D. ALLEN
15                                 Irvine, California
16                            Wednesday, June 20, 2018
17                                        VOLUME I
18
19           TRANSCRIPT MARKED CONFIDENTIAL - ATTORNEYS' EYES ONLY
20
21         Reported by:
           WINDY PICARD
22         CSR No. 12879
23         Job No. 2875084
24
25         PAGES 1-160
                         CONFIDENTIAL - ATTORNEYS' EYES ONLY                 1

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                                                                           App. 155
Case 3:15-cv-00666-M Document 248 Filed 11/13/18 Page 160 of 174 PageID 6171
                                 CONFIDENTIAL

                                                                  Page 43

1          above-referenced entities."

2                       And while I can't find any date on that

3          particular e-mail from Ms. Meyers, Mr. McQuay, on

4          February 25, 2013, then forwards Ms. Meyers' e-mail and

5          attachment to you and Mr. Hornish, along with

6          Francisco Penafiel and Robert Campbell.

7                       Do you remember Mr. Penafiel?

8                   A   I do.   He was an analyst at Noble.

9                   Q   How about Mr. Campbell?

10                  A   He was one of the two aforementioned senior

11         bankers at Noble that we were working with.

12                  Q   He and Mr. McQuay?

13                  A   Yes.

14                  Q   So Mr. McQuay writes to you and Mr. Hornish,

15         "This just arrived.       Bob and I are in a meeting

16         beginning at 2:00, so can we talk around 4:00?"

17                      And then attached to this e-mail chain is a

18         February 24, 2013 e-mail from the Aspen Group.         It's

19         "Re: Letter of Intent for the purchase Of Cablecam, LLC

20         and Skycam, LLC Assets."

21                      Do you see that?

22                  A   I do.

23                  Q   And then at the bottom of the first page of

24         that LOI, letter of intent, there's a section called

25         "4.      Purchase Price."

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                                                                     App. 156
Case 3:15-cv-00666-M Document 248 Filed 11/13/18 Page 161 of 174 PageID 6172
                                 CONFIDENTIAL

                                                                   Page 44

1                       Do you see that?

2                   A   I do.

3                   Q   And it says the purchase price being

4          $4,500,000.      Do you see that?

5                   A   I do.

6                   Q   Do you recall any discussions with

7          Noble Financial about the Aspen Group offer -- or

8          letter of intent, I should say?

9                   A   I don't have a specific recollection of the

10         phone call that is implied to have happened later that

11         day, which I'm assuming probably did happen.           I know

12         that they were one of the companies we were talking to.

13                      But I note -- and this is just by way of

14         jogging my memory -- that one of the parties that were

15         CCed by Steffani Meyers' -- note to Tim that we

16         referenced earlier -- or e-mail -- is a person whose

17         e-mail address is psmauder@actioncamerahd.

18                      That was -- I think his -- I think his first

19         name is -- in fact, it's noted.           It's Phil Smauder.

20         Phil was a principal at Actioncam, which was one of the

21         companies that we had sued.         And I believe Phil was a

22         former employee of our aerial camera business.

23                      In looking at the LOI, I noticed, in .12, it's

24         titled -- in the section titled "Confidentiality," that

25         there's reference to obligating the company not to

                         CONFIDENTIAL - ATTORNEYS' EYES ONLY              44

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                                                                       App. 157
Case 3:15-cv-00666-M Document 248 Filed 11/13/18 Page 162 of 174 PageID 6173
                                 CONFIDENTIAL

                                                                    Page 45

1          disclose this offer to Nic Salomon.

2                       And I believe -- this is recollection.       But I

3          believe that we were not terribly confident that this

4          company could raise the money to buy -- to buy the

5          aerial camera business because of the potential claims

6          that we had secured in court against Actioncam.

7                       That's about as much as I recall about this

8          particular buyer.

9                   Q   And is that the reason why Outdoor Channel

10         didn't pursue negotiations or -- or efforts with

11         Aspen Group to sell or attempt to sell the aerial

12         camera business to them?

13                  A   I don't have a clear recollection as to what

14         we collectively decided, but I do have confidence that

15         we would have had a conversation about assessing their

16         ability to close and sincerity of their offer.

17                  Q   And was Mr. Salomon -- do you recall

18         Mr. Salomon being involved in those decisions related

19         to the LOI of Aspen Group?

20                  A   I do not believe he was.        And that is probably

21         not a unique statement relative to the Aspen Group.

22         That any discussions with any buyer group, we did not

23         normally include Nic in those, because we understood

24         that he was conflicted.

25                  Q   And conflicted in what sense?

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                                                                        App. 158
Case 3:15-cv-00666-M Document 248 Filed 11/13/18   Page 163 of 174 PageID 6174


                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION
NIC SALOMON,                                 §
                                             §
       Plaintiff,                            §
                                             §
v.                                           §    CIVIL ACTION NO.
                                             §    3:15-CV-666-M
KROENKE SPORTS & ENTERTAINMENT,              §
LLC, OUTDOOR CHANNEL HOLDINGS,               §
INC., and PACIFIC NORTHERN CAPITAL LLC,      §
                                             §
       Defendants.                           §



                                EXHIBIT H

            AFFIDAVIT OF KEVIN D. EVANS IN SUPPORT OF
       KROENKE SPORTS & ENTERTAINMENT, LLC AND OUTDOOR
  CHANNEL HOLDINGS, INC.’S MOTION PURSUANT TO FED. R. EVID. 702 TO
 EXCLUDE TESTIMONY OF KEVIN KREITZMAN AND REQUEST FOR HEARING




                                                                     App. 159
Case 3:15-cv-00666-M Document 248 Filed 11/13/18   Page 164 of 174 PageID 6175
                                                                                 1
                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

        CIVIL ACTION NO. 3:15-CV-00666-M
        ______________________________________________________

        VIDEOTAPE DEPOSITION OF:  JAMES A. MARTIN
                                  AUGUST 30, 2018
        ______________________________________________________

        NIC SALOMON,

        PLAINTIFF,

        V.

        KROENKE SPORTS & ENTERTAINMENT, LLC, OUTDOOR CHANNEL
        HOLDINGS, LLC, AND PACIFIC NORTHERN CAPITAL, LLC,

        DEFENDANTS.
        ______________________________________________________

                     PURSUANT TO NOTICE, THE VIDEOTAPE
        DEPOSITION OF JAMES A. MARTIN WAS TAKEN ON BEHALF OF
        THE PLAINTIFF AT 4643 SOUTH ULSTER STREET, SUITE 800,
        DENVER, COLORADO 80237, ON AUGUST 30, 2018, AT
        10:06 A.M., BEFORE TINA M. STUHR, REGISTERED
        PROFESSIONAL REPORTER AND NOTARY PUBLIC WITHIN
        COLORADO.




        JOB NO. 137826




                                                                     App. 160
      Case 3:15-cv-00666-M Document 248 Filed 11/13/18    Page 165 of 174 PageID 6176
                                                                                        85
11:57:06   1   to the transaction?
11:57:07   2             A.    No.
11:57:08   3             Q.    And so isn't it true that the only way
11:57:11   4   for that to happen would be for PNC and Mr. Salomon to
11:57:17   5   agree to an amendment of the term sheet?
11:57:20   6                   MR. EVANS:     Objection to form.         Legal
11:57:22   7   conclusion.
11:57:24   8             A.    I don't know if that's the only way it
11:57:26   9   could happen or not.
11:57:29 10              Q.    (BY MR. IBRAHIM)          That's one of the ways
11:57:30 11    it could happen, correct?
11:57:31 12                    MR. EVANS:     Same objection.
11:57:34 13              A.    I wouldn't think that's one of the ways
11:57:36 14    it could happen.
11:57:38 15              Q.    (BY MR. IBRAHIM)          Now, when did
11:57:39 16    Mr. Kroenke find out about the term sheet?
11:57:44 17              A.    I -- I'm not sure he knows even now that
11:57:51 18    there was a term sheet.        Well, I take that back.          I
11:57:55 19    believe he knows there was at the time and up through
11:58:00 20    the transaction.      I never discussed it with him.            It
11:58:05 21    was not material.
11:58:07 22              Q.    Okay.    Let me unpack that a little bit.
11:58:09 23    You testified that "I believe he knows there was at
11:58:14 24    the time."     What do you mean by that?
11:58:21 25              A.    I don't think that's what I meant to say.

                                                                            App. 161
      Case 3:15-cv-00666-M Document 248 Filed 11/13/18    Page 166 of 174 PageID 6177
                                                                                        86
11:58:23   1   I believe he knows now, because we're involved in this
11:58:27   2   lawsuit, that there was a term sheet.              I do not
11:58:31   3   believe he knew -- and I would be pretty certain at
11:58:34   4   the time he had no idea.        I know I never discussed it
11:58:40   5   with him.      It was not material.
11:58:41   6             Q.     When did you sit down and have the
11:58:43   7   conversation with Mr. Kroenke to find out when he
11:58:47   8   first learned about the term sheet?
11:58:50   9                    MR. EVANS:    Objection to form.         Misstates
11:58:51 10    the testimony.
11:58:55 11              A.     I don't believe I ever asked him when he
11:58:57 12    found out about it.
11:58:58 13              Q.     (BY MR. IBRAHIM)         And so you don't know
11:58:59 14    the answer to that question, do you?
11:59:01 15              A.     I know I never discussed it with him.
11:59:18 16              Q.     I'm going to show you what's been
11:59:20 17    previously marked as 305.
11:59:32 18                     MR. IBRAHIM:     And I don't have the marked
11:59:33 19    copy, Kevin.      I'd like to try to keep --
11:59:38 20                     MR. EVANS:    That's all right.
11:59:39 21                     MR. IBRAHIM:     -- the numbering.
11:59:41 22                     MR. EVANS:    That's all right.         As long as
11:59:43 23    you're representing it's 305.
11:59:46 24                     MR. IBRAHIM:     Yeah.
12:00:09 25                     Actually, do you mind just marking it

                                                                             App. 162
Case 3:15-cv-00666-M Document 248 Filed 11/13/18   Page 167 of 174 PageID 6178




                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

NIC SALOMON,                                   §
                                               §
      Plaintiff,                               §
                                               §
v.                                             §     CIVIL ACTION NO.
                                               §     3:15-CV-666-M
KROENKE SPORTS & ENTERTAINMENT,                §
LLC, OUTDOOR CHANNEL HOLDINGS,                 §
INC., and PACIFIC NORTHERN CAPITAL LLC,        §
                                               §
      Defendants.                              §

                                 EXHIBIT I


            AFFIDAVIT OF KEVIN D. EVANS IN SUPPORT OF
       KROENKE SPORTS & ENTERTAINMENT, LLC AND OUTDOOR
  CHANNEL HOLDINGS, INC.’S MOTION PURSUANT TO FED. R. EVID. 702 TO
 EXCLUDE TESTIMONY OF KEVIN KREITZMAN AND REQUEST FOR HEARING




                                                                     App. 163
Case 3:15-cv-00666-M Document 248 Filed 11/13/18      Page 168 of 174 PageID 6179


                                                                     Page 1

 1      IN THE UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTRICT OF TEXAS
 2      DALLAS DIVISION
        --------------------------------x
 3      NIC SALOMON,
 4                    Plaintiff,
 5      vs.                    Civil Action No. 3:15-CV-666-M
                               Date: June 7, 2018
 6      KROENKE SPORTS & ENTERTAINMENT,
        LLC, OUTDOOR CHANNEL HOLDINGS,
 7      INC., AND PACIFIC NORTHERN CAPITAL
        LLC,
 8
                     Defendants.
 9      --------------------------------x
10
11                  DEPOSITION OF ROGER WERNER
12
             The deposition of Roger Werner was taken on
13
        June 7, 2018, beginning at 9:07 a.m., at the One
14
        Landmark Square, Stamford, Connecticut before Susan
15
        Wandzilak, Registered Professional Reporter and Notary
16
        Public in the State of Connecticut.
17
18
19
20                       Susan Wandzilak         License No. 377
21
22
23
24
25

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     800-567-8658                                                      973-410-4040
                                                                        App. 164
Case 3:15-cv-00666-M Document 248 Filed 11/13/18        Page 169 of 174 PageID 6180


                                                                      Page 68

 1      will need to set up a disinterested committee on the
 2      board.
 3                    Mr. Salomon has testified that the Roger he
 4      is referring to here was, that Mr. Hornish was
 5      referring to here was you.
 6           A.       Right.
 7           Q.       And during his deposition Mr. Salomon
 8      testified, and this is a quote, he meaning you did
 9      tell me that he would, that he had an interest in
10      investing in the business.           Do you recall a
11      conversation with Mr. Salomon where you said you had
12      an interest in investing in the business?
13           A.       On a hypothetical level I think that
14      discussion happened a couple of times, never got
15      really serious from my point of view.                But Nic had
16      asked me whether I would, you know, whether I would
17      include myself in the group and if I had an interest.
18      And I think I responded a couple of times I possibly
19      would be, you know, possibly.
20           Q.       Okay.
21           A.       At the end of the day, as I mentioned, the
22      business, the business was a challenged business.                   It
23      was a relatively low margin capital intensive business
24      so my interest, my interest in it wasn't extremely
25      high.       But from time to time I had thought that maybe

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                                                                          App. 165
Case 3:15-cv-00666-M Document 248 Filed 11/13/18        Page 170 of 174 PageID 6181


                                                                      Page 69

 1      we could improve the business, change the business
 2      model and make it into something bigger and better.
 3           Q.     Okay.
 4           A.     But never really got anywhere.
 5           Q.     So Mr. Hornish is referring to the setup of a
 6      disinterested committee on the board.
 7           A.     Um-uh.
 8           Q.     Do you recall whether a disinterested
 9      committee of the board was set up?
10           A.     I don't think so because I wasn't at that
11      time, you know, when we started actually transacting
12      for the overall business, my interest in the aerial
13      camera business sort of subsided and I didn't think
14      there was any need for it.
15           Q.     Okay.
16                  (Whereupon, Werner Exhibit No. 91 was marked
17      for identification.)
18      BY MR. EVANS:
19           Q.     So Exhibit 91 bears control Nos.
20      KSE/0C:000044.       It's from Nic Salomon.           It's dated
21      June 19, 2012 and the e-mail address on this is Roger
22      LW at Roger L. Baron at Yahoo dot com.                Do you know
23      who that is?
24           A.     Yeah, rlbaron@yahoo.com is my -- is a
25      personal e-mail of mine.

                                 Veritext Legal Solutions
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                                                                          App. 166
Case 3:15-cv-00666-M Document 248 Filed 11/13/18   Page 171 of 174 PageID 6182


                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION
NIC SALOMON,                                 §
                                             §
       Plaintiff,                            §
                                             §
v.                                           §    CIVIL ACTION NO.
                                             §    3:15-CV-666-M
KROENKE SPORTS & ENTERTAINMENT,              §
LLC, OUTDOOR CHANNEL HOLDINGS,               §
INC., and PACIFIC NORTHERN CAPITAL LLC,      §
                                             §
       Defendants.                           §



                                 EXHIBIT J

            AFFIDAVIT OF KEVIN D. EVANS IN SUPPORT OF
       KROENKE SPORTS & ENTERTAINMENT, LLC AND OUTDOOR
  CHANNEL HOLDINGS, INC.’S MOTION PURSUANT TO FED. R. EVID. 702 TO
 EXCLUDE TESTIMONY OF KEVIN KREITZMAN AND REQUEST FOR HEARING




                                                                     App. 167
       30(b)(6)
Case 3:15-cv-00666-M
      SCOTT M. LONG - Document
                      09/05/2018248 Filed 11/13/18   Page 172 of 174 PageID 6183

 ·1· · · · · · IN THE UNITED STATES DISTRICT COURT
 · · · · · · · ·FOR THE NORTHERN DISTRICT OF TEXAS
 ·2· · · · · · · · · · · DALLAS DIVISION

 ·3·   ·CIVIL ACTION NO. 3:15-CV-00666-M
 · ·   ·______________________________________________________
 ·4
 · ·   · · · · ·RULE 30(B)(6) VIDEOTAPE DEPOSITION OF:
 ·5·   · · · · · ·SCOTT M. LONG - SEPTEMBER 5, 2018
 · ·   · · · · · KROENKE SPORTS & ENTERTAINMENT, LLC
 ·6·   ·______________________________________________________

 ·7· ·NIC SALOMON,

 ·8· ·PLAINTIFF,

 ·9· ·V.

 10·   ·KROENKE SPORTS & ENTERTAINMENT, LLC, OUTDOOR CHANNEL
 · ·   ·HOLDINGS, INC., AND PACIFIC NORTHERN CAPITAL, LLC,
 11
 · ·   ·DEFENDANTS.
 12·   ·______________________________________________________

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 · ·   · · · · · · · PURSUANT TO NOTICE, THE RULE 30(B)(6)
 14·   ·VIDEOTAPE DEPOSITION OF SCOTT M. LONG, KROENKE
 · ·   ·SPORTS & ENTERTAINMENT, LLC, WAS TAKEN ON BEHALF OF
 15·   ·THE PLAINTIFF AT 4643 SOUTH ULSTER STREET, SUITE 800,
 · ·   ·DENVER, COLORADO 80237, ON SEPTEMBER 5, 2018, AT
 16·   ·10:13 A.M., BEFORE TRACY C. MASUGA, REGISTERED
 · ·   ·PROFESSIONAL REPORTER, CERTIFIED REALTIME REPORTER,
 17·   ·AND NOTARY PUBLIC WITHIN COLORADO.

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 22· ·JOB NO. 137838

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13:40:04 ·1· · · · · ·A.· ·I would need to review the documents.                        I
13:40:06 ·2· ·know there were -- it was a back-and-forth bidding war
13:40:09 ·3· ·before it finally settled, and I would not -- I would
13:40:12 ·4· ·need to refer to whatever the document -- the SEC
13:40:15 ·5· ·filings at that time.
13:40:15 ·6· · · · · ·Q.· ·So I want you to assume for the sake of
13:40:19 ·7· ·my questioning that the offer was for $8.75 a share.
13:40:24 ·8· ·Do you have that assumption in mind?
13:40:25 ·9· · · · · ·A.· ·Okay.· 8.75 a share.
13:40:28 10· · · · · ·Q.· ·What portion of that $8.75-a-share offer
13:40:37 11· ·was attributable to the aerial camera business?
13:40:42 12· · · · · · · · MR. EVANS:· Objection.· It's beyond the
13:40:44 13· ·scope of topic 15.· The witness has already testified
13:40:48 14· ·to this.· He's not here as an expert, and he's not
13:40:52 15· ·going to give you his opinion.
13:40:53 16· · · · · ·Q.· ·(BY MR. IBRAHIM)· You may answer.
13:40:54 17· · · · · ·A.· ·So as I said before, there was not a
13:40:56 18· ·specific valuation made of the individual pieces.· The
13:40:59 19· ·valuation -- the offer was made for the entire assets
13:41:02 20· ·of the company, and there was not a specific amount.
13:41:07 21· · · · · ·Q.· ·And there were various offers made
13:41:09 22· ·between February 27, 2013, up until the time of the
13:41:14 23· ·closing, May 17, 2013.· You recall that?
13:41:17 24· · · · · ·A.· ·I believe that's correct, yes.
13:41:18 25· · · · · ·Q.· ·Okay.· And so your testimony, if I


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13:41:21 ·1· ·understand it correctly, is that with regards to all
13:41:24 ·2· ·of those offers, not just the February 27, 2013,
13:41:27 ·3· ·offer, but with regards to all of the offers that KSE
13:41:31 ·4· ·made, KSE did not make any determination of what
13:41:37 ·5· ·portion of that offer was attributable to the aerial
13:41:43 ·6· ·camera business; am I correct?
13:41:44 ·7· · · · · ·A.· ·That is correct.
13:41:45 ·8· · · · · ·Q.· ·And at no point in time during that time
13:41:48 ·9· ·period between February 27, 2013, and May 16, 2013,
13:41:54 10· ·did KSE ever make a determination of what the monetary
13:41:58 11· ·value of the aerial camera business was, at any point
13:42:02 12· ·during that time period?
13:42:03 13· · · · · · · · MR. EVANS:· Objection, asked and
13:42:05 14· ·answered.
13:42:05 15· · · · · ·A.· ·Yes, there was none done.
13:42:07 16· · · · · ·Q.· ·(BY MR. IBRAHIM)· Okay.· So it's open to
13:42:08 17· ·interpretation, right?
13:42:10 18· · · · · · · · MR. EVANS:· Objection.· You're not here
13:42:11 19· ·as an expert.· You're here to give opinion -- or not
13:42:15 20· ·here to give opinions.· You're here to testify as a
13:42:18 21· ·30(b)(6) witness.· That's an opinion question, and I'm
13:42:21 22· ·instructing you not to answer.
13:42:23 23· · · · · · · · MR. IBRAHIM:· Excuse me.· The witness
13:42:24 24· ·testified that it's open to interpretation, and so I'm
13:42:26 25· ·just confirming his earlier testimony.


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